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           EXHIBIT 3
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK



   IN RE PPDAI GROUP INC. SECURITIES       Case No: 1:18-cv-06716-LDH-TAM
   LITIGATION
                                           CLASS ACTION




  DECLARATION OF JOSEPH RUSSELLO IN SUPPORT OF PLAINTIFFS’ MOTION
  FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES FILED ON BEHALF OF
                ROBBINS GELLER RUDMAN & DOWD LLP
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          I, Joseph Russello, declare as follows:

          1.         I am a member of the firm of Robbins Geller Rudman & Dowd LLP (“Robbins

 Geller” or the “Firm”). I respectfully submit this declaration in support of my Firm’s application for

 an award of attorneys’ fees and expenses and charges (“expenses”) in connection with services

 rendered in the action captioned In re PPDAI Group Securities Litigation, Index No. 654482/2018

 (the “State Court Action”).1

          2.         Robbins Geller is Co-Lead Counsel for plaintiffs Yizhong Huang and Ravindra Vora

 in the State Court Action. In that role, the firm was involved in all aspects of the State Court Action

 and the Settlement.

          3.         Among other things, Robbins Geller performed the following services in

 collaboration with its co-counsel at Scott + Scott Attorneys at Law LLP: (i) reviewing and analyzing

 publicly available information concerning PPDAI, including SEC filings, press releases, other public

 statements issued by Defendants, media and news reports about the Company, and publicly-available

 stock trading data relating to PPDAI; (ii) drafting the initial complaint filed by plaintiff Ravindra

 Vora in the State Court Action; (iii) drafting the State Court Complaint; (iv) opposing Defendants’

 motion to stay discovery pending resolution of their forthcoming motion to dismiss, pursuant to the

 Private Securities Litigation Reform Act of 1995; (v) opposing Defendants’ motion to stay the State

 Court Action in favor of the Federal Court Action; (vi) presenting oral argument on Defendants’

 application for an interim stay of proceedings during the pendency of their concurrently filed motion

 for a stay pending appeal; (vii) opposing Defendants’ motion to dismiss the State Court Action; (viii)

 briefing the appeal of the partial denial of Defendants’ motion to dismiss the State Court Action; (ix)

 briefing Plaintiffs’ opening motion for class certification; (x) drafting requests for production of
 1
     Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in
 the Stipulation of Settlement, dated June 11, 2021 (ECF No. 64).

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 documents, document subpoenas, and notices to admit; (xi) engaging in negotiations with counsel

 for Defendants and a third party on the scope of document production; (xii) reviewing documents

 produced by Defendants and a third party; and (xiii) preparing for and participating in the mediation

 and the post-mediation negotiations.

          4.         I, along with other State Court Lead Counsel, also coordinated with Federal Court

 Lead Counsel to negotiate the Settlement with Defendants. In light of the automatic stay of

 proceedings in the Federal Court Action during the pendency of the Defendants’ motion to dismiss,

 no duplicative discovery or other proceedings took place between the Federal Court Action and State

 Court Action.

          5.         The information in this declaration regarding Robbins Geller’s time and expenses is

 taken from time and expense reports prepared and maintained by the firm in the ordinary course of

 business. I am the partner who oversaw and/or conducted the day-to-day activities in the litigation

 and reviewed these reports (and backup documentation where necessary or appropriate). The

 purpose of these reviews was to confirm both the accuracy of the entries on the printouts as well as

 the necessity for, and reasonableness of, the time and expenses committed to the litigation. As a

 result of this review, reductions were made to both time and expenses in the exercise of billing

 judgment. Based on this review and the adjustments made, I believe that the time reflected in the

 Firm’s lodestar calculation and the expenses for which payment is sought herein are reasonable and

 were necessary for the effective and efficient prosecution and resolution of the litigation. In

 addition, I believe that these expenses are reasonable and were necessary for the effective and

 efficient prosecution and resolution of the litigation. No time expended on this application for fees

 and expenses has been included.




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          6.         The Lodestar Chart attached as Exhibit 1 summarizes the amount of time spent by

 attorneys and professional support staff employees of my Firm who, from inception of the State

 Court Action, billed five or more hours to the litigation. The hourly rates shown in Exhibit 1 are the

 Firm’s regular 2021 rates in contingent cases set by the Firm for each individual. These hourly rates

 are consistent with hourly rates submitted by the Firm to state and federal courts during 2021 in

 other securities class action litigation. The Firm’s rates are set based on periodic analysis of rates

 charged by firms performing comparable work both on the plaintiff and defense side. For personnel

 who are no longer employed by the Firm, the “current rate” used for the lodestar calculation is based

 upon the rate for that person in his or her final year of employment with the Firm.

          7.         After the reductions referred to above, the total number of hours reflected in the

 Lodestar Chart is 2,345.80. The total lodestar reflected in the Lodestar Chart based on the Firm’s

 2021 rates is $1,841,155.50 consisting of $1,798,612.00 for attorney time and $42,543.50 for

 professional support staff time.

          8.         My Firm seeks an award of $18,918.69 in expenses and charges in connection with

 the prosecution of the litigation. Those expenses are summarized by category in Exhibit 2.

          9.         The expenses pertaining to this case are reflected in the books and records of this

 Firm. These books and records are prepared from receipts, expense vouchers, check records and

 other documents and are an accurate record of the expenses.

          10.        The identification and background of my Firm and its partners is attached hereto as

 Exhibit 3.

          I declare, under penalty of perjury, that the foregoing is true and correct. Executed this 19th

 day of October, 2021, in Melville, New York.

                                                                   /s/ Joseph Russello
                                                                  JOSEPH RUSSELLO

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                         EXHIBIT 1
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                                        EXHIBIT 1

              In re PPDAI Group Securities Litigation, Index No. 654482/2018
                          Robbins Geller Rudman & Dowd LLP
                          Inception through September 28, 2021

                     NAME                    HOURS RATE        LODESTAR
          Gerson, Robert D.            (P)   1,025.50   780   $ 799,890.00
          Gusikoff Stewart, Ellen A.   (P)      29.80  1080        32,184.00
          Jaconette, James I.          (P)      41.80   995        41,591.00
          Love, Andrew S.              (P)      93.20  1150       107,180.00
          Reich, Mark S.               (P)       8.40   895         7,518.00
          Rudman, Samuel H.            (P)      25.90  1325        34,317.50
          Russello, Joseph F.          (P)     826.80   880       727,584.00
          Delaney, Sarah E.            (A)      12.60   400         5,040.00
          Massa, William A.            (A)      17.90   375         6,712.50
          Nelson, Joshua R.            (A)      40.40   400        16,160.00
          Labouriau, Gabriela N.       (SA)     31.20   425        13,260.00
          Peitler, Steven J.           (I)      45.80   290        13,282.00
          Keita, Omar C.               (LS)      5.60   290         1,624.00
          Bono, Natalie C.             (SUA)    19.60   175         3,430.00
          Keogh, Christopher P.        (SUA)    21.40   175         3,745.00
          Paralegals                            92.70 275-350      26,557.50
          Document Clerks                        7.20   150         1,080.00
                    TOTAL                    2,345.80         $ 1,841,155.50
          (P) Partner
          (A) Associate
          (SA) Staff Attorney
          (I) Investigator
          (LS) Litigation Support
          (SUA) Summer Associate
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                         EXHIBIT 2
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                                        EXHIBIT 2

               In re PPDAI Group Securities Litigation, Index No. 654482/2018
                           Robbins Geller Rudman & Dowd LLP
                           Inception through September 27, 2021


                            CATEGORY                                          AMOUNT
   Filing, Witness and Other Fees                                            $ 1,608.46
   Transportation, Hotels & Meals                                                 719.64
   Telephone, Facsimile                                                            15.87
   Messenger, Overnight Delivery                                                  144.78
   Consultants                                                                  7,594.65
           ValueScope, Inc.                                       $ 6,308.85
           Expert Translation Bureau, LLC                           1,285.80
   Photocopies                                                                    468.28
           Outside                                                $ 465.73
           In-House Black and White (17 copies at $0.15 per page)       2.55
   Online Legal and Financial Research                                          6,189.98
   Mediation Fees (JAMS, Inc.)                                                  2,177.03
                               TOTAL                                         $ 18,918.69
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                         EXHIBIT 3
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              FIRM RESUME




Robbins Geller
Rudman&Dowd lip                                                  (800) 449-4900 | rgrdlaw.com
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INTRODUCTION

Robbins Geller Rudman & Dowd LLP (“Robbins Geller” or the “Firm”) is a 200-lawyer firm with offices in
Boca Raton, Chicago, Manhattan, Melville, Nashville, San Diego, San Francisco, Philadelphia, and
Washington, D.C. (www.rgrdlaw.com). The Firm is actively engaged in complex litigation, emphasizing
securities, consumer, antitrust, insurance, healthcare, human rights, and employment discrimination class
actions. The Firm’s unparalleled experience and capabilities in these fields are based upon the talents of
its attorneys, who have successfully prosecuted thousands of class action lawsuits and numerous individual
cases, recovering billions of dollars.

This successful track record stems from our experienced attorneys, including many who came to the Firm
from federal or state law enforcement agencies. The Firm also includes several dozen former federal and
state judicial clerks.

The Firm is committed to practicing law with the highest level of integrity in an ethical and professional
manner. We are a diverse firm with lawyers and staff from all walks of life. Our lawyers and other
employees are hired and promoted based on the quality of their work and their ability to treat others with
respect and dignity.

We strive to be good corporate citizens and work with a sense of global responsibility. Contributing to our
communities and environment is important to us. We often take cases on a pro bono basis and are
committed to the rights of workers, and to the extent possible, we contract with union vendors. We care
about civil rights, workers’ rights and treatment, workplace safety, and environmental protection.
Indeed, while we have built a reputation as the finest securities and consumer class action law firm in the
nation, our lawyers have also worked tirelessly in less high-profile, but no less important, cases involving
human rights and other social issues.




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PRACTICE AREAS AND SERVICES
Securities Fraud
As recent corporate scandals demonstrate clearly, it has become all too common for companies and their
executives – often with the help of their advisors, such as bankers, lawyers, and accountants – to
manipulate the market price of their securities by misleading the public about the company’s financial
condition or prospects for the future. This misleading information has the effect of artificially inflating
the price of the company’s securities above their true value. When the underlying truth is eventually
revealed, the prices of these securities plummet, harming those innocent investors who relied upon the
company’s misrepresentations.

Robbins Geller is the leader in the fight to protect investors from corporate securities fraud. We utilize a
wide range of federal and state laws to provide investors with remedies, either by bringing a class action
on behalf of all affected investors or, where appropriate, by bringing individual cases.

The Firm’s reputation for excellence has been repeatedly noted by courts and has resulted in the
appointment of Firm attorneys to lead roles in hundreds of complex class-action securities and other
cases. In the securities area alone, the Firm’s attorneys have been responsible for a number of
outstanding recoveries on behalf of investors. Currently, Robbins Geller attorneys are lead or named
counsel in hundreds of securities class action or large institutional-investor cases. Some notable current
and past cases include:

       In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Robbins Geller attorneys and lead
       plaintiff The Regents of the University of California aggressively pursued numerous defendants,
       including many of Wall Street’s biggest banks, and successfully obtained settlements in excess of
       $7.2 billion for the benefit of investors. This is the largest securities class action recovery in history.

       Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill.). As sole lead counsel, Robbins Geller
       obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
       week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
       Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or
       misleading statements of material fact about the company’s business practices and financial results,
       but remanded the case for a new trial on the issue of whether the individual defendants “made”
       certain false statements, whether those false statements caused plaintiffs’ losses, and the amount of
       damages. The parties reached an agreement to settle the case just hours before the retrial was
       scheduled to begin on June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the
       largest ever following a securities fraud class action trial, the largest securities fraud settlement in
       the Seventh Circuit and the seventh-largest settlement ever in a post-PSLRA securities fraud case.
       According to published reports, the case was just the seventh securities fraud case tried to a verdict
       since the passage of the PSLRA.




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                                                                       PRACTICE AREAS AND SERVICES

     In re Valeant Pharms. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.). As sole lead counsel,
     Robbins Geller attorneys obtained a $1.2 billion settlement in the securities case that Vanity Fair
     reported as “the corporate scandal of its era” that had raised “fundamental questions about the
     functioning of our health-care system, the nature of modern markets, and the slippery slope of
     ethical rationalizations.” The settlement resolves claims that defendants made false and misleading
     statements regarding Valeant’s business and financial performance during the class period,
     attributing Valeant’s dramatic growth in revenues and profitability to “innovative new marketing
     approaches” as part of a business model that was low risk and “durable and sustainable.” Valeant is
     the largest securities class action settlement against a pharmaceutical manufacturer and the ninth
     largest ever.

     In re Am. Realty Cap. Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.). As sole lead counsel,
     Robbins Geller attorneys zealously litigated the case arising out of ARCP’s manipulative accounting
     practices and obtained a $1.025 billion settlement. For five years, the litigation team prosecuted
     nine different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of
     1933, involving seven different stock or debt offerings and two mergers. The recovery represents
     the highest percentage of damages of any major PSLRA case prior to trial and includes the largest
     personal contributions by individual defendants in history.

     In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). Robbins Geller
     represented the California Public Employees’ Retirement System (“CalPERS”) and demonstrated
     its willingness to vigorously advocate for its institutional clients, even under the most difficult
     circumstances. The Firm obtained an $895 million recovery on behalf of UnitedHealth
     shareholders, and former CEO William A. McGuire paid $30 million and returned stock options
     representing more than three million shares to the shareholders, bringing the total recovery for
     the class to over $925 million, the largest stock option backdating recovery ever, and a recovery
     that is more than four times larger than the next largest options backdating recovery. Moreover,
     Robbins Geller obtained unprecedented corporate governance reforms, including election of a
     shareholder-nominated member to the company’s board of directors, a mandatory holding period
     for shares acquired by executives via option exercise, and executive compensation reforms that tie
     pay to performance.

     Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
     (S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
     opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
     auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to
     2001. The Firm’s attorneys recovered more than $650 million for their clients, substantially more
     than they would have recovered as part of the class.

     Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured a
     $500 million settlement for institutional and individual investors in what is the largest RMBS
     purchaser class action settlement in history, and one of the largest class action securities
     settlements of all time. The unprecedented settlement resolves claims against Countrywide and
     Wall Street banks that issued the securities. The action was the first securities class action case filed
     against originators and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins
     Geller forged through six years of hard-fought litigation, oftentimes litigating issues of first
     impression, in order to secure the landmark settlement for its clients and the class.

     In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). On behalf of
     investors in bonds and preferred securities issued between 2006 and 2008, Robbins Geller and co-




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                                                                      PRACTICE AREAS AND SERVICES

     counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company and
     Wachovia auditor KPMG LLP. The total settlement – $627 million – is one of the largest credit-crisis
     settlements involving Securities Act claims and one of the 20 largest securities class action recoveries
     in history. The settlement is also one of the biggest securities class action recoveries arising from
     the credit crisis. The lawsuit focused on Wachovia’s exposure to “pick-a-pay” loans, which the
     bank’s offering materials said were of “pristine credit quality,” but which were actually allegedly
     made to subprime borrowers, and which ultimately massively impaired the bank’s mortgage
     portfolio. Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
     Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

     In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
     representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million
     for investors on behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State Investment
     Council, and the California Ironworkers Field Trust Fund. At the time, the $600 million
     settlement was the tenth-largest settlement in the history of securities fraud litigation and is the
     largest-ever recovery in a securities fraud action in the Sixth Circuit.

     AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cnty.).
     Robbins Geller represented The Regents of the University of California, six Ohio state pension
     funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public
     and private funds, insurance companies, and numerous additional institutional investors, both
     domestic and international, in state and federal court opt-out litigation stemming from Time
     Warner’s disastrous 2001 merger with Internet high flier America Online. After almost four years
     of litigation involving extensive discovery, the Firm secured combined settlements for its opt-out
     clients totaling over $629 million just weeks before The Regents’ case pending in California state
     court was scheduled to go to trial. The Regents’ gross recovery of $246 million is the largest
     individual opt-out securities recovery in history.

     In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-lead
     counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
     HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of
     stockholder plaintiffs. The settlement against HealthSouth represents one of the larger
     settlements in securities class action history and is considered among the top 15 settlements
     achieved after passage of the PSLRA. Likewise, the settlement against Ernst & Young is one of the
     largest securities class action settlements entered into by an accounting firm since the passage of
     the PSLRA.

     Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
     obtained a $400 million settlement on behalf of class members who purchased Pfizer common
     stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
     resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As
     sole lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of
     hard-fought litigation against the toughest and the brightest members of the securities defense bar
     by litigating this case all the way to trial.

     In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
     Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
     obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc., and Arthur
     Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
     Most notably, the settlement agreement provides that Dynegy will appoint two board members to
     be nominated by The Regents, which Robbins Geller and The Regents believe will benefit all of
     Dynegy’s stockholders.

                                                                              Robbins Geller Rudman & Dowd LLP | 4
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     In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). In July 2001, the Firm filed
     the initial complaint in this action on behalf of its clients, long before any investigation into Qwest’s
     financial statements was initiated by the SEC or Department of Justice. After five years of
     litigation, lead plaintiffs entered into a settlement with Qwest and certain individual defendants
     that provided a $400 million recovery for the class and created a mechanism that allowed the vast
     majority of class members to share in an additional $250 million recovered by the SEC. In 2008,
     Robbins Geller attorneys recovered an additional $45 million for the class in a settlement with
     defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO, respectively, of Qwest
     during large portions of the class period.

     Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.). Robbins
     Geller attorneys served as lead counsel for a class of investors and obtained court approval of a
     $388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
     Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in
     an MBS purchaser class action. The result was achieved after more than five years of hard-fought
     litigation and an extensive investigation.

     Smilovits v. First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.). As sole lead counsel, Robbins Geller
     obtained a $350 million settlement in Smilovits v. First Solar, Inc. The settlement, which was
     reached after a long legal battle and on the day before jury selection, resolves claims that First
     Solar violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. The
     settlement is the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

     NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.). As
     sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
     shareholders. The settlement concludes one of the last remaining mortgage-backed securities
     purchaser class actions arising out of the global financial crisis. The remarkable result was
     achieved following seven years of extensive litigation. After the claims were dismissed in 2010,
     Robbins Geller secured a landmark victory from the Second Circuit Court of Appeals that clarified
     the scope of permissible class actions asserting claims under the Securities Act of 1933 on behalf of
     MBS investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche”
     standing and concluded that a lead plaintiff in an MBS class action has class standing to pursue
     claims on behalf of purchasers of other securities that were issued from the same registration
     statement and backed by pools of mortgages originated by the same lenders who had originated
     mortgages backing the lead plaintiff’s securities.

     Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
     Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc.
     shareholders – the largest securities class action recovery ever in Tennessee. Reached shortly
     before trial was scheduled to commence, the settlement resolves claims that the Registration
     Statement and Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011
     IPO contained material misstatements and omissions. The recovery achieved represents more
     than 30% of the aggregate classwide damages, far exceeding the typical recovery in a securities
     class action.

     In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
     counsel for a class of investors that purchased AT&T common stock. The case charged defendants
     AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal
     securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
     stock, one of the largest IPOs in American history. After two weeks of trial, and on the eve of
     scheduled testimony by Armstrong and infamous telecom analyst Jack Grubman, defendants
     agreed to settle the case for $100 million.

                                                                               Robbins Geller Rudman & Dowd LLP | 5
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     Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
     behalf of a class of investors in Motorola, Inc., ultimately recovering $200 million for investors just
     two months before the case was set for trial. This outstanding result was obtained despite the lack
     of an SEC investigation or any financial restatement.

     City of Pontiac Gen. Emps.’ Ret. Sys. v. Wal-Mart Stores, Inc., No. 5:12-cv-05162 (W.D. Ark.).
     Robbins Geller attorneys and lead plaintiff City of Pontiac General Employees’ Retirement System
     achieved a $160 million settlement in a securities class action case arising from allegations
     published by The New York Times in an article released on April 21, 2012 describing an alleged
     bribery scheme that occurred in Mexico. The case charged that Wal-Mart portrayed itself to
     investors as a model corporate citizen that had proactively uncovered potential corruption and
     promptly reported it to law enforcement, when in truth, a former in-house lawyer had blown the
     whistle on Wal-Mart’s corruption years earlier, and Wal-Mart concealed the allegations from law
     enforcement by refusing its own in-house and outside counsel’s calls for an independent
     investigation. Robbins Geller “achieved an exceptional [s]ettlement with skill, perseverance, and
     diligent advocacy,” said Judge Hickey when granting final approval.

     Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122 (D. Kan.). As co-lead counsel, Robbins Geller
     obtained a $131 million recovery for a class of Sprint investors. The settlement, secured after five
     years of hard-fought litigation, resolved claims that former Sprint executives misled investors
     concerning the success of Sprint’s ill-advised merger with Nextel and the deteriorating credit
     quality of Sprint’s customer base, artificially inflating the value of Sprint’s securities.

     In re LendingClub Sec. Litig., No. 3:16-cv-02627 (N.D. Cal.). Robbins Geller attorneys obtained a
     $125 million settlement for the court-appointed lead plaintiff Water and Power Employees’
     Retirement, Disability and Death Plan of the City of Los Angeles and the class. The settlement
     resolved allegations that LendingClub promised investors an opportunity to get in on the ground
     floor of a revolutionary lending market fueled by the highest standards of honesty and integrity.
     The settlement ranks among the top ten largest securities recoveries ever in the Northern District
     of California.

     Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031 (E.D. Va.). In the Orbital securities class action,
     Robbins Geller obtained court approval of a $108 million recovery for the class. The Firm
     succeeded in overcoming two successive motions to dismiss the case, and during discovery were
     required to file ten motions to compel, all of which were either negotiated to a resolution or
     granted in large part, which resulted in the production of critical evidence in support of plaintiffs’
     claims. Believed to be the fourth-largest securities class action settlement in the history of the
     Eastern District of Virginia, the settlement provides a recovery for investors that is more than ten
     times larger than the reported median recovery of estimated damages for all securities class action
     settlements in 2018.

     Hsu v. Puma Biotechnology, No. SACV15-0865 (C.D. Cal.). After a two-week jury trial, Robbins
     Geller attorneys won a complete plaintiffs’ verdict against both defendants on both claims, with the
     jury finding that Puma Biotechnology, Inc. and its CEO, Alan H. Auerbach, committed securities
     fraud. The Puma case is only the fifteenth securities class action case tried to a verdict since the
     Private Securities Litigation Reform Act was enacted in 1995.

     Marcus v. J.C. Penney Co., Inc., No. 13-cv-00736 (E.D. Tex.). Robbins Geller attorneys obtained a
     $97.5 million recovery on behalf of J.C. Penney shareholders. The result resolves claims that J.C.
     Penney and certain officers and directors made misstatements and/or omissions regarding the
     company’s financial position that resulted in artificially inflated stock prices. Specifically,
     defendants failed to disclose and/or misrepresented adverse facts, including that J.C. Penney

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     would have insufficient liquidity to get through year-end and would require additional funds to
     make it through the holiday season, and that the company was concealing its need for liquidity so
     as not to add to its vendors’ concerns.

     Monroe County Employees’ Retirement System v. The Southern Company, No. 1:17-cv-00241 (N.D.
     Ga.). As lead counsel, Robbins Geller obtained an $87.5 million settlement in a securities class
     action on behalf of plaintiffs Monroe County Employees’ Retirement System and Roofers Local
     No. 149 Pension Fund. The settlement resolves claims for violations of the Securities Exchange Act
     of 1934 stemming from defendants’ issuance of materially misleading statements and omissions
     regarding the status of construction of a first-of-its-kind “clean coal” power plant in Kemper
     County, Mississippi. Plaintiffs alleged that these misstatements caused The Southern Company’s
     stock price to be artificially inflated during the class period. Prior to resolving the case, Robbins
     Geller uncovered critical documentary evidence and deposition testimony supporting plaintiffs’
     claims. In granting final approval of the settlement, the court praised Robbins Geller for its “hard-
     fought litigation in the Eleventh Circuit” and its “experience, reputation, and abilities of [its]
     attorneys,” and highlighted that the firm is “well-regarded in the legal community, especially in
     litigating class-action securities cases

     Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd., No. CIV535692 (Cal. Super. Ct., San
     Mateo Cnty.). Robbins Geller attorneys and co-counsel obtained a $75 million settlement in the
     Alibaba Group Holding Limited securities class action, resolving investors’ claims that Alibaba
     violated the Securities Act of 1933 in connection with its September 2014 initial public offering.
     Chicago Laborers Pension Fund served as a plaintiff in the action.

     Luna v. Marvell Tech. Grp., Ltd., No. 3:15-cv-05447 (N.D. Cal.). In the Marvell litigation, Robbins
     Geller attorneys represented the Plumbers and Pipefitters National Pension Fund and obtained a
     $72.5 million settlement. The case involved claims that Marvell reported revenue and earnings
     during the class period that were misleading as a result of undisclosed pull-in and concession
     sales. The settlement represents approximately 24% to 50% of the best estimate of classwide
     damages suffered by investors who purchased shares during the February 19, 2015 through
     December 7, 2015 class period.

     Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882 (M.D. Tenn.). In the
     Psychiatric Solutions case, Robbins Geller represented lead plaintiff and class representative Central
     States, Southeast and Southwest Areas Pension Fund in litigation spanning more than four years.
     Psychiatric Solutions and its top executives were accused of insufficiently staffing their in-patient
     hospitals, downplaying the significance of regulatory investigations and manipulating their
     malpractice reserves. Just days before trial was set to commence, attorneys from Robbins Geller
     achieved a $65 million settlement that was the fourth-largest securities recovery ever in the district
     and one of the largest in a decade.

     Plumbers & Pipefitters Nat’l Pension Fund v. Burns, No. 3:05-cv-07393 (N.D. Ohio). After 11 years
     of hard-fought litigation, Robbins Geller attorneys secured a $64 million recovery for shareholders
     in a case that accused the former heads of Dana Corp. of securities fraud for trumpeting the auto
     parts maker’s condition while it actually spiraled toward bankruptcy. The Firm’s Appellate
     Practice Group successfully appealed to the Sixth Circuit Court of Appeals twice, reversing the
     district court’s dismissal of the action.

     Villella v. Chemical and Mining Company of Chile Inc., No. 1:15-cv-02106 (S.D.N.Y.) Robbins
     Geller attorneys, serving as lead consel, obtained a $62.5 million settlement against Sociedad




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       Química y Minera de Chile S.A. (“SQM”), a Chilean mining company. The case alleged that SQM
       violated the Securities Exchange Act of 1934 by issuing materially false and misleading statements
       regarding the company’s failure to disclose that money from SQM was channeled illegally to
       electoral campaigns for Chilean politicians and political parties as far back as 2009. SQM had also
       filed millions of dollars’ worth of fictitious tax receipts with Chilean authorities in order to conceal
       bribery payments from at least 2009 through fiscal 2014. Due to the company being based out of
       Chile and subject to Chilean law and rules, the Robbins Geller litigation team put together a
       multilingual litigation team with Chilean expertise. Depositions are considered unlawful in the
       country of Chile, so Robbins Geller successfully moved the court to compel SQM to bring witnesses
       to the United States.

       In re BHP Billiton Ltd. Sec. Litig., No. 1:16-cv-01445 (S.D.N.Y.). As lead counsel, Robbins Geller
       obtained a $50 million class action settlement against BHP, a Australian-based mining company
       that was accused of failing to disclose significant safety problems at the Fundão iron-ore dam, in
       Brazil. The Firm achieved this result for lead plaintiffs City of Birmingham Retirement and Relief
       System and City of Birmingham Firemen’s and Policemen’s Supplemental Pension System, on
       behalf of purchasers of the American Depositary Shares (“ADRs”) of defendants BHP Billiton
       Limited and BHP Billiton Plc (together, “BHP”) from September 25, 2014 to November 30, 2015.

       In re St. Jude Med., Inc. Sec. Litig., No. 0:10-cv-00851 (D. Minn.). After four and a half years of
       litigation and mere weeks before the jury selection, Robbins Geller obtained a $50 million
       settlement on behalf of investors in medical device company St. Jude Medical. The settlement
       resolves accusations that St. Jude Medical misled investors by utilizing heavily discounted end-of-
       quarter bulk sales to meet quarterly expectations, which created a false picture of demand by
       increasing customer inventory due of St. Jude Medical devices. The complaint alleged that the
       risk of St. Jude Medical’s reliance on such bulk sales manifested when it failed to meet its forecast
       guidance for the third quarter of 2009, which the company had reaffirmed only weeks earlier.

       Deka Investment GmbH v. Santander Consumer USA Holdings Inc., No. 3:15-cv-02129 (N.D. Tex.).
       Robbins Geller and co-counsel secured a $47 million settlement in a securities class action
       against Santander Consumer USA Holdings Inc. (“SCUSA”). The case alleges that SCUSA, 2 of its
       officers, 10 of its directors, as well as 17 underwriters of its January 23, 2014 multi-billion dollar
       IPO violated §§11, 12(a)(2), and 15 of the Securities Act of 1933 as a result of their negligence in
       connection with misrepresentations in the prospectus and registration statement for the IPO
       (“Offering Documents”). The complaint also alleged that SCUSA and two of its officers violated
       §§10(b) and 20(a) of the Securities Exchange Act of 1934 and Rule 10b-5 as a result of their fraud
       in issuing misleading statements in the IPO Offering Documents as well as in subsequent
       statements to investors.

       Snap Inc. Securities Cases, JCCP No. 4960 (Cal. Super. Ct., Los Angeles Cnty). Robbins Geller,
       along with co-counsel, reached a settlement in the Snap, Inc. securities class action, providing for
       the payment of $32,812,500 to eligible settlement class members. The securities class action
       sought remedies under §§11, 12(a)(2) and 15 of the Securities Act of 1933. The case alleged that
       Snap, certain Snap officers and directors, and the underwriters for Snap’s Initial Public Offering
       (“IPO”) were liable for materially false and misleading statements and omissions in the Registration
       Statement for the IPO, related to trends and uncertainties in Snap’s growth metrics, a potential
       patent-infringement action, and stated risk factors.

Robbins Geller’s securities practice is also strengthened by the existence of a strong appellate department,
whose collective work has established numerous legal precedents. The securities practice also utilizes an




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extensive group of in-house economic and damage analysts, investigators, and forensic accountants to aid
in the prosecution of complex securities issues.



Shareholder Derivative and Corporate Governance Litigation
The Firm’s shareholder derivative and corporate governance practice is focused on preserving corporate
assets and enhancing long-term shareowner value. Shareowner derivative actions are often brought by
institutional investors to vindicate the rights of the corporation injured by its executives’ misconduct,
which can effect violations of the nation’s securities, anti-corruption, false claims, cyber-security, labor,
environmental, and/or health & safety laws.

Robbins Geller attorneys have aided Firm clients in significantly enhancing shareowner value by obtaining
hundreds of millions of dollars in financial clawbacks and successfully negotiating corporate governance
enhancements. Robbins Geller has worked with its institutional clients to address corporate misconduct
such as options backdating, bribery of foreign officials, pollution, off-label marketing, and insider trading
and related self-dealing. Additionally, the Firm works closely with noted corporate governance
consultants Robert Monks and Richard Bennett and their firm, ValueEdge Advisors LLC, to shape
corporate governance practices that will benefit shareowners.

Robbins Geller’s efforts have conferred substantial benefits upon shareowners, and the market effect of
these benefits measures in the billions of dollars. The Firm’s significant achievements include:

       City of Westland Police & Fire Ret. Sys. v. Stumpf (Wells Fargo Derivative Litigation), No.
       3:11-cv-02369 (N.D. Cal.). Prosecuted shareholder derivative action on behalf of Wells Fargo &
       Co. alleging that Wells Fargo’s executives allowed participation in the mass-processing of home
       foreclosure documents by engaging in widespread robo-signing, i.e., the execution and submission
       of false legal documents in courts across the country without verification of their truth or accuracy,
       and failed to disclose Wells Fargo’s lack of cooperation in a federal investigation into the bank’s
       mortgage and foreclosure practices. In settlement of the action, Wells Fargo agreed to provide
       $67 million in homeowner down-payment assistance, credit counseling, and improvements to its
       mortgage servicing system. The initiatives will be concentrated in cities severely impacted by the
       bank’s foreclosure practices and the ensuing mortgage foreclosure crisis. Additionally, Wells
       Fargo agreed to change its procedures for reviewing shareholder proposals and a strict ban on
       stock pledges by Wells Fargo board members.

       In re Ormat Techs., Inc. Derivative Litig., No. CV10-00759 (Nev. Dist. Ct., Washoe Cnty.). Robbins
       Geller brought derivative claims for breach of fiduciary duty and unjust enrichment against the
       directors and certain officers of Ormat Technologies, Inc., a leading geothermal and recovered
       energy power business. During the relevant time period, these Ormat insiders caused the
       company to engage in accounting manipulations that ultimately required restatement of the
       company’s financial statements. The settlement in this action includes numerous corporate
       governance reforms designed to, among other things: (i) increase director independence; (ii)
       provide continuing education to directors; (iii) enhance the company’s internal controls; (iv) make
       the company’s board more independent; and (iv) strengthen the company’s internal audit
       function.

       In re Alphatec Holdings, Inc. Derivative S’holder Litig., No. 37-2010-00058586 (Cal. Super. Ct., San
       Diego Cnty.). Obtained sweeping changes to Alphatec’s governance, including separation of the
       Chairman and CEO positions, enhanced conflict of interest procedures to address related-party
       transactions, rigorous director independence standards requiring that at least a majority of
       directors be outside independent directors, and ongoing director education and training.


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     In re Finisar Corp. Derivative Litig., No. C-06-07660 (N.D. Cal.). Prosecuted shareholder
     derivative action on behalf of Finisar against certain of its current and former directors and
     officers for engaging in an alleged nearly decade-long stock option backdating scheme that was
     alleged to have inflicted substantial damage upon Finisar. After obtaining a reversal of the district
     court’s order dismissing the complaint for failing to adequately allege that a pre-suit demand was
     futile, Robbins Geller lawyers successfully prosecuted the derivative claims to resolution obtaining
     over $15 million in financial clawbacks for Finisar. Robbins Geller attorneys also obtained
     significant changes to Finisar’s stock option granting procedures and corporate governance. As a
     part of the settlement, Finisar agreed to ban the repricing of stock options without first obtaining
     specific shareholder approval, prohibit the retrospective selection of grant dates for stock options
     and similar awards, limit the number of other boards on which Finisar directors may serve,
     require directors to own a minimum amount of Finisar shares, annually elect a Lead Independent
     Director whenever the position of Chairman and CEO are held by the same person, and require
     the board to appoint a Trading Compliance officer responsible for ensuring compliance with
     Finisar’s insider trading policies.

     Loizides v. Schramm (Maxwell Technology Derivative Litigation), No. 37-2010-00097953 (Cal.
     Super. Ct., San Diego Cnty.). Prosecuted shareholder derivative claims arising from the
     company’s alleged violations of the Foreign Corrupt Practices Act of 1977 (“FCPA”). As a result of
     Robbins Geller’s efforts, Maxwell insiders agreed to adopt significant changes in Maxwell’s internal
     controls and systems designed to protect Maxwell against future potential violations of the FCPA.
     These corporate governance changes included establishing the following, among other things: a
     compliance plan to improve board oversight of Maxwell’s compliance processes and internal
     controls; a clear corporate policy prohibiting bribery and subcontracting kickbacks, whereby
     individuals are accountable; mandatory employee training requirements, including the
     comprehensive explanation of whistleblower provisions, to provide for confidential reporting of
     FCPA violations or other corruption; enhanced resources and internal control and compliance
     procedures for the audit committee to act quickly if an FCPA violation or other corruption is
     detected; an FCPA and Anti-Corruption Compliance department that has the authority and
     resources required to assess global operations and detect violations of the FCPA and other
     instances of corruption; a rigorous ethics and compliance program applicable to all directors,
     officers, and employees, designed to prevent and detect violations of the FCPA and other
     applicable anti-corruption laws; an executive-level position of Chief Compliance Officer with direct
     board-level reporting responsibilities, who shall be responsible for overseeing and managing
     compliance issues within the company; a rigorous insider trading policy buttressed by enhanced
     review and supervision mechanisms and a requirement that all trades are timely disclosed; and
     enhanced provisions requiring that business entities are only acquired after thorough FCPA and
     anti-corruption due diligence by legal, accounting, and compliance personnel at Maxwell.

     In re SciClone Pharms., Inc. S’holder Derivative Litig., No. CIV 499030 (Cal. Super. Ct., San Mateo
     Cnty.). Robbins Geller attorneys successfully prosecuted the derivative claims on behalf of
     nominal party SciClone Pharmaceuticals, Inc., resulting in the adoption of state-of-the-art
     corporate governance reforms. The corporate governance reforms included the establishment of
     an FCPA compliance coordinator; the adoption of an FCPA compliance program and code; and
     the adoption of additional internal controls and compliance functions.

     Policemen & Firemen Ret. Sys. of the City of Detroit v. Cornelison (Halliburton Derivative
     Litigation), No. 2009-29987 (Tex. Dist. Ct., Harris Cnty.). Prosecuted shareholder derivative
     claims on behalf of Halliburton Company against certain Halliburton insiders for breaches of
     fiduciary duty arising from Halliburton’s alleged violations of the FCPA. In the settlement,
     Halliburton agreed, among other things, to adopt strict intensive controls and systems designed to
     detect and deter the payment of bribes and other improper payments to foreign officials, to


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     enhanced executive compensation clawback, director stock ownership requirements, a limitation
     on the number of other boards that Halliburton directors may serve, a lead director charter,
     enhanced director independence standards, and the creation of a management compliance
     committee.

     In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
     our client, CalPERS, obtained sweeping corporate governance improvements, including the
     election of a shareholder-nominated member to the company’s board of directors, a mandatory
     holding period for shares acquired by executives via option exercises, as well as executive
     compensation reforms that tie pay to performance. In addition, the class obtained $925 million,
     the largest stock option backdating recovery ever and four times the next largest options
     backdating recovery.

     In re Fossil, Inc. Derivative Litig., No. 3:06-cv-01672 (N.D. Tex.). The settlement agreement
     included the following corporate governance changes: declassification of elected board members;
     retirement of three directors and addition of five new independent directors; two-thirds board
     independence requirements; corporate governance guidelines providing for “Majority Voting”
     election of directors; lead independent director requirements; revised accounting measurement
     dates of options; addition of standing finance committee; compensation clawbacks; director
     compensation standards; revised stock option plans and grant procedures; limited stock option
     granting authority, timing, and pricing; enhanced education and training; and audit engagement
     partner rotation and outside audit firm review.

     Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Sinegal (Costco Derivative Litigation), No.
     2:08-cv-01450 (W.D. Wash.). The parties agreed to settlement terms providing for the following
     corporate governance changes: the amendment of Costco’s bylaws to provide “Majority Voting”
     election of directors; the elimination of overlapping compensation and audit committee
     membership on common subject matters; enhanced Dodd-Frank requirements; enhanced internal
     audit standards and controls, and revised information-sharing procedures; revised compensation
     policies and procedures; revised stock option plans and grant procedures; limited stock option
     granting authority, timing, and pricing; and enhanced ethics compliance standards and training.

     In re F5 Networks, Inc. Derivative Litig., No. C-06-0794 (W.D. Wash.). The parties agreed to the
     following corporate governance changes as part of the settlement: revised stock option plans and
     grant procedures; limited stock option granting authority, timing, and pricing; “Majority Voting”
     election of directors; lead independent director requirements; director independence standards;
     elimination of director perquisites; and revised compensation practices.




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       In re Community Health Sys., Inc. S’holder Derivative Litig., No. 3:11-cv-00489 (M.D. Tenn.).
       Robbins Geller obtained unprecedented corporate governance reforms on behalf of Community
       Health Systems, Inc. in a case against the company’s directors and officers for breaching their
       fiduciary duties by causing Community Health to develop and implement admissions criteria that
       systematically steered patients into unnecessary inpatient admissions, in contravention of Medicare
       and Medicaid regulations. The governance reforms obtained as part of the settlement include two
       shareholder-nominated directors, the creation of a Healthcare Law Compliance Coordinator with
       specified qualifications and duties, a requirement that the board’s compensation committee be
       comprised solely of independent directors, the implementation of a compensation clawback that
       will automatically recover compensation improperly paid to the company’s CEO or CFO in the
       event of a restatement, the establishment of an insider trading controls committee, and the
       adoption of a political expenditure disclosure policy. In addition to these reforms, $60 million in
       financial relief was obtained, which is the largest shareholder derivative recovery ever in
       Tennessee and the Sixth Circuit.



Options Backdating Litigation
As has been widely reported in the media, the stock options backdating scandal suddenly engulfed
hundreds of publicly traded companies throughout the country in 2006. Robbins Geller was at the
forefront of investigating and prosecuting options backdating derivative and securities cases. The Firm
has recovered over $1 billion in damages on behalf of injured companies and shareholders.

       In re KLA-Tencor Corp. S’holder Derivative Litig., No. C-06-03445 (N.D. Cal.). After successfully
       opposing the special litigation committee of the board of directors’ motion to terminate the
       derivative claims, Robbins Geller recovered $43.6 million in direct financial benefits for KLA-
       Tencor, including $33.2 million in cash payments by certain former executives and their directors’
       and officers’ insurance carriers.

       In re Marvell Tech. Grp. Ltd. Derivative Litig., No. C-06-03894 (N.D. Cal.). Robbins Geller
       recovered $54.9 million in financial benefits, including $14.6 million in cash, for Marvell, in
       addition to extensive corporate governance reforms related to Marvell’s stock option granting
       practices, board of directors’ procedures, and executive compensation.

       In re KB Home S’holder Derivative Litig., No. 06-CV-05148 (C.D. Cal.). Robbins Geller served as
       co-lead counsel for the plaintiffs and recovered more than $31 million in financial benefits,
       including $21.5 million in cash, for KB Home, plus substantial corporate governance
       enhancements relating to KB Home’s stock option granting practices, director elections, and
       executive compensation practices.



Corporate Takeover Litigation
Robbins Geller has earned a reputation as the leading law firm in representing shareholders in corporate
takeover litigation. Through its aggressive efforts in prosecuting corporate takeovers, the Firm has
secured for shareholders billions of dollars of additional consideration as well as beneficial changes for
shareholders in the context of mergers and acquisitions.

The Firm regularly prosecutes merger and acquisition cases post-merger, often through trial, to maximize
the benefit for its shareholder class. Some of these cases include:




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     In re Tesla Motors, Inc. S’holder Litig., No. 12711-VCS (Del. Ch.). Robbins Geller, along with co-
     counsel, secured a $60 million partial settlement after nearly four years of litigation against Tesla.
     This partial settlement is one of the largest derivative recoveries in a stockholder action
     challenging a merger. This partial settlement resolves the claims brought against defendants
     Kimbal Musk, Antonio J. Gracias, Stephen T. Jurvetson, Brad W. Buss, Ira Ehrenpreis, and Robyn
     M. Denholm, but not the claims against defendant Elon Musk.

     In re Kinder Morgan, Inc. S’holders Litig., No. 06-C-801 (Kan. Dist. Ct., Shawnee Cnty.). In the
     largest recovery ever for corporate takeover class action litigation, the Firm negotiated a
     settlement fund of $200 million in 2010.

     In re Dole Food Co., Inc. S’holder Litig., No. 8703-VCL (Del. Ch.). Robbins Geller and co-counsel
     went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on behalf of
     Dole Food Co., Inc. shareholders. The litigation challenged the 2013 buyout of Dole by its
     billionaire Chief Executive Officer and Chairman, David H. Murdock. On August 27, 2015, the
     court issued a post-trial ruling that Murdock and fellow director C. Michael Carter – who also
     served as Dole’s General Counsel, Chief Operating Officer, and Murdock’s top lieutenant – had
     engaged in fraud and other misconduct in connection with the buyout and are liable to Dole’s
     former stockholders for over $148 million, the largest trial verdict ever in a class action
     challenging a merger transaction.

     Nieman v. Duke Energy Corp., No. 3:12-cv-00456 (W.D.N.C.). Robbins Geller, along with co-
     counsel, obtained a $146.25 million settlement on behalf of Duke Energy Corporation investors.
     The settlement resolves accusations that defendants misled investors regarding Duke’s future
     leadership following its merger with Progress Energy, Inc., and specifically, their premeditated
     coup to oust William D. Johnson (CEO of Progress) and replace him with Duke’s then-CEO, John
     Rogers. This historic settlement represents the largest recovery ever in a North Carolina securities
     fraud action, and one of the five largest recoveries in the Fourth Circuit.

     In re Rural Metro Corp. S’holders Litig., No. 6350-VCL (Del. Ch.). Robbins Geller and co-counsel
     were appointed lead counsel in this case after successfully objecting to an inadequate settlement
     that did not take into account evidence of defendants’ conflicts of interest. In a post-trial opinion,
     Delaware Vice Chancellor J. Travis Laster found defendant RBC Capital Markets, LLC liable for
     aiding and abetting Rural/Metro’s board of directors’ fiduciary duty breaches in the $438 million
     buyout of Rural/Metro, citing “the magnitude of the conflict between RBC’s claims and the
     evidence.” RBC was ordered to pay nearly $110 million as a result of its wrongdoing, the largest
     damage award ever obtained against a bank over its role as a merger adviser. The Delaware
     Supreme Court issued a landmark opinion affirming the judgment on November 30, 2015, RBC
     Cap. Mkts., LLC v. Jervis, 129 A.3d 816 (Del. 2015).

     In re Del Monte Foods Co. S’holders Litig., No. 6027-VCL (Del. Ch.). Robbins Geller exposed the
     unseemly practice by investment bankers of participating on both sides of large merger and
     acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
     Monte. For efforts in achieving these results, the Robbins Geller lawyers prosecuting the case were
     named Attorneys of the Year by California Lawyer magazine in 2012.

     In re TD Banknorth S’holders Litig., No. 2557-VCL (Del. Ch.). After objecting to a modest
     recovery of just a few cents per share, the Firm took over the litigation and obtained a common
     fund settlement of $50 million.




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     In re Chaparral Res., Inc. S’holders Litig., No. 2633-VCL (Del. Ch.). After a full trial and a
     subsequent mediation before the Delaware Chancellor, the Firm obtained a common fund
     settlement of $41 million (or 45% increase above merger price) for both class and appraisal claims.

     Laborers’ Local #231 Pension Fund v. Websense, Inc., No. 37-2013-00050879-CU-BT-CTL (Cal.
     Super. Ct., San Diego Cnty.). Robbins Geller successfully obtained a record-breaking $40 million
     in Websense, which is believed to be the largest post-merger common fund settlement in California
     state court history. The class action challenged the May 2013 buyout of Websense by Vista Equity
     Partners (and affiliates) for $24.75 per share and alleged breach of fiduciary duty against the
     former Websense board of directors, and aiding and abetting against Websense’s financial advisor,
     Merrill Lynch, Pierce, Fenner & Smith, Inc. Claims were pursued by the plaintiff in both
     California state court and the Delaware Court of Chancery.

     In re Onyx Pharms., Inc. S’holder Litig., No. CIV523789 (Cal. Super. Ct., San Mateo Cnty.).
     Robbins Geller obtained $30 million in a case against the former Onyx board of directors for
     breaching its fiduciary duties in connection with the acquisition of Onyx by Amgen Inc. for $125
     per share at the expense of shareholders. At the time of the settlement, it was believed to set the
     record for the largest post-merger common fund settlement in California state court history. Over
     the case’s three years, Robbins Geller defeated defendants’ motions to dismiss, obtained class
     certification, took over 20 depositions, and reviewed over one million pages of documents.
     Further, the settlement was reached just days before a hearing on defendants’ motion for
     summary judgment was set to take place, and the result is now believed to be the second largest
     post-merger common fund settlement in California state court history.

     Harrah’s Entertainment, No. A529183 (Nev. Dist. Ct., Clark Cnty.). The Firm’s active prosecution
     of the case on several fronts, both in federal and state court, assisted Harrah’s shareholders in
     securing an additional $1.65 billion in merger consideration.

     In re Chiron S’holder Deal Litig., No. RG 05-230567 (Cal. Super. Ct., Alameda Cnty.). The Firm’s
     efforts helped to obtain an additional $800 million in increased merger consideration for Chiron
     shareholders.

     In re Dollar Gen. Corp. S’holder Litig., No. 07MD-1 (Tenn. Cir. Ct., Davidson Cnty.). As lead
     counsel, the Firm secured a recovery of up to $57 million in cash for former Dollar General
     shareholders on the eve of trial.

     In re Prime Hosp., Inc. S’holders Litig., No. 652-N (Del. Ch.). The Firm objected to a settlement
     that was unfair to the class and proceeded to litigate breach of fiduciary duty issues involving a sale
     of hotels to a private equity firm. The litigation yielded a common fund of $25 million for
     shareholders.

     In re UnitedGlobalCom, Inc. S’holder Litig., No. 1012-VCS (Del. Ch.). The Firm secured a common
     fund settlement of $25 million just weeks before trial.

     In re eMachines, Inc. Merger Litig., No. 01-CC-00156 (Cal. Super. Ct., Orange Cnty.). After four
     years of litigation, the Firm secured a common fund settlement of $24 million on the brink of trial.

     In re PeopleSoft, Inc. S’holder Litig., No. RG-03100291 (Cal. Super. Ct., Alameda Cnty.). The Firm
     successfully objected to a proposed compromise of class claims arising from takeover defenses by
     PeopleSoft, Inc. to thwart an acquisition by Oracle Corp., resulting in shareholders receiving an
     increase of over $900 million in merger consideration.



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       ACS S’holder Litig., No. CC-09-07377-C (Tex. Cty. Ct., Dallas Cnty.). The Firm forced ACS’s
       acquirer, Xerox, to make significant concessions by which shareholders would not be locked out of
       receiving more money from another buyer.



Antitrust
Robbins Geller’s antitrust practice focuses on representing businesses and individuals who have been the
victims of price-fixing, unlawful monopolization, market allocation, tying, and other anti-competitive
conduct. The Firm has taken a leading role in many of the largest federal and state price-fixing,
monopolization, market allocation, and tying cases throughout the United States.

       In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL No. 1720
       (E.D.N.Y.). Robbins Geller attorneys, serving as co-lead counsel on behalf of merchants, obtained
       a settlement amount of $5.5 billion. In approving the settlement, the court noted that Robbins
       Geller and co-counsel “demonstrated the utmost professionalism despite the demands of the
       extreme perseverance that this case has required, litigating on behalf of a class of over 12 million
       for over fourteen years, across a changing legal landscape, significant motion practice, and appeal
       and remand. Class counsel’s pedigree and efforts alone speak to the quality of their
       representation.”

       Dahl v. Bain Cap. Partners, LLC, No. 07-cv-12388 (D. Mass). Robbins Geller attorneys served as co-
       lead counsel on behalf of shareholders in this antitrust action against the nation’s largest private
       equity firms that colluded to restrain competition and suppress prices paid to shareholders of
       public companies in connection with leveraged buyouts. Robbins Geller attorneys recovered more
       than $590 million for the class from the private equity firm defendants, including Goldman Sachs
       Group Inc. and Carlyle Group LP.

       Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-07126 (S.D.N.Y.). Robbins Geller
       attorneys prosecuted antitrust claims against 14 major banks and broker ICAP plc who were
       alleged to have conspired to manipulate the ISDAfix rate, the key interest rate for a broad range
       of interest rate derivatives and other financial instruments in contravention of the competition
       laws. The class action was brought on behalf of investors and market participants who entered
       into interest rate derivative transactions between 2006 and 2013. Final approval has been granted
       to settlements collectively yielding $504.5 million from all defendants.

       In re Currency Conversion Fee Antitrust Litig., 01 MDL No. 1409 (S.D.N.Y.). Robbins
       Geller attorneys served as lead counsel and recovered $336 million for a class of credit and debit
       cardholders. The court praised the Firm as “indefatigable,” noting that the Firm’s lawyers
       “vigorously litigated every issue against some of the ablest lawyers in the antitrust defense bar.”

       In re SSA Bonds Antitrust Litig., No. 1:16-cv-03711 (S.D.N.Y.). Robbins Geller attorneys are
       serving as co-lead counsel in a case against several of the world’s largest banks and the traders of
       certain specialized government bonds. They are alleged to have entered into a wide-ranging price-
       fixing and bid-rigging scheme costing pension funds and other investors hundreds of millions. To
       date, three of the more than a dozen corporate defendants have settled for $95.5 million.

       In re Aftermarket Auto. Lighting Prods. Antitrust Litig., 09 MDL No. 2007 (C.D. Cal.). Robbins
       Geller attorneys served as co-lead counsel in this multi-district litigation in which plaintiffs allege
       that defendants conspired to fix prices and allocate markets for automotive lighting products. The
       last defendants settled just before the scheduled trial, resulting in total settlements of more than
       $50 million. Commenting on the quality of representation, the court commended the Firm for


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       “expend[ing] substantial and skilled time and efforts in an efficient manner to bring this action to
       conclusion.”

       In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 02 MDL No. 1486 (N.D. Cal.).
       Robbins Geller attorneys served on the executive committee in this multi-district class action in
       which a class of purchasers of dynamic random access memory (or DRAM) chips alleged that the
       leading manufacturers of semiconductor products fixed the price of DRAM chips from the fall of
       2001 through at least the end of June 2002. The case settled for more than $300 million.

       Microsoft I-V Cases, JCCP No. 4106 (Cal. Super. Ct., San Francisco Cnty.). Robbins Geller
       attorneys served on the executive committee in these consolidated cases in which California
       indirect purchasers challenged Microsoft’s illegal exercise of monopoly power in the operating
       system, word processing, and spreadsheet markets. In a settlement approved by the court, class
       counsel obtained an unprecedented $1.1 billion worth of relief for the business and consumer class
       members who purchased the Microsoft products.



Consumer Fraud and Privacy
In our consumer-based economy, working families who purchase products and services must receive
truthful information so they can make meaningful choices about how to spend their hard-earned money.
When financial institutions and other corporations deceive consumers or take advantage of unequal
bargaining power, class action suits provide, in many instances, the only realistic means for an individual
to right a corporate wrong.

Robbins Geller attorneys represent consumers around the country in a variety of important, complex class
actions. Our attorneys have taken a leading role in many of the largest federal and state consumer fraud,
privacy, environmental, human rights, and public health cases throughout the United States. The Firm is
also actively involved in many cases relating to banks and the financial services industry, pursuing claims
on behalf of individuals victimized by abusive telemarketing practices, abusive mortgage lending practices,
market timing violations in the sale of variable annuities, and deceptive consumer credit lending practices
in violation of the Truth-In-Lending Act. Below are a few representative samples of our robust,
nationwide consumer and privacy practice.

       In re Nat’l Prescription Opiate Litig. Robbins Geller serves on the Plaintiffs’ Executive Committee
       to spearhead more than 2,900 federal lawsuits brought on behalf of governmental entities and
       other plaintiffs in the sprawling litigation concerning the nationwide prescription opioid
       epidemic. In reporting on the selection of the lawyers to lead the case, The National Law Journal
       reported that “[t]he team reads like a ‘Who’s Who’ in mass torts.”

       Apple Inc. Device Performance Litigation. Robbins Geller serves on the Plaintiffs’ Executive
       Committee to advance judicial interests of efficiency and protect the interests of the proposed class
       in the Apple litigation. The case alleges Apple misrepresented its iPhone devices and the nature of
       updates to its mobile operating system (iOS), which allegedly included code that significantly
       reduced the performance of older-model iPhones and forced users to incur expenses replacing
       these devices or their batteries.

       In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig. Robbins Geller
       serves as co-lead counsel in a case against Mylan Pharmaceuticals and Pfizer for engaging in
       crippling anti-competitive behavior that allowed the price of their ubiquitous and life-
       saving EpiPen auto-injector devices to rise over 600%, bilking American children and adults for
       hundreds of millions of dollars.


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     Cordova v. Greyhound Lines, Inc. Robbins Geller represented California bus passengers pro bono in
     a landmark consumer and civil rights case against Greyhound for subjecting them to
     discriminatory immigration raids. Robbins Geller achieved a watershed court ruling that a private
     company may be held liable under California law for allowing border patrol to harass and racially
     profile its customers. The case heralds that Greyhound passengers do not check their rights and
     dignity at the bus door and has had an immediate impact, not only in California but nationwide.
     Within weeks of Robbins Geller filing the case, Greyhound added “know your rights” information
     to passengers to its website and on posters in bus stations around the country, along with adopting
     other business reforms.

     In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prods. Liab. Litig. As part of the Plaintiffs’
     Steering Committee, Robbins Geller reached a series of settlements on behalf of purchasers,
     lessees, and dealers that total well over $17 billion, the largest settlement in history, concerning
     illegal “defeat devices” that Volkswagen installed on many of its diesel-engine vehicles. The device
     tricked regulators into believing the cars were complying with emissions standards, while the cars
     were actually emitting between 10 and 40 times the allowable limit for harmful pollutants.

     In re Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747 (N.D. Cal.). Robbins Geller
     served as co-lead class counsel in a cutting-edge certified class action, securing a record-breaking
     $650 million all-cash settlement, the largest privacy settlement in history. The case concerned
     Facebook’s alleged privacy violations through its collection of its users’ biometric identifiers
     without informed consent through its “Tag Suggestions” feature, which uses proprietary facial
     recognition software to extract from user-uploaded photographs the unique biometric identifiers
     (i.e., graphical representations of facial features, also known as facial geometry) associated with
     people’s faces and identify who they are. The Honorable James Donato called the settlement “a
     groundbreaking settlement in a novel area” and praised the unprecedented 22% claims rate as
     “pretty phenomenal” and “a pretty good day in class settlement history.”

     Yahoo Data Breach Class Action. Robbins Geller helped secure final approval of a $117.5 million
     settlement in a class action lawsuit against Yahoo, Inc. arising out of Yahoo’s reckless disregard for
     the safety and security of its customers’ personal, private information. In September 2016, Yahoo
     revealed that personal information associated with at least 500 million user accounts, including
     names, email addresses, telephone numbers, dates of birth, hashed passwords, and security
     questions and answers, was stolen from Yahoo’s user database in late 2014. The company made
     another announcement in December 2016 that personal information associated with more than
     one billion user accounts was extracted in August 2013. Ten months later, Yahoo announced that
     the breach in 2013 actually affected all three billion existing accounts. This was the largest data
     breach in history, and caused severe financial and emotional damage to Yahoo account holders.
     In 2017, Robbins Geller was appointed to the Plaintiffs’ Executive Committee charged with
     overseeing the litigation.

     Trump University. After six and a half years of tireless litigation and on the eve of trial, Robbins
     Geller, serving as co-lead counsel, secured a historic recovery on behalf of Trump University
     students around the country. The settlement provides $25 million to approximately 7,000
     consumers, including senior citizens who accessed retirement accounts and maxed out credit cards
     to enroll in Trump University. The extraordinary result means individual class members are
     eligible for upwards of $35,000 in restitution.            The settlement resolves claims that
     President Donald J. Trump and Trump University violated federal and state laws by misleadingly
     marketing “Live Events” seminars and mentorships as teaching Trump’s “real-estate techniques”
     through his “hand-picked” “professors” at his so-called “university.” Robbins Geller represented the
     class on a pro bono basis.



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     In re Morning Song Bird Food Litig. Robbins Geller obtained final approval of a settlement in a
     civil Racketeer Influenced and Corrupt Organizations Act consumer class action against The Scotts
     Miracle-Gro Company and its CEO James Hagedorn. The settlement of up to $85 million
     provides full refunds to consumers around the country and resolves claims that Scotts Miracle-Gro
     knowingly sold wild bird food treated with pesticides that are hazardous to birds. In approving
     the settlement, Judge Houston commended Robbins Gelller’s “skill and quality of work [as]
     extraordinary” and the case as “aggressively litigated.” The Robbins Geller team battled a series of
     dismissal motions before achieving class certification for the plaintiffs in March 2017, with the
     court finding that “Plaintiffs would not have purchased the bird food if they knew it was poison.”
     Defendants then appealed the class certification to the Ninth Circuit, which was denied, and then
     tried to have the claims from non-California class members thrown out, which was also denied.

     Bank Overdraft Fees Litigation. The banking industry charges consumers exorbitant amounts for
     “overdraft” of their checking accounts, even if the customer did not authorize a charge beyond the
     available balance and even if the account would not have been overdrawn had the transactions
     been ordered chronologically as they occurred – that is, banks reorder transactions to maximize
     such fees. The Firm brought lawsuits against major banks to stop this practice and recover these
     false fees. These cases have recovered over $500 million thus far from a dozen banks and we
     continue to investigate other banks engaging in this practice.

     Visa and MasterCard Fees. After years of litigation and a six-month trial, Robbins Geller attorneys
     won one of the largest consumer-protection verdicts ever awarded in the United States. The
     Firm’s attorneys represented California consumers in an action against Visa and MasterCard for
     intentionally imposing and concealing a fee from cardholders. The court ordered Visa and
     MasterCard to return $800 million in cardholder losses, which represented 100% of the amount
     illegally taken, plus 2% interest. In addition, the court ordered full disclosure of the hidden fee.

     Sony Gaming Networks & Customer Data Security Breach Litigation. The Firm served as a member
     of the Plaintiffs’ Steering Committee, helping to obtain a precedential opinion denying in part
     Sony’s motion to dismiss plaintiffs’ claims involving the breach of Sony’s gaming network, leading
     to a $15 million settlement.

     Tobacco Litigation. Robbins Geller attorneys have led the fight against Big Tobacco since 1991.
     As an example, Robbins Geller attorneys filed the case that helped get rid of Joe Camel,
     representing various public and private plaintiffs, including the State of Arkansas, the general
     public in California, the cities of San Francisco, Los Angeles, and Birmingham, 14 counties in
     California, and the working men and women of this country in the Union Pension and Welfare
     Fund cases that have been filed in 40 states. In 1992, Robbins Geller attorneys filed the first case
     in the country that alleged a conspiracy by the Big Tobacco companies.




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     Garment Workers Sweatshop Litigation. Robbins Geller attorneys represented a class of 30,000
     garment workers who alleged that they had worked under sweatshop conditions in garment
     factories in Saipan that produced clothing for top U.S. retailers such as The Gap, Target, and J.C.
     Penney. In the first action of its kind, Robbins Geller attorneys pursued claims against the
     factories and the retailers alleging violations of RICO, the Alien Tort Claims Act, and the Law of
     Nations based on the alleged systemic labor and human rights abuses occurring in Saipan. This
     case was a companion to two other actions, one which alleged overtime violations by the garment
     factories under the Fair Labor Standards Act and local labor law, and another which alleged
     violations of California’s Unfair Practices Law by the U.S. retailers. These actions resulted in a
     settlement of approximately $20 million that included a comprehensive monitoring program to
     address past violations by the factories and prevent future ones. The members of the litigation
     team were honored as Trial Lawyers of the Year by the Trial Lawyers for Public Justice in
     recognition of the team’s efforts at bringing about the precedent-setting settlement of the actions.

     In re Intel Corp. CPU Mktg., Sales Pracs. & Prods. Liab. Litig. Robbins Geller serves on the
     Plaintiffs’ Steering Committee in Intel, a massive multidistrict litigation pending in the United
     States District Court for the District of Oregon. Intel concerns serious security vulnerabilities –
     known as “Spectre” and “Meltdown” – that infect nearly all of Intel’s x86 processors manufactured
     and sold since 1995, the patching of which results in processing speed degradation of the impacted
     computer, server or mobile device.

     Hauck v. Advanced Micro Devices, Inc. An attorney from Robbins Geller serves as co-lead counsel
     in a case against Advanced Micro Devices, Inc. (“AMD”), which alleges that AMD’s processors are
     incapable of operating as intended and at processing speeds represented by AMD without
     exposing users to the Spectre vulnerability, which allows hackers to covertly access sensitive
     information stored within the CPU’s kernel.

     West Telemarketing Case. Robbins Geller attorneys secured a $39 million settlement for class
     members caught up in a telemarketing scheme where consumers were charged for an unwanted
     membership program after purchasing Tae-Bo exercise videos. Under the settlement, consumers
     were entitled to claim between one and one-half to three times the amount of all fees they
     unknowingly paid.

     Dannon Activia®. Robbins Geller attorneys secured the largest ever settlement for a false
     advertising case involving a food product. The case alleged that Dannon’s advertising for its
     Activia® and DanActive® branded products and their benefits from “probiotic” bacteria were
     overstated. As part of the nationwide settlement, Dannon agreed to modify its advertising and
     establish a fund of up to $45 million to compensate consumers for their purchases of Activia® and
     DanActive®.

     Mattel Lead Paint Toys. In 2006-2007, toy manufacturing giant Mattel and its subsidiary Fisher-
     Price announced the recall of over 14 million toys made in China due to hazardous lead and
     dangerous magnets. Robbins Geller attorneys filed lawsuits on behalf of millions of parents and
     other consumers who purchased or received toys for children that were marketed as safe but were
     later recalled because they were dangerous. The Firm’s attorneys reached a landmark settlement
     for millions of dollars in refunds and lead testing reimbursements, as well as important testing
     requirements to ensure that Mattel’s toys are safe for consumers in the future.

     Tenet Healthcare Cases. Robbins Geller attorneys were co-lead counsel in a class action alleging a
     fraudulent scheme of corporate misconduct, resulting in the overcharging of uninsured patients




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       by the Tenet chain of hospitals. The Firm’s attorneys represented uninsured patients of Tenet
       hospitals nationwide who were overcharged by Tenet’s admittedly “aggressive pricing strategy,”
       which resulted in price gouging of the uninsured. The case was settled with Tenet changing its
       practices and making refunds to patients.

       Pet Food Products Liability Litigation. Robbins Geller served as co-lead counsel in this massive,
       100+ case products liability MDL in the District of New Jersey concerning the death of and injury
       to thousands of the nation’s cats and dogs due to tainted pet food. The case settled for $24
       million.



Human Rights, Labor Practices, and Public Policy
Robbins Geller attorneys have a long tradition of representing the victims of unfair labor practices and
violations of human rights. These include:

       Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
       attorneys represented a class of 30,000 garment workers who alleged that they had worked under
       sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers
       such as The Gap, Target, and J.C. Penney. In the first action of its kind, Robbins Geller attorneys
       pursued claims against the factories and the retailers alleging violations of RICO, the Alien Tort
       Claims Act, and the Law of Nations based on the alleged systemic labor and human rights abuses
       occurring in Saipan. This case was a companion to two other actions: Does I v. Advance Textile
       Corp., No. 99 0002 (D. N. Mar. I.), which alleged overtime violations by the garment factories
       under the Fair Labor Standards Act and local labor law, and UNITE v. The Gap, Inc., No. 300474
       (Cal. Super. Ct., San Francisco Cty.), which alleged violations of California’s Unfair Practices Law
       by the U.S. retailers. These actions resulted in a settlement of approximately $20 million that
       included a comprehensive monitoring program to address past violations by the factories and
       prevent future ones. The members of the litigation team were honored as Trial Lawyers of the
       Year by the Trial Lawyers for Public Justice in recognition of the team’s efforts at bringing about
       the precedent-setting settlement of the actions.

       Liberty Mutual Overtime Cases, No. JCCP 4234 (Cal. Super. Ct., Los Angeles Cnty.). Robbins
       Geller attorneys served as co-lead counsel on behalf of 1,600 current and former insurance claims
       adjusters at Liberty Mutual Insurance Company and several of its subsidiaries. Plaintiffs brought
       the case to recover unpaid overtime compensation and associated penalties, alleging that Liberty
       Mutual had misclassified its claims adjusters as exempt from overtime under California law. After
       13 years of complex and exhaustive litigation, Robbins Geller secured a settlement in which
       Liberty Mutual agreed to pay $65 million into a fund to compensate the class of claims adjusters
       for unpaid overtime. The Liberty Mutual action is one of a few claims adjuster overtime actions
       brought in California or elsewhere to result in a successful outcome for plaintiffs since 2004.

       Veliz v. Cintas Corp., No. 5:03-cv-01180 (N.D. Cal.). Brought against one of the nation’s largest
       commercial laundries for violations of the Fair Labor Standards Act for misclassifying truck drivers
       as salesmen to avoid payment of overtime.

       Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002). The California Supreme Court upheld claims that an
       apparel manufacturer misled the public regarding its exploitative labor practices, thereby violating
       California statutes prohibiting unfair competition and false advertising. The court rejected
       defense contentions that any misconduct was protected by the First Amendment, finding the
       heightened constitutional protection afforded to noncommercial speech inappropriate in such a
       circumstance.


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Shareholder derivative litigation brought by Robbins Geller attorneys at times also involves stopping anti-
union activities, including:

       Southern Pacific/Overnite. A shareholder action stemming from several hundred million dollars in
       loss of value in the company due to systematic violations by Overnite of U.S. labor laws.

       Massey Energy. A shareholder action against an anti-union employer for flagrant violations of
       environmental laws resulting in multi-million-dollar penalties.

       Crown Petroleum. A shareholder action against a Texas-based oil company for self-dealing and
       breach of fiduciary duty while also involved in a union lockout.



Environment and Public Health
Robbins Geller attorneys have also represented plaintiffs in class actions related to environmental law.
The Firm’s attorneys represented, on a pro bono basis, the Sierra Club and the National Economic
Development and Law Center as amici curiae in a federal suit designed to uphold the federal and state use
of project labor agreements (“PLAs”). The suit represented a legal challenge to President Bush’s Executive
Order 13202, which prohibits the use of project labor agreements on construction projects receiving
federal funds. Our amici brief in the matter outlined and stressed the significant environmental and socio-
economic benefits associated with the use of PLAs on large-scale construction projects.

Attorneys with Robbins Geller have been involved in several other significant environmental cases,
including:

       Public Citizen v. U.S. D.O.T. Robbins Geller attorneys represented a coalition of labor,
       environmental, industry, and public health organizations including Public Citizen, The
       International Brotherhood of Teamsters, California AFL-CIO, and California Trucking Industry
       in a challenge to a decision by the Bush administration to lift a Congressionally-imposed
       “moratorium” on cross-border trucking from Mexico on the basis that such trucks do not conform
       to emission controls under the Clean Air Act, and further, that the administration did not first
       complete a comprehensive environmental impact analysis as required by the National
       Environmental Policy Act. The suit was dismissed by the United States Supreme Court, the court
       holding that because the D.O.T. lacked discretion to prevent crossborder trucking, an
       environmental assessment was not required.

       Sierra Club v. AK Steel. Brought on behalf of the Sierra Club for massive emissions of air and
       water pollution by a steel mill, including homes of workers living in the adjacent communities, in
       violation of the Federal Clean Air Act, the Resource Conservation Recovery Act, and the Clean
       Water Act.

       MTBE Litigation. Brought on behalf of various water districts for befouling public drinking water
       with MTBE, a gasoline additive linked to cancer.

       Exxon Valdez. Brought on behalf of fisherman and Alaska residents for billions of dollars in
       damages resulting from the greatest oil spill in U.S. history.

       Avila Beach. A citizens’ suit against UNOCAL for leakage from the oil company pipeline so severe
       it literally destroyed the town of Avila Beach, California.




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Federal laws such as the Clean Water Act, the Clean Air Act, and the Resource Conservation and Recovery
Act and state laws such as California’s Proposition 65 exist to protect the environment and the public from
abuses by corporate and government organizations. Companies can be found liable for negligence,
trespass, or intentional environmental damage, be forced to pay for reparations, and to come into
compliance with existing laws. Prominent cases litigated by Robbins Geller attorneys include representing
more than 4,000 individuals suing for personal injury and property damage related to the Stringfellow
Dump Site in Southern California, participation in the Exxon Valdez oil spill litigation, and litigation
involving the toxic spill arising from a Southern Pacific train derailment near Dunsmuir, California.

Robbins Geller attorneys have led the fight against Big Tobacco since 1991. As an example, Robbins
Geller attorneys filed the case that helped get rid of Joe Camel, representing various public and private
plaintiffs, including the State of Arkansas, the general public in California, the cities of San Francisco, Los
Angeles, and Birmingham, 14 counties in California, and the working men and women of this country in
the Union Pension and Welfare Fund cases that have been filed in 40 states. In 1992, Robbins Geller
attorneys filed the first case in the country that alleged a conspiracy by the Big Tobacco companies.



Pro Bono
Robbins Geller provides counsel to those unable to afford legal representation as part of a continuous and
longstanding commitment to the communities in which it serves. Over the years the Firm has dedicated a
considerable amount of time, energy, and a full range of its resources for many pro bono and charitable
actions.

Robbins Geller has been honored for its pro bono efforts by the California State Bar (including a
nomination for the President’s Pro Bono Law Firm of the Year award) and the San Diego Volunteer
Lawyer’s Program, among others.

Some of the Firm’s and its attorneys’ pro bono and charitable actions include:

       Representing public school children and parents in Tennessee challenging the state’s private
       school voucher law, known as the Education Savings Account (ESA) Pilot Program. Robbins Geller
       helped achieve favorable rulings enjoining implementation of the ESA for violating the Home
       Rule provision of the Tennessee Constitution, which prohibits the General Assembly from passing
       laws that target specific counties without local approval.

       Representing California bus passengers pro bono in a landmark consumer and civil rights case
       against Greyhound for subjecting them to discriminatory immigration raids. Robbins Geller
       achieved a watershed court ruling that a private company may be held liable under California law
       for allowing border patrol to harass and racially profile its customers. The case heralds that
       Greyhound passengers do not check their rights and dignity at the bus door and has had an
       immediate impact, not only in California but nationwide. Within weeks of Robbins Geller filing
       the case, Greyhound added “know your rights” information to passengers to its website and on
       posters in bus stations around the country, along with adopting other business reforms.




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     Working with the Homeless Action Center (HAC) to provide no-cost, barrier-free, culturally
     competent legal representation that makes it possible for people who are homeless (or at risk of
     becoming homeless) to access social safety net programs that help restore dignity and provide
     sustainable income, healthcare, mental health treatment, and housing. Based in Oakland and
     Berkeley, the non-profit is the only program in the Bay Area that specializes in legal services to
     those who are chronically homeless. In 2016, HAC provided assistance to 1,403 men and 936
     women, and 1,691 cases were completed. An additional 1,357 cases were still pending when the
     year ended. The results include 512 completed SSI cases with a success rate of 87%.

     Representing Trump University students in two class actions against President Donald J. Trump.
     The historic settlement provides $25 million to approximately 7,000 consumers. This means
     individual class members are eligible for upwards of $35,000 in restitution – an extraordinary
     result.

     Representing children diagnosed with Autism Spectrum Disorder, as well as children with
     significant disabilities, in New York to remedy flawed educational policies and practices that cause
     substantial harm to these and other similar children year after year.

     Representing 19 San Diego County children diagnosed with Autism Spectrum Disorder in their
     appeal of the San Diego Regional Center’s termination of funding for a crucial therapy. The
     victory resulted in a complete reinstatement of funding and set a precedent that allows other
     children to obtain the treatments they need.

     Serving as Northern California and Hawaii District Coordinator for the United States Court of
     Appeals for the Ninth Circuit’s Pro Bono program since 1993.

     Representing the Sierra Club and the National Economic Development and Law Center as amici
     curiae before the U.S. Supreme Court.

     Obtaining political asylum, after an initial application had been denied, for an impoverished
     Somali family whose ethnic minority faced systematic persecution and genocidal violence in
     Somalia, as well as forced female mutilation.

     Working with the ACLU in a class action filed on behalf of welfare applicants subject to San Diego
     County’s “Project 100%” program. Relief was had when the County admitted that food-stamp
     eligibility could not hinge upon the Project 100% “home visits,” and again when the district court
     ruled that unconsented “collateral contacts” violated state regulations. The decision was noted by
     the Harvard Law Review, The New York Times, and The Colbert Report.

     Filing numerous amicus curiae briefs on behalf of religious organizations and clergy that support
     civil rights, oppose government-backed religious-viewpoint discrimination, and uphold the
     American traditions of religious freedom and church-state separation.

     Serving as amicus counsel in a Ninth Circuit appeal from a Board of Immigration Appeals
     deportation decision. In addition to obtaining a reversal of the BIA’s deportation order, the Firm
     consulted with the Federal Defenders’ Office on cases presenting similar fact patterns, which
     resulted in a precedent-setting en banc decision from the Ninth Circuit resolving a question of state
     and federal law that had been contested and conflicted for decades.




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PROMINENT CASES, PRECEDENT-SETTING
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Prominent Cases
Over the years, Robbins Geller attorneys have obtained outstanding results in some of the most notorious
and well-known cases, frequently earning judicial commendations for the quality of their representation.

       In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Investors lost billions of dollars as a result
       of the massive fraud at Enron. In appointing Robbins Geller lawyers as sole lead counsel to
       represent the interests of Enron investors, the court found that the Firm’s zealous prosecution and
       level of “insight” set it apart from its peers. Robbins Geller attorneys and lead plaintiff The
       Regents of the University of California aggressively pursued numerous defendants, including
       many of Wall Street’s biggest banks, and successfully obtained settlements in excess of $7.2 billion
       for the benefit of investors. This is the largest securities class action recovery in history.

       The court overseeing this action had utmost praise for Robbins Geller’s efforts and stated that
       “[t]he experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is
       one of the most successful law firms in securities class actions, if not the preeminent one, in the
       country.” In re Enron Corp. Sec., Derivative & “ERISA” Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex.
       2008).

       The court further commented: “[I]n the face of extraordinary obstacles, the skills, expertise,
       commitment, and tenacity of [Robbins Geller] in this litigation cannot be overstated. Not to be
       overlooked are the unparalleled results, . . . which demonstrate counsel’s clearly superlative
       litigating and negotiating skills.” Id. at 789.

       The court stated that the Firm’s attorneys “are to be commended for their zealousness, their
       diligence, their perseverance, their creativity, the enormous breadth and depth of their
       investigations and analysis, and their expertise in all areas of securities law on behalf of the
       proposed class.” Id.

       In addition, the court noted, “This Court considers [Robbins Geller] ‘a lion’ at the securities bar
       on the national level,” noting that the Lead Plaintiff selected Robbins Geller because of the Firm’s
       “outstanding reputation, experience, and success in securities litigation nationwide.” Id. at 790.

       The court further stated that “Lead Counsel’s fearsome reputation and successful track record
       undoubtedly were substantial factors in . . . obtaining these recoveries.” Id.

       Finally, Judge Harmon stated: “As this Court has explained [this is] an extraordinary group of
       attorneys who achieved the largest settlement fund ever despite the great odds against them.” Id.
       at 828.

       Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill). As sole lead counsel, Robbins Geller
       obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
       week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
       Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or
       misleading statements of material fact about the company’s business practices and financial results,
       but remanded the case for a new trial on the issue of whether the individual defendants “made”
       certain false statements, whether those false statements caused plaintiffs’ losses, and the amount of


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     damages. The parties reached an agreement to settle the case just hours before the retrial was
     scheduled to begin on June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the
     largest ever following a securities fraud class action trial, the largest securities fraud settlement in
     the Seventh Circuit and the seventh-largest settlement ever in a post-PSLRA securities fraud case.
     According to published reports, the case was just the seventh securities fraud case tried to a verdict
     since the passage of the PSLRA.

     In approving the settlement, the Honorable Jorge L. Alonso noted the team’s “skill and
     determination” while recognizing that “Lead Counsel prosecuted the case vigorously and skillfully
     over 14 years against nine of the country’s most prominent law firms” and “achieved an
     exceptionally significant recovery for the class.” The court added that the team faced “significant
     hurdles” and “uphill battles” throughout the case and recognized that “[c]lass counsel performed a
     very high-quality legal work in the context of a thorny case in which the state of the law has been
     and is in flux.” The court succinctly concluded that the settlement was “a spectacular result for the
     class.” Jaffe v. Household Int’l, Inc., No. 02-C-5892, 2016 U.S. Dist. LEXIS 156921, at *8 (N.D. Ill.
     Nov. 10, 2016); Jaffe v. Household Int’l, Inc., No. 02-C-05893, Transcript at 56, 65 (N.D. Ill. Oct. 20,
     2016).

     In re Valeant Pharms. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.). As sole lead counsel,
     Robbins Geller attorneys obtained a $1.2 billion settlement in the securities case that Vanity Fair
     reported as “the corporate scandal of its era” that had raised “fundamental questions about the
     functioning of our health-care system, the nature of modern markets, and the slippery slope of
     ethical rationalizations.” The settlement resolves claims that defendants made false and misleading
     statements regarding Valeant’s business and financial performance during the class period,
     attributing Valeant’s dramatic growth in revenues and profitability to “innovative new marketing
     approaches” as part of a business model that was low risk and “durable and sustainable.” Valeant is
     the largest securities class action settlement against a pharmaceutical manufacturer and the ninth
     largest ever.

     In re Am. Realty Cap. Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.). As sole lead counsel,
     Robbins Geller attorneys zealously litigated the case arising out of ARCP’s manipulative accounting
     practices and obtained a $1.025 billion settlement. For five years, the litigation team prosecuted
     nine different claims for violations of the Securities Exchange Act of 1934 and Securities Act of
     1933, involving seven different stock or debt offerings and two mergers. The recovery represents
     the highest percentage of damages of any major PSLRA case prior to trial and includes the largest
     personal contributions by individual defendants in history.

     In approving the settlement, the Honorable Alvin K. Hellerstein lauded the Robbins Geller
     litigation team, noting: “My own observation is that plaintiffs’ representation is adequate and that
     the role of lead counsel was fulfilled in an extremely fine fashion by [Robbins Geller]. At every
     juncture, the representations made to me were reliable, the arguments were cogent, and the
     representation of their client was zealous.”

     In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
     Robbins Geller represented the California Public Employees’ Retirement System (“CalPERS”) and
     demonstrated its willingness to vigorously advocate for its institutional clients, even under the most
     difficult circumstances. For example, in 2006, the issue of high-level executives backdating stock
     options made national headlines. During that time, many law firms, including Robbins Geller,
     brought shareholder derivative lawsuits against the companies’ boards of directors for breaches of
     their fiduciary duties or for improperly granting backdated options. Rather than pursuing a
     shareholder derivative case, the Firm filed a securities fraud class action against the company on
     behalf of CalPERS. In doing so, Robbins Geller faced significant and unprecedented legal


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     obstacles with respect to loss causation, i.e., that defendants’ actions were responsible for causing
     the stock losses. Despite these legal hurdles, Robbins Geller obtained an $895 million recovery on
     behalf of the UnitedHealth shareholders. Shortly after reaching the $895 million settlement with
     UnitedHealth, the remaining corporate defendants, including former CEO William A. McGuire,
     also settled. McGuire paid $30 million and returned stock options representing more than three
     million shares to the shareholders. The total recovery for the class was over $925 million, the
     largest stock option backdating recovery ever, and a recovery that is more than four times larger
     than the next largest options backdating recovery.            Moreover, Robbins Geller obtained
     unprecedented corporate governance reforms, including election of a shareholder-nominated
     member to the company’s board of directors, a mandatory holding period for shares acquired by
     executives via option exercise, and executive compensation reforms that tie pay to performance.

     Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
     (S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
     opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
     auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to
     2001. The Firm’s clients included major public institutions from across the country such as
     CalPERS, CalSTRS, the state pension funds of Maine, Illinois, New Mexico, and West Virginia,
     union pension funds, and private entities such as AIG and Northwestern Mutual. Robbins Geller
     attorneys recovered more than $650 million for their clients, substantially more than they would
     have recovered as part of the class.

     Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured a
     $500 million settlement for institutional and individual investors in what is the largest RMBS
     purchaser class action settlement in history, and one of the largest class action securities
     settlements of all time. The unprecedented settlement resolves claims against Countrywide and
     Wall Street banks that issued the securities. The action was the first securities class action case filed
     against originators and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins
     Geller forged through six years of hard-fought litigation, oftentimes litigating issues of first
     impression, in order to secure the landmark settlement for its clients and the class.

     In approving the settlement, Judge Mariana R. Pfaelzer repeatedly complimented plaintiffs’
     attorneys, noting that it was “beyond serious dispute that Class Counsel has vigorously prosecuted
     the Settlement Actions on both the state and federal level over the last six years.” Judge Pfaelzer
     also commented that “[w]ithout a settlement, these cases would continue indefinitely, resulting in
     significant risks to recovery and continued litigation costs. It is difficult to understate the risks to
     recovery if litigation had continued.” Me. State Ret. Sys. v. Countrywide Fin. Corp., No.
     2:10-CV-00302, 2013 U.S. Dist. LEXIS 179190, at *44, *56 (C.D. Cal. Dec. 5, 2013).

     Judge Pfaelzer further noted that the proposed $500 million settlement represents one of the
     “largest MBS class action settlements to date. Indeed, this settlement easily surpasses the next
     largest . . . MBS settlement.” Id. at *59.

     In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). In litigation over
     bonds and preferred securities, issued by Wachovia between 2006 and 2008, Robbins Geller and
     co-counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company
     ($590 million) and Wachovia auditor KPMG LLP ($37 million). The total settlement – $627 million –
     is one of the largest credit-crisis settlements involving Securities Act claims and one of the 20 largest
     securities class action recoveries in history. The settlement is also one of the biggest securities class
     action recoveries arising from the credit crisis.




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     As alleged in the complaint, the offering materials for the bonds and preferred securities misstated
     and failed to disclose the true nature and quality of Wachovia’s mortgage loan portfolio, which
     exposed the bank and misled investors to tens of billions of dollars in losses on mortgage-related
     assets. In reality, Wachovia employed high-risk underwriting standards and made loans to
     subprime borrowers, contrary to the offering materials and their statements of “pristine credit
     quality.” Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
     Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

     In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
     representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million
     for investors. On behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State
     Investment Council, and the California Ironworkers Field Trust Fund, the Firm aggressively
     pursued class claims and won numerous courtroom victories, including a favorable decision on
     defendants’ motion to dismiss. In re Cardinal Health, Inc. Sec. Litigs., 426 F. Supp. 2d 688 (S.D.
     Ohio 2006). At the time, the $600 million settlement was the tenth-largest settlement in the
     history of securities fraud litigation and is the largest-ever recovery in a securities fraud action in
     the Sixth Circuit. Judge Marbley commented: “[T]his is an extraordinary settlement relative to all
     the other settlements in cases of this nature and certainly cases of this magnitude. . . . This was an
     outstanding settlement. . . . [I]n most instances, if you’ve gotten four cents on the dollar, you’ve
     done well. You’ve gotten twenty cents on the dollar, so that’s been extraordinary. In re Cardinal
     Health, Inc. Sec. Litig., No. 2:04-CV-575, Transcript at 16, 32 (S.D. Ohio Oct. 19, 2007). Judge
     Marbley further stated:

                          The quality of representation in this case was superb. Lead Counsel,
             [Robbins Geller], are nationally recognized leaders in complex securities litigation
             class actions. The quality of the representation is demonstrated by the substantial
             benefit achieved for the Class and the efficient, effective prosecution and resolution
             of this action. Lead Counsel defeated a volley of motions to dismiss, thwarting well-
             formed challenges from prominent and capable attorneys from six different law
             firms.

     In re Cardinal Health Inc. Sec. Litigs., 528 F. Supp. 2d 752, 768 (S.D. Ohio 2007).

     AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cnty.).
     Robbins Geller represented The Regents of the University of California, six Ohio state pension
     funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public
     and private funds, insurance companies, and numerous additional institutional investors, both
     domestic and international, in state and federal court opt-out litigation stemming from Time
     Warner’s disastrous 2001 merger with Internet high flier America Online. Robbins Geller
     attorneys exposed a massive and sophisticated accounting fraud involving America Online’s e-
     commerce and advertising revenue. After almost four years of litigation involving extensive
     discovery, the Firm secured combined settlements for its opt-out clients totaling over $629 million
     just weeks before The Regents’ case pending in California state court was scheduled to go to trial.
     The Regents’ gross recovery of $246 million is the largest individual opt-out securities recovery in
     history.




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     Abu Dhabi Commercial Bank v. Morgan Stanley & Co., No. 1:08-cv-07508-SAS-DCF (S.D.N.Y.), and
     King County, Washington v. IKB Deutsche Industriebank AG, No. 1:09-cv-08387-SAS (S.D.N.Y.).
     The Firm represented multiple institutional investors in successfully pursuing recoveries from two
     failed structured investment vehicles, each of which had been rated “AAA” by Standard & Poors
     and Moody’s, but which failed fantastically in 2007. The matter settled just prior to trial in 2013.
     This result was only made possible after Robbins Geller lawyers beat back the rating agencies’
     longtime argument that ratings were opinions protected by the First Amendment.

     In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-lead
     counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
     HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of
     stockholder plaintiffs. The settlement against HealthSouth represents one of the larger
     settlements in securities class action history and is considered among the top 15 settlements
     achieved after passage of the PSLRA. Likewise, the settlement against Ernst & Young is one of the
     largest securities class action settlements entered into by an accounting firm since the passage of
     the PSLRA. HealthSouth and its financial advisors perpetrated one of the largest and most
     pervasive frauds in the history of U.S. healthcare, prompting Congressional and law enforcement
     inquiry and resulting in guilty pleas of 16 former HealthSouth executives in related federal
     criminal prosecutions. In March 2009, Judge Karon Bowdre commented in the HealthSouth class
     certification opinion: “The court has had many opportunities since November 2001 to examine the
     work of class counsel and the supervision by the Class Representatives. The court finds both to be
     far more than adequate.” In re HealthSouth Corp. Sec. Litig., 257 F.R.D. 260, 275 (N.D. Ala. 2009).

     In re Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747 (N.D. Cal.). Robbins Geller
     served as co-lead class counsel in a cutting-edge certified class action, securing a record-breaking
     $650 million all-cash settlement, the largest privacy settlement in history. The case concerned
     Facebook’s alleged privacy violations through its collection of its users’ biometric identifiers
     without informed consent through its “Tag Suggestions” feature, which uses proprietary facial
     recognition software to extract from user-uploaded photographs the unique biometric identifiers
     (i.e., graphical representations of facial features, also known as facial geometry) associated with
     people’s faces and identify who they are. The Honorable James Donato called the settlement “a
     groundbreaking settlement in a novel area” and praised the unprecedented 22% claims rate as
     “pretty phenomenal” and “a pretty good day in class settlement history.”

     In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
     Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
     obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc., and Arthur
     Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
     Given Dynegy’s limited ability to pay, Robbins Geller attorneys structured a settlement (reached
     shortly before the commencement of trial) that maximized plaintiffs’ recovery without
     bankrupting the company. Most notably, the settlement agreement provides that Dynegy will
     appoint two board members to be nominated by The Regents, which Robbins Geller and The
     Regents believe will benefit all of Dynegy’s stockholders.

     Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
     obtained a $400 million settlement on behalf of class members who purchased Pfizer common
     stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
     resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As
     sole lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of
     hard-fought litigation against the toughest and the brightest members of the securities defense bar
     by litigating this case all the way to trial.



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     In approving the settlement, United States District Judge Alvin K. Hellerstein commended the
     Firm, noting that “[w]ithout the quality and the toughness that you have exhibited, our society
     would not be as good as it is with all its problems. So from me to you is a vote of thanks for
     devoting yourself to this work and doing it well. . . . You did a really good job. Congratulations.”

     In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). Robbins Geller attorneys
     served as lead counsel for a class of investors that purchased Qwest securities. In July 2001, the
     Firm filed the initial complaint in this action on behalf of its clients, long before any investigation
     into Qwest’s financial statements was initiated by the SEC or Department of Justice. After five
     years of litigation, lead plaintiffs entered into a settlement with Qwest and certain individual
     defendants that provided a $400 million recovery for the class and created a mechanism that
     allowed the vast majority of class members to share in an additional $250 million recovered by the
     SEC. In 2008, Robbins Geller attorneys recovered an additional $45 million for the class in a
     settlement with defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO,
     respectively, of Qwest during large portions of the class period.

     Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.). Robbins
     Geller attorneys served as lead counsel for a class of investors and obtained court approval of a
     $388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
     Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in
     an MBS purchaser class action. The result was achieved after more than five years of hard-fought
     litigation and an extensive investigation. In granting approval of the settlement, the court stated
     the following about Robbins Geller attorneys litigating the case: “[T]here is no question in my mind
     that this is a very good result for the class and that the plaintiffs’ counsel fought the case very hard
     with extensive discovery, a lot of depositions, several rounds of briefing of various legal issues
     going all the way through class certification.”

     Smilovits v. First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.). As sole lead counsel, Robbins Geller
     obtained a $350 million settlement in Smilovits v. First Solar, Inc. The settlement, which was
     reached after a long legal battle and on the day before jury selection, resolves claims that First
     Solar violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. The
     settlement is the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

     NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.). As
     sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
     shareholders. The settlement concludes one of the last remaining mortgage-backed securities
     purchaser class actions arising out of the global financial crisis. The remarkable result was
     achieved following seven years of extensive litigation. After the claims were dismissed in 2010,
     Robbins Geller secured a landmark victory from the Second Circuit Court of Appeals that clarified
     the scope of permissible class actions asserting claims under the Securities Act of 1933 on behalf of
     MBS investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche”
     standing and concluded that a lead plaintiff in an MBS class action has class standing to pursue
     claims on behalf of purchasers of other securities that were issued from the same registration
     statement and backed by pools of mortgages originated by the same lenders who had originated
     mortgages backing the lead plaintiff’s securities.

     In approving the settlement, the Honorable Loretta A. Preska of the Southern District of New
     York complimented Robbins Geller attorneys, noting:

                     Counsel, thank you for your papers. They were, by the way, extraordinary




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             papers in support of the settlement, and I will particularly note Professor Miller’s
             declaration in which he details the procedural aspects of the case and then speaks
             of plaintiffs’ counsel’s success in the Second Circuit essentially changing the law.

                     I will also note what counsel have said, and that is that this case illustrates
             the proper functioning of the statute.

                                                   *       *        *

                   Counsel, you can all be proud of what you’ve done for your clients. You’ve
             done an extraordinarily good job.

     NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783, Transcript at
     10-11 (S.D.N.Y. May 2, 2016).

     Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
     Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc.
     shareholders – the largest securities class action recovery ever in Tennessee. Reached shortly
     before trial was scheduled to commence, the settlement resolves claims that the Registration
     Statement and Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011
     IPO contained material misstatements and omissions. The recovery achieved represents more
     than 30% of the aggregate classwide damages, far exceeding the typical recovery in a securities
     class action. At the hearing on final approval of the settlement, the Honorable Kevin H. Sharp
     described Robbins Geller attorneys as “gladiators” and commented: “Looking at the benefit
     obtained, the effort that you had to put into it, [and] the complexity in this case . . . I appreciate
     the work that you all have done on this.” Schuh v. HCA Holdings, Inc., No. 3:11-CV-01033,
     Transcript at 12-13 (M.D. Tenn. Apr. 11, 2016).

     Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
     behalf of a class of investors in Motorola, ultimately recovering $200 million for investors just two
     months before the case was set for trial. This outstanding result was obtained despite the lack of
     an SEC investigation or any financial restatement. In May 2012, the Honorable Amy J. St. Eve of
     the Northern District of Illinois commented: “The representation that [Robbins Geller] provided to
     the class was significant, both in terms of quality and quantity.” Silverman v. Motorola, Inc., No. 07
     C 4507, 2012 U.S. Dist. LEXIS 63477, at *11 (N.D. Ill. May 7, 2012), aff’d, 739 F.3d 956 (7th Cir.
     2013).

     In affirming the district court’s award of attorneys’ fees, the Seventh Circuit noted that “no other
     law firm was willing to serve as lead counsel. Lack of competition not only implies a higher fee
     but also suggests that most members of the securities bar saw this litigation as too risky for their
     practices.” Silverman v. Motorola Sols., Inc., 739 F.3d 956, 958 (7th Cir. 2013).

     In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
     counsel for a class of investors that purchased AT&T common stock. The case charged defendants
     AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal
     securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
     stock, one of the largest IPOs in American history. After two weeks of trial, and on the eve of
     scheduled testimony by Armstrong and infamous telecom analyst Jack Grubman, defendants
     agreed to settle the case for $100 million. In granting approval of the settlement, the court stated
     the following about the Robbins Geller attorneys handling the case:




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             Lead Counsel are highly skilled attorneys with great experience in prosecuting
             complex securities action[s], and their professionalism and diligence displayed
             during [this] litigation substantiates this characterization. The Court notes that
             Lead Counsel displayed excellent lawyering skills through their consistent
             preparedness during court proceedings, arguments and the trial, and their well-
             written and thoroughly researched submissions to the Court. Undoubtedly, the
             attentive and persistent effort of Lead Counsel was integral in achieving the
             excellent result for the Class.

     In re AT&T Corp. Sec. Litig., MDL No. 1399, 2005 U.S. Dist. LEXIS 46144, at *28-*29 (D.N.J. Apr.
     25, 2005), aff’d, 455 F.3d 160 (3d Cir. 2006).

     In re Dollar Gen. Corp. Sec. Litig., No. 01-CV-00388 (M.D. Tenn.). Robbins Geller attorneys
     served as lead counsel in this case in which the Firm recovered $172.5 million for investors. The
     Dollar General settlement was the largest shareholder class action recovery ever in Tennessee.

     Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 00-CV-2838 (N.D. Ga.). As co-lead
     counsel representing Coca-Cola shareholders, Robbins Geller attorneys obtained a recovery of
     $137.5 million after nearly eight years of litigation. Robbins Geller attorneys traveled to three
     continents to uncover the evidence that ultimately resulted in the settlement of this hard-fought
     litigation. The case concerned Coca-Cola’s shipping of excess concentrate at the end of financial
     reporting periods for the sole purpose of meeting analyst earnings expectations, as well as the
     company’s failure to properly account for certain impaired foreign bottling assets.

     Schwartz v. TXU Corp., No. 02-CV-2243 (N.D. Tex.). As co-lead counsel, Robbins Geller attorneys
     obtained a recovery of over $149 million for a class of purchasers of TXU securities. The recovery
     compensated class members for damages they incurred as a result of their purchases of TXU
     securities at inflated prices. Defendants had inflated the price of these securities by concealing the
     fact that TXU’s operating earnings were declining due to a deteriorating gas pipeline and the
     failure of the company’s European operations.




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     In re Doral Fin. Corp. Sec. Litig., 05 MDL No. 1706 (S.D.N.Y.). In July 2007, the Honorable
     Richard Owen of the Southern District of New York approved the $129 million settlement, finding
     in his order:

            The services provided by Lead Counsel [Robbins Geller] were efficient and highly
            successful, resulting in an outstanding recovery for the Class without the
            substantial expense, risk and delay of continued litigation. Such efficiency and
            effectiveness supports the requested fee percentage.

                     Cases brought under the federal securities laws are notably difficult and
            notoriously uncertain. . . . Despite the novelty and difficulty of the issues raised,
            Lead Plaintiffs’ counsel secured an excellent result for the Class.

                     . . . Based upon Lead Plaintiff’s counsel’s diligent efforts on behalf of the
            Class, as well as their skill and reputations, Lead Plaintiff’s counsel were able to
            negotiate a very favorable result for the Class. . . . The ability of [Robbins Geller]
            to obtain such a favorable partial settlement for the Class in the face of such
            formidable opposition confirms the superior quality of their representation . . . .

     In re Doral Fin. Corp. Sec. Litig., No. 1:05-md-01706, Order at 4-5 (S.D.N.Y. July 17, 2007).

     In re Exxon Valdez, No. A89 095 Civ. (D. Alaska), and In re Exxon Valdez Oil Spill Litig., No. 3 AN
     89 2533 (Alaska Super. Ct., 3d Jud. Dist.). Robbins Geller attorneys served on the Plaintiffs’
     Coordinating Committee and Plaintiffs’ Law Committee in this massive litigation resulting from
     the Exxon Valdez oil spill in Alaska in March 1989. The jury awarded hundreds of millions in
     compensatory damages, as well as $5 billion in punitive damages (the latter were later reduced by
     the U.S. Supreme Court to $507 million).

     Mangini v. R.J. Reynolds Tobacco Co., No. 939359 (Cal. Super. Ct., San Francisco Cnty.). In this
     case, R.J. Reynolds admitted that “the Mangini action, and the way that it was vigorously litigated,
     was an early, significant and unique driver of the overall legal and social controversy regarding
     underage smoking that led to the decision to phase out the Joe Camel Campaign.”

     Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
     attorneys represented a class of 30,000 garment workers who alleged that they had worked under
     sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers
     such as The Gap, Target, and J.C. Penney. In the first action of its kind, Robbins Geller attorneys
     pursued claims against the factories and the retailers alleging violations of RICO, the Alien Tort
     Claims Act, and the Law of Nations based on the alleged systemic labor and human rights abuses
     occurring in Saipan. This case was a companion to two other actions: Does I v. Advance Textile
     Corp., No. 99 0002 (D. N. Mar. I.), which alleged overtime violations by the garment factories
     under the Fair Labor Standards Act and local labor law, and UNITE v. The Gap, Inc., No. 300474
     (Cal. Super. Ct., San Francisco Cty.), which alleged violations of California’s Unfair Practices Law
     by the U.S. retailers. These actions resulted in a settlement of approximately $20 million that
     included a comprehensive monitoring program to address past violations by the factories and
     prevent future ones. The members of the litigation team were honored as Trial Lawyers of the
     Year by the Trial Lawyers for Public Justice in recognition of the team’s efforts in bringing about
     the precedent-setting settlement of the actions.

     Hall v. NCAA (Restricted Earnings Coach Antitrust Litigation), No. 94-2392 (D. Kan.). Robbins




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       Geller attorneys were lead counsel and lead trial counsel for one of three classes of coaches in
       these consolidated price-fixing actions against the National Collegiate Athletic Association. On
       May 4, 1998, the jury returned verdicts in favor of the three classes for more than $70 million.

       In re Prison Realty Sec. Litig., No. 3:99-0452 (M.D. Tenn.). Robbins Geller attorneys served as
       lead counsel for the class, obtaining a $105 million recovery.

       In re Honeywell Int’l, Inc. Sec. Litig., No. 00-cv-03605 (D.N.J.). Robbins Geller attorneys served as
       lead counsel for a class of investors that purchased Honeywell common stock. The case charged
       Honeywell and its top officers with violations of the federal securities laws, alleging the defendants
       made false public statements concerning Honeywell’s merger with Allied Signal, Inc. and that
       defendants falsified Honeywell’s financial statements. After extensive discovery, Robbins Geller
       attorneys obtained a $100 million settlement for the class.

       Schwartz v. Visa Int’l, No. 822404-4 (Cal. Super. Ct., Alameda Cnty.). After years of litigation and
       a six-month trial, Robbins Geller attorneys won one of the largest consumer protection verdicts
       ever awarded in the United States. Robbins Geller attorneys represented California consumers in
       an action against Visa and MasterCard for intentionally imposing and concealing a fee from their
       cardholders. The court ordered Visa and MasterCard to return $800 million in cardholder losses,
       which represented 100% of the amount illegally taken, plus 2% interest. In addition, the court
       ordered full disclosure of the hidden fee.

       Thompson v. Metro. Life Ins. Co., No. 00-cv-5071 (S.D.N.Y.). Robbins Geller attorneys served as
       lead counsel and obtained $145 million for the class in a settlement involving racial discrimination
       claims in the sale of life insurance.

       In re Prudential Ins. Co. of Am. Sales Pracs. Litig., MDL No. 1061 (D.N.J.). In one of the first cases
       of its kind, Robbins Geller attorneys obtained a settlement of $4 billion for deceptive sales practices
       in connection with the sale of life insurance involving the “vanishing premium” sales scheme.



Precedent-Setting Decisions
Robbins Geller attorneys operate at the vanguard of complex class action of litigation. Our work often
changes the legal landscape, resulting in an environment that is more-favorable for obtaining recoveries
for our clients.

       Stoyas v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018), cert. denied, 588 U.S. __ (2019). In July 2018,
       the Ninth Circuit ruled in plaintiffs’ favor in the Toshiba securities class action. Following appellate
       briefing and oral argument by Robbins Geller attorneys, a three-judge Ninth Circuit panel
       reversed the district court’s prior dismissal in a unanimous, 36-page opinion, holding that Toshiba
       ADRs are a “security” and the Securities Exchange Act of 1934 could apply to those ADRs that were
       purchased in a domestic transaction. Id. at 939, 949. The court adopted the Second and Third
       Circuits’ “irrevocable liability” test for determining whether the transactions were domestic and
       held that plaintiffs must be allowed to amend their complaint to allege that the purchase of
       Toshiba ADRs on the over-the-counter market was a domestic purchase and that the alleged fraud
       was in connection with the purchase.

       Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, No. 15-1439 (U.S.). In March 2018, the U.S. Supreme
       Court ruled in favor of investors represented by Robbins Geller, holding that state courts continue
       to have jurisdiction over class actions asserting violations of the Securities Act of 1933. The court’s
       ruling secures investors’ ability to bring Securities Act actions when companies fail to make full and


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     fair disclosure of relevant information in offering documents. The court confirmed that the
     Securities Litigation Uniform Standards Act of 1998 was designed to preclude securities class
     actions asserting violations of state law – not to preclude securities actions asserting federal law
     violations brought in state courts.

     Mineworkers’ Pension Scheme v. First Solar Inc., 881 F.3d 750 (9th Cir. 2018), cert. denied, 588 U.S.
     __ (2019). In January 2018, the Ninth Circuit upheld the district court’s denial of defendants’
     motion for summary judgment, agreeing with plaintiffs that the test for loss causation in the Ninth
     Circuit is a general “proximate cause test,” and rejecting the more stringent revelation of the
     fraudulent practices standard advocated by the defendants. The opinion is a significant victory for
     investors, as it forecloses defendants’ ability to immunize themselves from liability simply by
     refusing to publicly acknowledge their fraudulent conduct.

     In re Quality Sys., Inc. Sec. Litig., No. 15-55173 (9th Cir.). In July 2017, Robbins Geller’s Appellate
     Practice Group scored a significant win in the Ninth Circuit in the Quality Systems securities class
     action. On appeal, a three-judge Ninth Circuit panel unanimously reversed the district court’s
     prior dismissal of the action against Quality Systems and remanded the case to the district court
     for further proceedings. The decision addressed an issue of first impression concerning “mixed”
     future and present-tense misstatements. The appellate panel explained that “non-forward-looking
     portions of mixed statements are not eligible for the safe harbor provisions of the PSLRA . . . .
     Defendants made a number of mixed statements that included projections of growth in revenue
     and earnings based on the state of QSI’s sales pipeline.” The panel then held both the non-forward-
     looking and forward-looking statements false and misleading and made with scienter, deeming
     them actionable. Later, although defendants sought rehearing by the Ninth Circuit sitting en banc,
     the circuit court denied their petition.

     Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., No. CV-10-J-2847-S
     (N.D. Ala.). In the Regions Financial securities class action, Robbins Geller represented Local 703,
     I.B. of T. Grocery and Food Employees Welfare Fund and obtained a $90 million settlement in
     September 2015 on behalf of purchasers of Regions Financial common stock during the class
     period. In August 2014, the Eleventh Circuit Court of Appeals affirmed the district court’s
     decision to certify a class action based upon alleged misrepresentations about Regions Financial’s
     financial health before and during the recent economic recession, and in November 2014, the U.S.
     District Court for the Northern District of Alabama denied defendants’ third attempt to avoid
     plaintiffs’ motion for class certification.

     Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension Fund, No. 13-435 (U.S.). In March
     2015, the U.S. Supreme Court ruled in favor of investors represented by Robbins Geller that
     investors asserting a claim under §11 of the Securities Act of 1933 with respect to a misleading
     statement of opinion do not, as defendant Omnicare had contended, have to prove that the
     statement was subjectively disbelieved when made. Rather, the court held that a statement of
     opinion may be actionable either because it was not believed, or because it lacked a reasonable
     basis in fact. This decision is significant in that it resolved a conflict among the federal circuit
     courts and expressly overruled the Second Circuit’s widely followed, more stringent pleading
     standard for §11 claims involving statements of opinion. The Supreme Court remanded the case
     back to the district court for determination under the newly articulated standard. In August of
     2016, upon remand, the district court applied the Supreme Court’s new test and denied
     defendants’ motion to dismiss in full.

     NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145 (2d Cir. 2012). In a




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     securities fraud action involving mortgage-backed securities, the Second Circuit rejected the
     concept of “tranche” standing and found that a lead plaintiff has class standing to pursue claims on
     behalf of purchasers of securities that were backed by pools of mortgages originated by the same
     lenders who had originated mortgages backing the lead plaintiff’s securities. The court noted that,
     given those common lenders, the lead plaintiff’s claims as to its purchases implicated “the same set
     of concerns” that purchasers in several of the other offerings possessed. The court also rejected
     the notion that the lead plaintiff lacked standing to represent investors in different tranches.

     In re VeriFone Holdings, Inc. Sec. Litig., 704 F.3d 694 (9th Cir. 2012). The panel reversed in part
     and affirmed in part the dismissal of investors’ securities fraud class action alleging violations of
     §§10(b), 20(a), and 20A of the Securities Exchange Act of 1934 and SEC Rule 10b-5 in connection
     with a restatement of financial results of the company in which the investors had purchased stock.

     The panel held that the third amended complaint adequately pleaded the §10(b), §20A, and Rule
     10b-5 claims. Considering the allegations of scienter holistically, as the U.S. Supreme Court
     directed in Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27, 48-49 (2011), the panel concluded that
     the inference that the defendant company and its chief executive officer and former chief financial
     officer were deliberately reckless as to the truth of their financial reports and related public
     statements following a merger was at least as compelling as any opposing inference.

     Fox v. JAMDAT Mobile, Inc., 185 Cal. App. 4th 1068 (2010). Concluding that Delaware’s
     shareholder ratification doctrine did not bar the claims, the California Court of Appeal reversed
     dismissal of a shareholder class action alleging breach of fiduciary duty in a corporate merger.

     In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774 (3d Cir. 2009). The Third Circuit flatly rejected
     defense contentions that where relief is sought under §11 of the Securities Act of 1933, which
     imposes liability when securities are issued pursuant to an incomplete or misleading registration
     statement, class certification should depend upon findings concerning market efficiency and loss
     causation.

     Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27 (2011), aff’g 585 F.3d 1167 (9th Cir. 2009). In a
     securities fraud action involving the defendants’ failure to disclose a possible link between the
     company’s popular cold remedy and a life-altering side effect observed in some users, the U.S.
     Supreme Court unanimously affirmed the Ninth Circuit’s (a) rejection of a bright-line “statistical
     significance” materiality standard, and (b) holding that plaintiffs had successfully pleaded a strong
     inference of the defendants’ scienter.

     Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221 (5th Cir. 2009). Aided by former U.S.
     Supreme Court Justice O’Connor’s presence on the panel, the Fifth Circuit reversed a district
     court order denying class certification and also reversed an order granting summary judgment to
     defendants. The court held that the district court applied an incorrect fact-for-fact standard of loss
     causation, and that genuine issues of fact on loss causation precluded summary judgment.

     In re F5 Networks, Inc., Derivative Litig., 207 P.3d 433 (Wash. 2009). In a derivative action
     alleging unlawful stock option backdating, the Supreme Court of Washington ruled that
     shareholders need not make a pre-suit demand on the board of directors where this step would be
     futile, agreeing with plaintiffs that favorable Delaware case law should be followed as persuasive
     authority.

     Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009). In a rare win for investors in the Fifth




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     Circuit, the court reversed an order of dismissal, holding that safe harbor warnings were not
     meaningful when the facts alleged established a strong inference that defendants knew their
     forecasts were false. The court also held that plaintiffs sufficiently alleged loss causation.

     Institutional Inv’rs Grp. v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009). In a victory for investors in
     the Third Circuit, the court reversed an order of dismissal, holding that shareholders pled with
     particularity why the company’s repeated denials of price discounts on products were false and
     misleading when the totality of facts alleged established a strong inference that defendants knew
     their denials were false.

     Alaska Elec. Pension Fund v. Pharmacia Corp., 554 F.3d 342 (3d Cir. 2009). The Third Circuit
     held that claims filed for violation of §10(b) of the Securities Exchange Act of 1934 were timely,
     adopting investors’ argument that because scienter is a critical element of the claims, the time for
     filing them cannot begin to run until the defendants’ fraudulent state of mind should be apparent.

     Rael v. Page, 222 P.3d 678 (N.M. Ct. App. 2009). In this shareholder class and derivative action,
     Robbins Geller attorneys obtained an appellate decision reversing the trial court’s dismissal of the
     complaint alleging serious director misconduct in connection with the merger of SunCal
     Companies and Westland Development Co., Inc., a New Mexico company with large and historic
     landholdings and other assets in the Albuquerque area. The appellate court held that plaintiff’s
     claims for breach of fiduciary duty were direct, not derivative, because they constituted an attack
     on the validity or fairness of the merger and the conduct of the directors. Although New Mexico
     law had not addressed this question directly, at the urging of the Firm’s attorneys, the court relied
     on Delaware law for guidance, rejecting the “special injury” test for determining the direct versus
     derivative inquiry and instead applying more recent Delaware case law.

     Lane v. Page, No. 06-cv-1071 (D.N.M. 2012). In May 2012, while granting final approval of the
     settlement in the federal component of the Westland cases, Judge Browning in the District of New
     Mexico commented:

             Class Counsel are highly skilled and specialized attorneys who use their substantial
             experience and expertise to prosecute complex securities class actions. In possibly
             one of the best known and most prominent recent securities cases, Robbins Geller
             served as sole lead counsel – In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D.
             Tex.). See Report at 3. The Court has previously noted that the class would
             “receive high caliber legal representation” from class counsel, and throughout the
             course of the litigation the Court has been impressed with the quality of
             representation on each side. Lane v. Page, 250 F.R.D. at 647.

     Lane v. Page, 862 F. Supp. 2d 1182, 1253-54 (D.N.M. 2012).

     In addition, Judge Browning stated: “‘Few plaintiffs’ law firms could have devoted the kind of
     time, skill, and financial resources over a five-year period necessary to achieve the pre- and post-
     Merger benefits obtained for the class here.’ . . . [Robbins Geller is] both skilled and experienced,
     and used those skills and experience for the benefit of the class [Robbins Geller is] both skilled and
     experienced, and used those skills and experience for the benefit of the class.” Id. at 1254.

     Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031 (9th Cir. 2008). In a case of first
     impression, the Ninth Circuit held that the Securities Act of 1933’s specific non-removal features
     had not been trumped by the general removal provisions of the Class Action Fairness Act of 2005.




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     In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008). The Ninth Circuit upheld defrauded
     investors’ loss causation theory as plausible, ruling that a limited temporal gap between the time
     defendants’ misrepresentation was publicly revealed and the subsequent decline in stock value was
     reasonable where the public had not immediately understood the impact of defendants’ fraud.

     In re WorldCom Sec. Litig., 496 F.3d 245 (2d Cir. 2007). The Second Circuit held that the filing of
     a class action complaint tolls the limitations period for all members of the class, including those
     who choose to opt out of the class action and file their own individual actions without waiting to
     see whether the district court certifies a class – reversing the decision below and effectively
     overruling multiple district court rulings that American Pipe tolling did not apply under these
     circumstances.

     In re Merck & Co. Sec., Derivative & ERISA Litig., 493 F.3d 393 (3d Cir. 2007). In a shareholder
     derivative suit appeal, the Third Circuit held that the general rule that discovery may not be used
     to supplement demand-futility allegations does not apply where the defendants enter a voluntary
     stipulation to produce materials relevant to demand futility without providing for any limitation as
     to their use. In April 2007, the Honorable D. Brooks Smith praised Robbins Geller partner Joe
     Daley’s efforts in this litigation:

             Thank you very much Mr. Daley and a thank you to all counsel. As Judge Cowen
             mentioned, this was an exquisitely well-briefed case; it was also an extremely well-
             argued case, and we thank counsel for their respective jobs here in the matter,
             which we will take under advisement. Thank you.

     In re Merck & Co., Inc. Sec., Derivative & ERISA Litig., No. 06-2911, Transcript at 35:37-36:00 (3d
     Cir. Apr. 12, 2007).

     Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007). The Supreme Court of Delaware
     held that the Alaska Electrical Pension Fund, for purposes of the “corporate benefit” attorney-fee
     doctrine, was presumed to have caused a substantial increase in the tender offer price paid in a
     “going private” buyout transaction. The Court of Chancery originally ruled that Alaska’s counsel,
     Robbins Geller, was not entitled to an award of attorney fees, but Delaware’s high court, in its
     published opinion, reversed and remanded for further proceedings.

     Crandon Cap. Partners v. Shelk, 157 P.3d 176 (Or. 2007). Oregon’s Supreme Court ruled that a
     shareholder plaintiff in a derivative action may still seek attorney fees even if the defendants took
     actions to moot the underlying claims. The Firm’s attorneys convinced Oregon’s highest court to
     take the case, and reverse, despite the contrary position articulated by both the trial court and the
     Oregon Court of Appeals.

     In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006). In a case of first impression, the Tenth
     Circuit held that a corporation’s deliberate release of purportedly privileged materials to
     governmental agencies was not a “selective waiver” of the privileges such that the corporation could
     refuse to produce the same materials to non-governmental plaintiffs in private securities fraud
     litigation.

     In re Guidant S’holders Derivative Litig., 841 N.E.2d 571 (Ind. 2006). Answering a certified
     question from a federal court, the Supreme Court of Indiana unanimously held that a pre-suit
     demand in a derivative action is excused if the demand would be a futile gesture. The court
     adopted a “demand futility” standard and rejected defendants’ call for a “universal demand”
     standard that might have immediately ended the case.



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     Denver Area Meat Cutters v. Clayton, 209 S.W.3d 584 (Tenn. Ct. App. 2006). The Tennessee
     Court of Appeals rejected an objector’s challenge to a class action settlement arising out of Warren
     Buffet’s 2003 acquisition of Tennessee-based Clayton Homes. In their effort to secure relief for
     Clayton Homes stockholders, the Firm’s attorneys obtained a temporary injunction of the Buffet
     acquisition for six weeks in 2003 while the matter was litigated in the courts. The temporary halt
     to Buffet’s acquisition received national press attention.

     DeJulius v. New Eng. Health Care Emps. Pension Fund, 429 F.3d 935 (10th Cir. 2005). The Tenth
     Circuit held that the multi-faceted notice of a $50 million settlement in a securities fraud class
     action had been the best notice practicable under the circumstances, and thus satisfied both
     constitutional due process and Rule 23 of the Federal Rules of Civil Procedure.

     In re Daou Sys., 411 F.3d 1006 (9th Cir. 2005). The Ninth Circuit sustained investors’ allegations
     of accounting fraud and ruled that loss causation was adequately alleged by pleading that the value
     of the stock they purchased declined when the issuer’s true financial condition was revealed.

     Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.), reh’g denied and opinion modified, 409 F.3d
     653 (5th Cir. 2005). The Fifth Circuit upheld investors’ accounting-fraud claims, holding that
     fraud is pled as to both defendants when one knowingly utters a false statement and the other
     knowingly fails to correct it, even if the complaint does not specify who spoke and who listened.

     City of Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651 (6th Cir. 2005). The Sixth
     Circuit held that a statement regarding objective data supposedly supporting a corporation’s belief
     that its tires were safe was actionable where jurors could have found a reasonable basis to believe
     the corporation was aware of undisclosed facts seriously undermining the statement’s accuracy.

     Ill. Mun. Ret. Fund v. Citigroup, Inc., 391 F.3d 844 (7th Cir. 2004). The Seventh Circuit upheld a
     district court’s decision that the Illinois Municipal Retirement Fund was entitled to litigate its
     claims under the Securities Act of 1933 against WorldCom’s underwriters before a state court
     rather than before the federal forum sought by the defendants.

     Nursing Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004). The Ninth
     Circuit ruled that defendants’ fraudulent intent could be inferred from allegations concerning
     their false representations, insider stock sales and improper accounting methods.

     Southland Sec. Corp. v. INSpire Ins. Sols. Inc., 365 F.3d 353 (5th Cir. 2004). The Fifth Circuit
     sustained allegations that an issuer’s CEO made fraudulent statements in connection with a
     contract announcement.

     Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (Mo. Ct. App. 2009). Capping nearly a decade
     of hotly contested litigation, the Missouri Court of Appeals reversed the trial court’s judgment
     notwithstanding the verdict for auto insurer American Family and reinstated a unanimous jury
     verdict for the plaintiff class.

     Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305 (2009). The California Court of Appeal held
     that Farmers Insurance’s practice of levying a “service charge” on one-month auto insurance
     policies, without specifying the charge in the policy, violated California’s Insurance Code.

     Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070 (2004). Reversing the trial court, the
     California Court of Appeal ordered class certification of a suit against Farmers, one of the largest




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     automobile insurers in California, and ruled that Farmers’ standard automobile policy requires it
     to provide parts that are as good as those made by vehicle’s manufacturer. The case involved
     Farmers’ practice of using inferior imitation parts when repairing insureds’ vehicles.

     In re Monumental Life Ins. Co., 365 F.3d 408, 416 (5th Cir. 2004). The Fifth Circuit Court of
     Appeals reversed a district court’s denial of class certification in a case filed by African-Americans
     seeking to remedy racially discriminatory insurance practices. The Fifth Circuit held that a
     monetary relief claim is viable in a Rule 23(b)(2) class if it flows directly from liability to the class as
     a whole and is capable of classwide “‘computation by means of objective standards and not
     dependent in any significant way on the intangible, subjective differences of each class member’s
     circumstances.’”

     Dent v. National Football League, No. 15-15143 (9th Cir.). In September 2018, the United States
     Court of Appeals for the Ninth Circuit issued an important decision reversing the district court’s
     previous dismissal of the Dent v. National Football League litigation, concluding that the complaint
     brought by NFL Hall of Famer Richard Dent and others should not be dismissed on labor-law
     preemption grounds. The case was remanded to the district court for further proceedings.

     Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011). In a leading decision interpreting the
     scope of Proposition 64’s new standing requirements under California’s Unfair Competition Law
     (UCL), the California Supreme Court held that consumers alleging that a manufacturer has
     misrepresented its product have “lost money or property” within the meaning of the initiative, and
     thus have standing to sue under the UCL, if they “can truthfully allege that they were deceived by
     a product’s label into spending money to purchase the product, and would not have purchased it
     otherwise.” Id. at 317. Kwikset involved allegations, proven at trial, that defendants violated
     California’s “Made in the U.S.A.” statute by representing on their labels that their products were
     “Made in U.S.A.” or “All-American Made” when, in fact, the products were substantially made with
     foreign parts and labor.

     Safeco Ins. Co. of Am. v. Superior Court, 173 Cal. App. 4th 814 (2009). In a class action against
     auto insurer Safeco, the California Court of Appeal agreed that the plaintiff should have access to
     discovery to identify a new class representative after her standing to sue was challenged.

     Consumer Privacy Cases, 175 Cal. App. 4th 545 (2009). The California Court of Appeal rejected
     objections to a nationwide class action settlement benefiting Bank of America customers.

     Koponen v. Pac. Gas & Elec. Co., 165 Cal. App. 4th 345 (2008). The Firm’s attorneys obtained a
     published decision reversing the trial court’s dismissal of the action, and holding that the plaintiff’s
     claims for damages arising from the utility’s unauthorized use of rights-of-way or easements
     obtained from the plaintiff and other landowners were not barred by a statute limiting the
     authority of California courts to review or correct decisions of the California Public Utilities
     Commission.

     Sanford v. MemberWorks, Inc., 483 F.3d 956 (9th Cir. 2007). In a telemarketing-fraud case, where
     the plaintiff consumer insisted she had never entered the contractual arrangement that defendants
     said bound her to arbitrate individual claims to the exclusion of pursuing class claims, the Ninth
     Circuit reversed an order compelling arbitration – allowing the plaintiff to litigate on behalf of a
     class.

     Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007). In the Ohio analog to the West




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       case, the Ohio Court of Appeals approved certification of a class of Ohio residents seeking relief
       under Ohio’s consumer protection laws for the same telemarketing fraud.

       Haw. Med. Ass’n v. Haw. Med. Serv. Ass’n, 148 P.3d 1179 (Haw. 2006). The Supreme Court of
       Hawaii ruled that claims of unfair competition were not subject to arbitration and that claims of
       tortious interference with prospective economic advantage were adequately alleged.

       Branick v. Downey Sav. & Loan Ass’n, 39 Cal. 4th 235 (2006). Robbins Geller attorneys were part
       of a team of lawyers that briefed this case before the Supreme Court of California. The court
       issued a unanimous decision holding that new plaintiffs may be substituted, if necessary, to
       preserve actions pending when Proposition 64 was passed by California voters in 2004.
       Proposition 64 amended California’s Unfair Competition Law and was aggressively cited by
       defense lawyers in an effort to dismiss cases after the initiative was adopted.

       McKell v. Wash. Mut., Inc., 142 Cal. App. 4th 1457 (2006). The California Court of Appeal
       reversed the trial court, holding that plaintiff’s theories attacking a variety of allegedly inflated
       mortgage-related fees were actionable.

       West Corp. v. Superior Court, 116 Cal. App. 4th 1167 (2004). The California Court of Appeal
       upheld the trial court’s finding that jurisdiction in California was appropriate over the out-of-state
       corporate defendant whose telemarketing was aimed at California residents. Exercise of
       jurisdiction was found to be in keeping with considerations of fair play and substantial justice.

       Kruse v. Wells Fargo Home Mortg., Inc., 383 F.3d 49 (2d Cir. 2004), and Santiago v. GMAC Mortg.
       Grp., Inc., 417 F.3d 384 (3d Cir. 2005). In two groundbreaking federal appellate decisions, the
       Second and Third Circuits each ruled that the Real Estate Settlement Practices Act prohibits
       marking up home loan-related fees and charges.



Additional Judicial Commendations
Robbins Geller attorneys have been praised by countless judges all over the country for the quality of their
representation in class-action lawsuits. In addition to the judicial commendations set forth in the
Prominent Cases and Precedent-Setting Decisions sections, judges have acknowledged the successful
results of the Firm and its attorneys with the following plaudits:

       On February 4, 2021, in granting final approval of the settlement, the Honorable Mark H. Cohen
       of the United States District Court for the Northern District of Georgia stated: “Lead Counsel
       successfully achieved a greater-than-average settlement ‘in the face of significant risks.’” Robbins
       Geller’s “hard-fought litigation in the Eleventh Circuit” and “[i]n considering the experience,
       reputation, and abilities of the attorneys, the Court recognize[d] that Lead Counsel is well-
       regarded in the legal community, especially in litigating class-action securities cases.” Monroe
       County Employees’ Retirement System v. The Southern Company, No. 1:17-cv-00241, Order at 8-9 (N.D.
       Ga. Feb. 4, 2021).

       On December 18, 2020, at the final approval hearing of the settlement, the Honorable Yvonne
       Gonzalez Rogers of the United States District Court for the Northern District of California
       commended Robbins Geller, stating: “Counsel performed excellent work in not only investigating
       and analyzing the core of the issues, but in negotiating and demanding the necessary reforms to
       prevent malfeasance for the benefit of the shareholders and the consumers. The Court
       complements counsel for its excellence.” In re RH S’holder Derivative Litig., No. 4:18-cv-02452-YGR,
       Order and Final Judgment at 3 (N.D. Cal. Dec. 18, 2020).


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     On October 23, 2020, at the final approval hearing of the settlement, the Honorable P. Kevin
     Castel of the United States District Court for the Southern District of New York praised the firm,
     “[Robbins Geller] has been sophisticated and experienced.” He also noted that: “[ T]he quality of
     the representation . . . was excellent. The experience of counsel is also a factor. Robbins Geller
     certainly has the extensive experience and they were litigating against national powerhouses . . . .”
     City of Birmingham Ret. & Relief Sys. v. BRF S.A., No. 18 Civ. 2213 (PKC), Transcript at 12-13, 18
     (S.D.N.Y. Oct. 23, 2020).

     In May 2020, in granting final approval of the settlement, the Honorable Mark L. Wolf praised
     Robbins Geller: “[T]he class has been represented by excellent honorable counsel . . . . [T]he fund
     was represented by experienced, energetic, able counsel, the fund was engaged and informed, and
     the fund followed advice of experienced counsel. Counsel for the class have been excellent, and I
     would say honorable.” Additionally, Judge Wolf noted, “I find that the work that's been done
     primarily by Robbins Geller has been excellent and honorable and efficient. . . . [T]his has been a
     challenging case, and they’ve done an excellent job.” McGee v. Constant Contact, Inc., No.
     1:15-cv-13114-MLW, Transcript at 21, 31, 61 (D. Mass. May 27, 2020).

     In December 2019, the Honorable Margo K. Brodie noted in granting final approval of the
     settlement that “[Robbins Geller and co-counsel] have also demonstrated the utmost
     professionalism despite the demands of the extreme perseverance that this case has required,
     litigating on behalf of a class of over 12 million for over fourteen years, across a changing legal
     landscape, significant motion practice, and appeal and remand. Class counsel’s pedigree and
     efforts alone speak to the quality of their representation.” In re Payment Card Interchange Fee
     & Merch. Disc. Antitrust Litig., No. 1:05-md-01720-MKB-JO, Memorandum & Order (E.D.N.Y.
     Dec. 16, 2019).

     In October 2019, the Honorable Claire C. Cecchi noted that Robbins Geller is “capable of
     adequately representing the class, both based on their prior experience in class action lawsuits and
     based on their capable advocacy on behalf of the class in this action.” The court further
     commended the Firm and co-counsel for “conduct[ing] the [l]itigation . . . with skill, perseverance,
     and diligent advocacy.” Lincoln Adventures, LLC v. Those Certain Underwriters at Lloyd’s, London
     Members, No. 2:08-cv-00235-CCC-JAD, Order at 4 (D.N.J. Oct. 3, 2019); Lincoln Adventures, LLC v.
     Those Certain Underwriters at Lloyd’s, London Members of Syndicates, No. 2:08-cv-00235-CCC-JAD,
     Order Awarding Attorneys’ Fees and Expenses/Charges and Service Awards at 3 (D.N.J. Oct. 3,
     2019).

     In June 2019, the Honorable T.S. Ellis, III noted that Robbins Geller “achieved the [$108 million]
     [s]ettlement with skill, perseverance, and diligent advocacy.” At the final approval hearing, the
     court further commended Robbins Geller by stating, “I think the case was fully and appropriately
     litigated [and] you all did a very good job. . . . [T]hank you for your service in the court. . . .
     [You’re] first-class lawyers . . . .” Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031, Order Awarding
     Attorneys’ Fees and Expenses at 3 (E.D. Va. June 7, 2019); Knurr v. Orbital ATK, Inc., No.
     1:16-cv-01031, Transcript at 28-29 (E.D. Va. June 7, 2019).

     In June 2019, in granting final approval of the settlement, the Honorable John A. Houston stated:
     Robbins Geller’s “skill and quality of work was extraordinary . . . . I’ll note from the top that this
     has been an aggressively litigated action.”          In re Morning Song Bird Food Litig., No.
     3:12-cv-01592-JAH-AGS, Transcript at 4, 9 (S.D. Cal. June 3, 2019).

     In May 2019, in granting final approval of the settlement, the Honorable Richard H. DuBois




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     stated: Robbins Geller is “highly experienced and skilled” for obtaining a “fair, reasonable, and
     adequate” settlement in the “interest of the [c]lass [m]embers” after “extensive investigation.”
     Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd., No. CIV535692, Judgment and Order
     Granting Final Approval of Class Action Settlement at 3 (Cal. Super. Ct., San Mateo Cnty. May 17,
     2019).

     In April 2019, the Honorable Kathaleen St. J. McCormick noted: “[S]ince the inception of this
     litigation, plaintiffs and their counsel have vigorously prosecuted the claims brought on behalf of
     the class. . . . When Vice Chancellor Laster appointed lead counsel, he effectively said: Go get a
     good result. And counsel took that to heart and did it. . . . The proposed settlement was the
     product of intense litigation and complex mediation. . . . [Robbins Geller has] only built a
     considerable track record, never burned it, which gave them the credibility necessary to extract the
     benefits achieved.” In re Calamos Asset Mgmt., Inc. S’holder Litig., No. 2017-0058-JTL, Transcript at
     87, 93, 95, 98 (Del. Ch. Apr. 25, 2019).

     In April 2019, the Honorable Susan O. Hickey noted that Robbins Geller “achieved an exceptional
     [s]ettlement with skill, perseverance, and diligent advocacy.” City of Pontiac Gen. Emps.’ Ret. Sys. v.
     Wal-Mart Stores, Inc., No. 5:12-cv-5162, Order Awarding Attorneys’ Fees and Expenses at 3 (W.D.
     Ark. Apr. 8, 2019).

     In January 2019, the Honorable Margo K. Brodie noted that Robbins Geller “has arduously
     represented a variety of plaintiffs’ groups in this action[,] . . . [has] extensive antitrust class action
     litigation experience . . . [and] negotiated what [may be] the largest antitrust settlement in
     history.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11, 34
     (E.D.N.Y. 2019).

     On December 20, 2018, at the final approval hearing for the settlement, the court lauded Robbins
     Geller’s attorneys and their work: “[T]his is a pretty extraordinary settlement, recovery on behalf
     of the members of the class. . . . I’ve been very impressed with the level of lawyering in the case . . .
     and with the level of briefing . . . and I wanted to express my appreciation for that and for the
     work that everyone has done here.” The court concluded, “your clients were all blessed to have
     you, [and] not just because of the outcome.” Duncan v. Joy Global, Inc., No. 16-CV-1229,
     Transcript at 12, 20-21 (E.D. Wis. Dec. 20, 2018).

     In October 2017, the Honorable William Alsup noted that Robbins Geller and lead plaintiff
     “vigorously prosecuted this action.” In re LendingClub Sec. Litig., No. 3:16-cv-02627-WHA, Order
     at 13 (N.D. Cal. Oct. 20, 2017).

     On November 9, 2018, in granting final approval of the settlement, the Honorable Jesse M.
     Furman commented: “[Robbins Geller] did an extraordinary job here. . . . [I]t is fair to say [this
     was] probably the most complicated case I have had since I have been on the bench. . . . I cannot
     really imagine how complicated it would have been if I didn't have counsel who had done as
     admirable [a] job in briefing it and arguing as you have done. You have in my view done an
     extraordinary service to the class. . . . I think you have done an extraordinary job and deserve
     thanks and commendation for that.” Alaska Elec. Pension Fund v. Bank of Am. Corp., No.
     1:14-cv-07126-JMF-OTW, Transcript at 27-28 (S.D.N.Y. Nov. 9, 2018).




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     On September 12, 2018, at the final approval hearing of the settlement, the Honorable William H.
     Orrick of the Northern District of California praised Robbins Geller’s “high-quality lawyering” in a
     case that “involved complicated discovery and complicated and novel legal issues,” resulting in an
     “excellent” settlement for the class. The “lawyering . . . was excellent” and the case was “very well
     litigated.” In re Lidoderm Antitrust Litig., No. 14-MDL-02521-WHO, Transcript at 11, 14, 22 (N.D.
     Cal. Sept. 12, 2018).

     On March 31, 2017, in granting final approval of the settlement, the Honorable Gonzalo P. Curiel
     hailed the settlement as “extraordinary” and “all the more exceptional when viewed in light of the
     risk” of continued litigation. The court further commended Robbins Geller for prosecuting the
     case on a pro bono basis: “Class Counsel’s exceptional decision to provide nearly seven years of legal
     services to Class Members on a pro bono basis evidences not only a lack of collusion, but also that
     Class Counsel are in fact representing the best interests of Plaintiffs and the Class Members in this
     Settlement. Instead of seeking compensation for fees and costs that they would otherwise be
     entitled to, Class Counsel have acted to allow maximum recovery to Plaintiffs and Class Members.
     Indeed, that Eligible Class Members may receive recovery of 90% or greater is a testament to Class
     Counsel’s representation and dedication to act in their clients’ best interest.” In addition, at the
     final approval hearing, the court commented that "this is a case that has been litigated – if not
     fiercely, zealously throughout.” Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1302, 1312 (S.D.
     Cal. 2017), aff’d, 881 F.3d 1111 (9th Cir. 2018); Low v. Trump University LLC and Donald J. Trump,
     No. 10-cv-0940 GPC-WVG, and Cohen v. Donald J. Trump, No. 13-cv-2519-GPC-WVG, Transcript
     at 7 (S.D. Cal. Mar. 30, 2017).

     In January 2017, at the final approval hearing, the Honorable Kevin H. Sharp of the Middle
     District of Tennessee commended Robbins Geller attorneys, stating: “It was complicated, it was
     drawn out, and a lot of work clearly went into this [case] . . . . I think there is some benefit to the
     shareholders that are above and beyond money, a benefit to the company above and beyond
     money that changed hands.” In re Community Health Sys., Inc. S’holder Derivative Litig., No.
     3:11-cv-00489, Transcript at 10 (M.D. Tenn. Jan. 17, 2017).

     In November 2016, at the final approval hearing, the Honorable James G. Carr stated: “I kept
     throwing the case out, and you kept coming back. . . . And it’s both remarkable and noteworthy
     and a credit to you and your firm that you did so. . . . [Y]ou persuaded the Sixth Circuit. As we
     know, that’s no mean feat at all.” Judge Carr further complimented the Firm, noting that it “goes
     without question or even saying” that Robbins Geller is very well-known nationally and that the
     settlement is an excellent result for the class. He succinctly concluded that “given the tenacity and
     the time and the effort that [Robbins Geller] lawyers put into [the case]” makes the class “a lot
     better off.” Plumbers & Pipefitters Nat’l Pension Fund v. Burns, No. 3:05-cv-07393-JGC, Transcript at
     4, 10, 14, 17 (N.D. Ohio Nov. 18, 2016).

     In September 2016, in granting final approval of the settlement, Judge Arleo commended the
     “vigorous and skilled efforts” of Robbins Geller attorneys for obtaining “an excellent recovery.”
     Judge Arleo added that the settlement was reached after “contentious, hard-fought litigation” that
     ended with “a very, very good result for the class” in a “risky case.” City of Sterling Heights Gen.
     Emps.’ Ret. Sys. v. Prudential Fin., Inc., No. 2:12-cv-05275-MCA-LDW, Transcript of Hearing at
     18-20 (D.N.J. Sept. 28, 2016).




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     In August 2015, at the final approval hearing for the settlement, the Honorable Karen M.
     Humphreys praised Robbins Geller’s “extraordinary efforts” and “excellent lawyering,” noting that
     the settlement “really does signal that the best is yet to come for your clients and for your
     prodigious labor as professionals. . . . I wish more citizens in our country could have an
     appreciation of what this [settlement] truly represents.” Bennett v. Sprint Nextel Corp., No.
     2:09-cv-02122-EFM-KMH, Transcript at 8, 25 (D. Kan. Aug. 12, 2015).

     In August 2015, the Honorable Judge Max O. Cogburn, Jr. noted that “plaintiffs’ attorneys were
     able [to] achieve the big success early” in the case and obtained an “excellent result.” The
     “extraordinary” settlement was because of “good lawyers . . . doing their good work.” Nieman v.
     Duke Energy Corp., No. 3:12-cv-456, Transcript at 21, 23, 30 (W.D.N.C. Aug. 12, 2015).

     In July 2015, in approving the settlement, the Honorable Douglas L. Rayes of the District of
     Arizona stated: “Settlement of the case during pendency of appeal for more than an insignificant
     amount is rare. The settlement here is substantial and provides favorable recovery for the
     settlement class under these circumstances.” He continued, noting, “[a]s against the objective
     measures of . . . settlements [in] other similar cases, [the recovery] is on the high end.” Teamsters
     Local 617 Pension & Welfare Funds v. Apollo Grp., Inc., No. 2:06-cv-02674-DLR, Transcript at 8, 11
     (D. Ariz. July 28, 2015).

     In June 2015, at the conclusion of the hearing for final approval of the settlement, the Honorable
     Susan Richard Nelson of the District of Minnesota noted that it was “a pleasure to be able to
     preside over a case like this,” praising Robbins Geller in achieving “an outstanding [result] for [its]
     clients,” as she was “very impressed with the work done on th[e] case.” In re St. Jude Med., Inc. Sec.
     Litig., No. 0:10-cv-00851-SRN-TNL, Transcript at 7 (D. Minn. June 12, 2015).

     In May 2015, at the fairness hearing on the settlement, the Honorable William G. Young noted
     that the case was “very well litigated” by Robbins Geller attorneys, adding that “I don’t just say that
     as a matter of form. . . . I thank you for the vigorous litigation that I’ve been permitted to be a part
     of.” Courtney v. Avid Tech., Inc., No. 1:13-cv-10686-WGY, Transcript at 8-9 (D. Mass. May 12,
     2015).

     In January 2015, the Honorable William J. Haynes, Jr. of the Middle District of Tennessee
     described the settlement as a “highly favorable result achieved for the Class” through Robbins
     Geller’s “diligent prosecution . . . [and] quality of legal services.” The settlement represents the
     fourth-largest securities recovery ever in the Middle District of Tennessee and one of the largest in
     more than a decade. Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882, 2015
     U.S. Dist. LEXIS 181943, at *6-*7 (M.D. Tenn. Jan. 16, 2015).

     In September 2014, in approving the settlement for shareholders, Vice Chancellor John W. Noble
     noted “[t]he litigation caused a substantial benefit for the class. It is unusual to see a $29 million
     recovery.” Vice Chancellor Noble characterized the litigation as “novel” and “not easy,” but “[t]he
     lawyers took a case and made something of it.” The court commended Robbins Geller’s efforts in
     obtaining this result: “The standing and ability of counsel cannot be questioned” and “the benefits
     achieved by plaintiffs’ counsel in this case cannot be ignored.” In re Gardner Denver, Inc. S’holder
     Litig., No. 8505-VCN, Transcript at 26-28 (Del. Ch. Sept. 3, 2014).

     In May 2014, at the conclusion of the hearing for final approval of the settlement, the Honorable
     Elihu M. Berle stated: “I would finally like to congratulate counsel on their efforts to resolve this
     case, on excellent work – it was the best interest of the class – and to the exhibition of
     professionalism. So I do thank you for all your efforts.” Liberty Mutual Overtime Cases, No. JCCP
     4234, Transcript at 20:1-5 (Cal. Super. Ct., Los Angeles Cnty. May 29, 2014).


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     In March 2014, Ninth Circuit Judge J. Clifford Wallace (presiding) expressed the gratitude of the
     court: “Thank you. I want to especially thank counsel for this argument. This is a very
     complicated case and I think we were assisted no matter how we come out by competent counsel
     coming well prepared. . . . It was a model of the type of an exercise that we appreciate. Thank
     you very much for your work . . . you were of service to the court.” Eclectic Properties East, LLC v.
     The Marcus & Millichap Co., No. 12-16526, Transcript (9th Cir. Mar. 14, 2014).

     In February 2014, in approving a settlement, Judge Edward M. Chen noted the “very substantial
     risks” in the case and recognized Robbins Geller had performed “extensive work on the case.” In
     re VeriFone Holdings, Inc. Sec. Litig., No. C-07-6140, 2014 U.S. Dist. LEXIS 20044, at *5, *11-*12
     (N.D. Cal. Feb. 18, 2014).

     In August 2013, in granting final approval of the settlement, the Honorable Richard J. Sullivan
     stated: “Lead Counsel is to be commended for this result: it expended considerable effort and
     resources over the course of the action researching, investigating, and prosecuting the claims, at
     significant risk to itself, and in a skillful and efficient manner, to achieve an outstanding recovery
     for class members. Indeed, the result – and the class’s embrace of it – is a testament to the
     experience and tenacity Lead Counsel brought to bear.” City of Livonia Emps. Ret. Sys. v. Wyeth, No.
     07 Civ. 10329, 2013 U.S. Dist. LEXIS 113658, at *13 (S.D.N.Y. Aug. 7, 2013).

     In July 2013, in granting final approval of the settlement, the Honorable William H. Alsup stated
     that Robbins Geller did “excellent work in this case,” and continued, “I look forward to seeing you
     on the next case.” Fraser v. Asus Comput. Int’l, No. C 12-0652, Transcript at 12:2-3 (N.D. Cal. July
     11, 2013).

     In June 2013, in certifying the class, U.S. District Judge James G. Carr recognized Robbins
     Geller’s steadfast commitment to the class, noting that “plaintiffs, with the help of Robbins Geller,
     have twice successfully appealed this court’s orders granting defendants’ motion to dismiss.”
     Plumbers & Pipefitters Nat’l Pension Fund v. Burns, 292 F.R.D. 515, 524 (N.D. Ohio 2013).

     In November 2012, in granting appointment of lead plaintiff, Chief Judge James F. Holderman
     commended Robbins Geller for its “substantial experience in securities class action litigation” and
     commented that the Firm “is recognized as ‘one of the most successful law firms in securities class
     actions, if not the preeminent one, in the country.’ In re Enron Corp. Sec., 586 F. Supp. 2d 732, 797
     (S.D. Tex. 2008) (Harmon, J.).” He continued further that, “‘Robbins Geller attorneys are
     responsible for obtaining the largest securities fraud class action recovery ever [$7.2 billion in
     Enron], as well as the largest recoveries in the Fifth, Sixth, Eighth, Tenth and Eleventh
     Circuits.’” Bristol Cnty. Ret. Sys. v. Allscripts Healthcare Sols., Inc., No. 12 C 3297, 2012 U.S. Dist.
     LEXIS 161441, at *21 (N.D. Ill. Nov. 9, 2012).

     In June 2012, in granting plaintiffs’ motion for class certification, the Honorable Inge Prytz
     Johnson noted that other courts have referred to Robbins Geller as “‘one of the most successful law
     firms in securities class actions . . . in the country.’” Local 703, I.B. v. Regions Fin. Corp., 282 F.R.D.
     607, 616 (N.D. Ala. 2012) (quoting In re Enron Corp. Sec. Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex.
     2008)), aff’d in part and vacated in part on other grounds, 762 F.3d 1248 (11th Cir. 2014).

     In June 2012, in granting final approval of the settlement, the Honorable Barbara S. Jones
     commented that “class counsel’s representation, from the work that I saw, appeared to me to be of
     the highest quality.” In re CIT Grp. Inc. Sec. Litig., No. 08 Civ. 6613, Transcript at 9:16-18 (S.D.N.Y.
     June 13, 2012).




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                                           PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
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     In March 2012, in granting certification for the class, Judge Robert W. Sweet referenced the Enron
     case, agreeing that Robbins Geller’s “‘clearly superlative litigating and negotiating skills’” give the
     Firm an “‘outstanding reputation, experience, and success in securities litigation nationwide,’” thus,
     “‘[t]he experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is
     one of the most successful law firms in securities class actions, if not the preeminent one, in the
     country.’” Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 158 (S.D.N.Y. 2012).

     In March 2011, in denying defendants’ motion to dismiss, Judge Richard Sullivan commented:
     “Let me thank you all. . . . [The motion] was well argued . . . and . . . well briefed . . . . I certainly
     appreciate having good lawyers who put the time in to be prepared . . . .” Anegada Master Fund
     Ltd. v. PxRE Grp. Ltd., No. 08-cv-10584, Transcript at 83 (S.D.N.Y. Mar. 16, 2011).

     In January 2011, the court praised Robbins Geller attorneys: “They have gotten very good results
     for stockholders. . . . [Robbins Geller has] such a good track record.” In re Compellent Techs., Inc.
     S’holder Litig., No. 6084-VCL, Transcript at 20-21 (Del. Ch. Jan. 13, 2011).

     In August 2010, in reviewing the settlement papers submitted by the Firm, Judge Carlos Murguia
     stated that Robbins Geller performed “a commendable job of addressing the relevant issues with
     great detail and in a comprehensive manner . . . . The court respects the [Firm’s] experience in
     the field of derivative [litigation].” Alaska Elec. Pension Fund v. Olofson, No. 08-cv-02344-CM-JPO
     (D. Kan.) (Aug. 20, 2010 e-mail from court re: settlement papers).

     In June 2009, Judge Ira Warshawsky praised the Firm’s efforts in In re Aeroflex, Inc. S’holder Litig.:
     “There is no doubt that the law firms involved in this matter represented in my opinion the cream
     of the crop of class action business law and mergers and acquisition litigators, and from a judicial
     point of view it was a pleasure working with them.” In re Aeroflex, Inc. S’holder Litig., No.
     003943/07, Transcript at 25:14-18 (N.Y. Sup. Ct., Nassau Cnty. June 30, 2009).

     In March 2009, in granting class certification, the Honorable Robert Sweet of the Southern District
     of New York commented in In re NYSE Specialists Sec. Litig., 260 F.R.D. 55, 74 (S.D.N.Y. 2009): “As
     to the second prong, the Specialist Firms have not challenged, in this motion, the qualifications,
     experience, or ability of counsel for Lead Plaintiff, [Robbins Geller], to conduct this litigation.
     Given [Robbins Geller’s] substantial experience in securities class action litigation and the extensive
     discovery already conducted in this case, this element of adequacy has also been satisfied.”

     In June 2008, the court commented, “Plaintiffs’ lead counsel in this litigation, [Robbins Geller], has
     demonstrated its considerable expertise in shareholder litigation, diligently advocating the rights
     of Home Depot shareholders in this Litigation. [Robbins Geller] has acted with substantial skill
     and professionalism in representing the plaintiffs and the interests of Home Depot and its
     shareholders in prosecuting this case.” City of Pontiac Gen. Emps.’ Ret. Sys. v. Langone, No.
     2006-122302, Findings of Fact in Support of Order and Final Judgment at 2 (Ga. Super. Ct.,
     Fulton Cnty. June 10, 2008).

     In a December 2006 hearing on the $50 million consumer privacy class action settlement in Kehoe
     v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV (S.D. Fla.), United States District Court Judge Daniel
     T.K. Hurley said the following:

             First, I thank counsel. As I said repeatedly on both sides, we have been very, very
             fortunate. We have had fine lawyers on both sides. The issues in the case are
             significant issues. We are talking about issues dealing with consumer protection




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                                         PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                          AND JUDICIAL COMMENDATIONS
            and privacy. Something that is increasingly important today in our society. . . . I
            want you to know I thought long and hard about this. I am absolutely satisfied
            that the settlement is a fair and reasonable settlement. . . . I thank the lawyers on
            both sides for the extraordinary effort that has been brought to bear here . . . .

     Kehoe v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV, Transcript at 26, 28-29 (S.D. Fla. Dec. 7,
     2006).

     In Stanley v. Safeskin Corp., No. 99 CV 454 (S.D. Cal.), where Robbins Geller attorneys obtained
     $55 million for the class of investors, Judge Moskowitz stated:

            I said this once before, and I’ll say it again. I thought the way that your firm
            handled this case was outstanding. This was not an easy case. It was a complicated
            case, and every step of the way, I thought they did a very professional job.

     Stanley v. Safeskin Corp., No. 99 CV 454, Transcript at 13 (S.D. Cal. May 25, 2004).




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ATTORNEY BIOGRAPHIES
Mario Alba Jr. | Partner
Mario Alba is a partner in the Firm’s Melville office. He is a member of the Firm’s Institutional Outreach
Team, which provides advice to the Firm’s institutional clients, including numerous public pension
systems and Taft-Hartley funds throughout the United States, and consults with them on issues relating to
corporate fraud in the U.S. securities markets, as well as corporate governance issues and shareholder
litigation. Some of Alba’s institutional clients are currently involved in securities cases involving: Acadia
Healthcare Company, Inc.; Reckitt Benckiser Group plc; Livent Corporation; Ryanair Holdings plc;
Southwest Airlines Co.; Impax Laboratories Inc.; Super Micro Computer, Inc.; Skechers USA, Inc.; and
XPO Logistics, Inc. Alba’s institutional clients are also involved in other types of class actions, namely: In
re National Prescription Opiate Litigation, In re Epipen (Epinephrine Injection, USP) Marketing, Sales Practices and
Antitrust Litigation, Forth v. Walgreen Co., and In re Humira (Adalimumab) Antitrust Litigation.

Alba has served as lead counsel in numerous cases and is responsible for initiating, investigating,
researching, and filing securities and consumer fraud class actions. He has recovered hundreds of
millions of dollars in numerous actions, including cases against BHP Billiton Limited ($50 million
recovery), BRF S.A. ($40 million recovery), L3 Technologies, Inc. ($34.5 million recovery), NBTY, Inc.
($16 million recovery), OSI Pharmaceuticals ($9 million recovery), Advisory Board Company ($7.5 million
recovery), Iconix Brand Group, Inc. ($6 million recovery), and PXRe Group, Ltd. ($5.9 million).

Alba has lectured at numerous institutional investor conferences throughout the United States on various
shareholder issues, including at the Illinois Public Pension Fund Association, the New York State
Teamsters Conference, the American Alliance Conference, and the TEXPERS/IPPFA Joint Conference at
the New York Stock Exchange, among others.


Education
B.S., St. John’s University, 1999; J.D., Hofstra University School of Law, 2002

Honors / Awards
Rising Star, Super Lawyers Magazine, 2012-2013, 2016-2017; B.S., Dean’s List, St. John’s University, 1999;
Selected as participant in Hofstra Moot Court Seminar, Hofstra University School of Law




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                                                                                   ATTORNEY BIOGRAPHIES


Matthew I. Alpert | Partner
Matthew Alpert is a partner in the Firm’s San Diego office and focuses on the prosecution of securities
fraud litigation. He has helped recover over $800 million for individual and institutional investors
financially harmed by corporate fraud. Alpert’s current cases include securities fraud cases against XPO
Logistics (D. Conn.), Canada Goose (S.D.N.Y.), Inogen (C.D. Cal.), and Under Armour (D. Md.). Most
recently, Alpert and a team of Robbins Geller attorneys obtained a $1.21 billion settlement in In re Valeant
Pharms. Int’l, Inc. Sec. Litig. (D.N.J.), a case that Vanity Fair reported as “the corporate scandal of its era”
that had raised “fundamental questions about the functioning of our health-care system, the nature of
modern markets, and the slippery slope of ethical rationalizations.” This is the largest securities class
action settlement against a pharmaceutical manufacturer and the ninth largest ever. Alpert was also a
member of the litigation team that successfully obtained class certification in a securities fraud class action
against Regions Financial, a class certification decision which was substantively affirmed by the United
States Court of Appeals for the Eleventh Circuit in Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund
v. Regions Fin. Corp., 762 F.3d 1248 (11th Cir. 2014). Upon remand, the United States District Court for
the Northern District of Alabama granted class certification again, rejecting defendants’ post-Halliburton
II arguments concerning stock price impact.

Some of Alpert’s previous cases include: the individual opt-out actions of the AOL Time Warner class
action – Regents of the Univ. of Cal. v. Parsons (Cal. Super. Ct., Los Angeles Cnty.) and Ohio Pub. Emps. Ret.
Sys. v. Parsons (Ohio. Ct. of Common Pleas, Franklin Cnty.) (total settlement over $600 million); Local 703,
I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp. (N.D. Ala.) ($90 million settlement); In re
MGM Mirage Sec. Litig. (D. Nev.) ($75 million); In re CIT Grp. Inc. Sec. Litig. (S.D.N.Y.) ($75 million
settlement); Luna v. Marvell Tech. Grp., Ltd. (N.D. Cal.) ($72.5 million settlement); Deka Investment GmbH v.
Santander Consumer USA Holdings Inc. (N.D. Tex.) ($47 million settlement); In re Bridgestone Sec. Litig. (M.D.
Tenn.) ($30 million settlement); In re Walter Energy, Inc. Sec. Litig. (N.D. Ala.) ($25 million); City of Hialeah
Emps.’ Ret. Sys. & Laborers Pension Trust Fund for N. Cal. v. Toll Brothers, Inc. (E.D. Pa.) ($25 million
settlement); In re Molycorp, Inc. Sec. Litig. (D. Colo.) ($20.5 million settlement); In re Banc of California Sec.
Litig. (C.D. Cal.) ( $19.75 million); Zimmerman v. Diplomat Pharmacy, Inc. (E.D. Mich.) ($14.1
million); Batwin v. Occam Networks, Inc. (C.D. Cal.) ($13.9 million settlement); Int’l Brotherhood of Elec.
Workers Local 697 Pension Fund v. Int’l Game Tech. (D. Nev.) ($12.5 million settlement); Kmiec v. Powerwave
Techs. Inc. (C.D. Cal.) ($8.2 million); In re Sunterra Corp. Sec. Litig. (D. Nev.) ($8 million settlement);
and Luman v. Anderson (W.D. Mo.) ($4.25 million settlement).


Education
B.A., University of Wisconsin at Madison, 2001; J.D., Washington University, St. Louis, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2019




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                                                                                ATTORNEY BIOGRAPHIES


Darryl J. Alvarado | Partner
Darryl Alvarado is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud
and other complex civil litigation. Alvarado was a member of the trial team in Smilovits v. First Solar, Inc.,
which recovered $350 million for aggrieved investors. The First Solar settlement, reached on the eve of
trial after more than seven years of litigation and an interlocutory appeal to the U.S. Supreme Court, is
the fifth-largest PSLRA recovery ever obtained in the Ninth Circuit. Alvarado recently litigated Monroe
County Employees’ Retirement System v. The Southern Company, which recovered $87.5 million for investors
after more than three years of litigation. The settlement resolved securities fraud claims stemming from
defendants’ issuance of misleading statements and omissions regarding the construction of a first-of-its-
kind “clean coal” power plant in Kemper County, Mississippi. Alvarado helped secure $388 million for
investors in J.P. Morgan residential mortgage-backed securities in Fort Worth Employees’ Retirement Fund v.
J.P. Morgan Chase & Co. That settlement is, on a percentage basis, the largest recovery ever achieved in an
RMBS class action. He was also a member of a team of attorneys that secured $95 million for investors in
Morgan Stanley-issued RMBS in In re Morgan Stanley Mortgage Pass-Through Certificates Litigation.

Alvarado was a member of a team of lawyers that obtained landmark settlements, on the eve of trial, from
the major credit rating agencies and Morgan Stanley arising out of the fraudulent ratings of bonds issued
by the Cheyne and Rhinebridge structured investment vehicles in Abu Dhabi Commercial Bank v. Morgan
Stanley & Co. Incorporated and King County, Washington v. IKB Deutsche Industriebank AG. He was integral in
obtaining several precedent-setting decisions in those cases, including defeating the rating agencies’
historic First Amendment defense and defeating the ratings agencies’ motions for summary judgment
concerning the actionability of credit ratings. Alvarado was also a member of a team of attorneys
responsible for obtaining for aggrieved investors $27 million in In re Cooper Companies Securities Litigation,
$19.5 million in City of Pontiac General Employees’ Retirement System v. Lockheed Martin Corporation, and
comprehensive corporate governance reforms to address widespread off-label marketing and product
safety violations in In re Johnson & Johnson Derivative Litigation.


Education
B.A., University of California, Santa Barbara, 2004; J.D., University of San Diego School of Law, 2007

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2018-2021; Top 40 Under 40, Daily Journal, 2021; Rising
Star, Super Lawyers Magazine, 2015-2021; “Outstanding Young Attorneys,” San Diego Daily Transcript, 2011




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                                                                                  ATTORNEY BIOGRAPHIES


X. Jay Alvarez | Partner
Jay Alvarez is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud
litigation and other complex litigation. Alvarez’s notable cases include In re Qwest Commc’ns Int’l, Inc. Sec.
Litig. ($400 million recovery), In re Coca-Cola Sec. Litig. ($137.5 million settlement), In re St. Jude Medical,
Inc. Sec. Litig. ($50 million settlement), and In re Cooper Cos. Sec. Litig. ($27 million recovery). Most
recently, Alvarez was a member of the litigation team that secured a historic recovery on behalf of Trump
University students in two class actions against President Donald J. Trump. The settlement provides $25
million to approximately 7,000 consumers. This result means individual class members are eligible for
upwards of $35,000 in restitution. He represented the class on a pro bono basis.

Prior to joining the Firm, Alvarez served as an Assistant United States Attorney for the Southern District
of California from 1991-2003. As an Assistant United States Attorney, he obtained extensive trial
experience, including the prosecution of bank fraud, money laundering, and complex narcotics
conspiracy cases. During his tenure as an Assistant United States Attorney, Alvarez also briefed and
argued numerous appeals before the Ninth Circuit Court of Appeals.


Education
B.A., University of California, Berkeley, 1984; J.D., University of California, Berkeley, Boalt Hall School
of Law, 1987

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2020




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Dory P. Antullis | Partner
Dory Antullis is a partner in the Firm’s Boca Raton office and has been practicing law for 17 years, first at
a major defense firm and the last 9-1/2 at Robbins Geller. Her practice focuses on complex class actions,
including consumer fraud, RICO, public nuisance, data breach, pharmaceuticals, and antitrust litigation.

Antullis, along with other Robbins Geller attorneys, is currently leading the effort on behalf of cities and
counties around the country in In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804 (N.D. Ohio). She
also serves as a primary counsel for named plaintiffs in the consolidated Third Party Payer class action
in In re Zantac (Ranitidine) Prods. Liab. Litig., No. 9:20-md-02924-RLR (S.D. Fla.), and is as a core member
of the MDL Class Committee responsible for drafting, defending, and proving products liability, RICO,
and consumer protection allegations on behalf of both TPPs and consumers nationwide.

Antullis has been an integral part of Robbins Geller’s history of successful privacy and data breach class
action cases. She is currently serving as Interim Co-Lead Class Counsel in In re Luxottica of America, Inc.
Data Breach Litig., No. 1:20-cv-00908-MRB (S.D. Ohio). Her heavy lifting at every stage of the litigation
in In re Yahoo! Inc. Customer Data Sec. Breach Litig., No. 5:16-md-02752-LHK (N.D. Cal.), helped to secure a
$117.5 million recovery in the largest data breach in history. Antullis successfully defeated two rounds of
dispositive briefing, worked with leadership and computer privacy and damages experts to plan a
winning strategy for the case, and drafted an innovative motion for class certification that immediately
preceded a successful mediation with defendants in that litigation. Antullis also provided meaningful
“nuts-and-bolts” support in other data breach class actions, including In re Am. Med. Collection Agency, Inc.,
Customer Data Sec. Breach Litig., No. 2:19-md-02904-MCA-MAH (D.N.J.) (representing class of LabCorp
customers), and In re Solara Med. Supplies Customer Data Breach Litig., No. 3:19-cv-02284-H-KSC (S.D. Cal.)
(representing victims of a protected health information data breach).


Education
B.A., Rice University, 1999; J.D., Columbia Law School, 2003

Honors / Awards
National Merit Scholar, Rice University; Golden Key National Honor Society, Rice University; Nominated
for The Rice Undergraduate academic journal, Rice University; Michael I. Sovern Scholar, Columbia Law
School; Hague Appeal for Peace, Committee for a Just and Effective Response to 9/11, Columbia Law
School; Columbia Mediation and Political Asylum Clinics, Columbia Law School; Harlem Tutorial
Program, Columbia Law School; Journal of Eastern European Law, Columbia Law School; Columbia Law
Women’s Association, Columbia Law School




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                                                                                ATTORNEY BIOGRAPHIES


Stephen R. Astley | Partner
Stephen Astley is a partner in the Firm’s Boca Raton office. Astley devotes his practice to representing
institutional and individual shareholders in their pursuit to recover investment losses caused by fraud.
He has been lead counsel in numerous securities fraud class actions across the country, helping secure
significant recoveries for his clients and investors. He was on the trial team that recovered $60 million on
behalf of investors in City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Hospira, Inc. Other notable
representations include: In re ADT Inc. S’holder Litig. (Fla. Cir. Ct., 15th Jud. Cir.) ($30 million
settlement); In re Red Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million settlement); Eshe Fund v. Fifth Third
Bancorp (S.D. Ohio) ($16 million); City of St. Clair Shores Gen. Emps.’ Ret. Sys. v. Lender Processing Servs.,
Inc. (M.D. Fla.) ($14 million); and In re Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).

Prior to joining the Firm, Astley was with the Miami office of Hunton & Williams, where he concentrated
his practice on class action defense, including securities class actions and white collar criminal defense.
Additionally, he represented numerous corporate clients accused of engaging in unfair and deceptive
practices. Astley was also an active duty member of the United States Navy’s Judge Advocate General’s
Corps where he was the Senior Defense Counsel for the Naval Legal Service Office Pearl Harbor
Detachment. In that capacity, Astley oversaw trial operations for the Detachment and gained substantial
first-chair trial experience as the lead defense counsel in over 75 courts-martial and administrative
proceedings. Additionally, from 2002-2003, Astley clerked for the Honorable Peter T. Fay, U.S. Court of
Appeals for the Eleventh Circuit.


Education
B.S., Florida State University, 1992; M. Acc., University of Hawaii at Manoa, 2001; J.D., University of
Miami School of Law, 1997

Honors / Awards
J.D., Cum Laude, University of Miami School of Law, 1997; United States Navy Judge Advocate General’s
Corps., Lieutenant




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                                                                                ATTORNEY BIOGRAPHIES


A. Rick Atwood, Jr. | Partner
Rick Atwood is a partner in the Firm’s San Diego office. As a recipient of the California Lawyer Attorney of
the Year (“CLAY”) Award for his work on behalf of shareholders, he has successfully represented
shareholders in securities class actions, merger-related class actions, and shareholder derivative suits in
federal and state courts in more than 30 jurisdictions. Through his litigation efforts at both the trial and
appellate levels, Atwood has helped recover billions of dollars for public shareholders, including the
largest post-merger common fund recoveries on record. He is also part of the Firm’s SPAC Task Force,
which is dedicated to rooting out and prosecuting fraud on behalf of injured investors in special purpose
acquisition companies. Most recently, in In re Dole Food Co., Inc. S’holder Litig., which went to trial in the
Delaware Court of Chancery on claims of breach of fiduciary duty on behalf of Dole Food Co., Inc.
shareholders, Atwood helped obtain $148 million, the largest trial verdict ever in a class action
challenging a merger transaction. He was also a key member of the litigation team in In re Kinder Morgan,
Inc. S’holders Litig., where he helped obtain an unprecedented $200 million common fund for former
Kinder Morgan shareholders, the largest merger & acquisition class action recovery in history.

Atwood also led the litigation team that obtained an $89.4 million recovery for shareholders in In re Del
Monte Foods Co. S’holders Litig., after which the Delaware Court of Chancery stated that “it was only
through the effective use of discovery that the plaintiffs were able to ‘disturb[ ] the patina of normalcy
surrounding the transaction.’” The court further commented that “Lead Counsel engaged in hard-nosed
discovery to penetrate and expose problems with practices that Wall Street considered ‘typical.’” One
Wall Street banker even wrote in The Wall Street Journal that “‘Everybody does it, but Barclays is the one
that got caught with their hand in the cookie jar . . . . Now everybody has to rethink how we conduct
ourselves in financing situations.’” Atwood’s other significant opinions include Brown v. Brewer ($45
million recovery) and In re Prime Hosp., Inc. S’holders Litig. ($25 million recovery).


Education
B.A., University of Tennessee, Knoxville, 1987; B.A., Katholieke Universiteit Leuven, Belgium, 1988;
J.D., Vanderbilt School of Law, 1991

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Recommended Lawyer, The Legal 500,
2017-2019; M&A Litigation Attorney of the Year in California, Corporate International, 2015; Super
Lawyer, Super Lawyers Magazine, 2014-2017; Attorney of the Year, California Lawyer, 2012; B.A., Great
Distinction, Katholieke Universiteit Leuven, Belgium, 1988; B.A., Honors, University of Tennessee,
Knoxville, 1987; Authorities Editor, Vanderbilt Journal of Transnational Law, 1991



Aelish M. Baig | Partner
Aelish Marie Baig is a partner in the Firm’s San Francisco office. She specializes in federal securities and
consumer class actions. She focuses primarily on securities fraud litigation on behalf of individual and
institutional investors, including state and municipal pension funds, Taft-Hartley funds, and private
retirement and investment funds. Baig has litigated a number of cases through jury trial, resulting in
multi-million dollar awards and settlements for her clients, and has prosecuted securities fraud,
consumer, and derivative actions obtaining millions of dollars in recoveries against corporations such as
Wells Fargo, Verizon, Celera, Pall, and Prudential.

Baig, along with other Robbins Geller attorneys, is currently leading the effort on behalf of cities and


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counties around the country in In re National Prescription Opiate Litigation. She has also been appointed to
the Plaintiffs’ Steering Committee in In re Juul Labs, Inc., Marketing Sales Practices and Product Liability
Litigation, currently pending before the Honorable William H. Orrick in the Northern District of
California. She serves on the expert and trial committees and represents, among others, one of the trial
bellwethers. Baig and her team have recently completed discovery and are currently preparing for expert
reports and trial. She has also been appointed by the Honorable Charles R. Breyer in the Northern
District of California to the Plaintiffs’ Steering Committee in In re McKinsey & Co., Inc. National Prescription
Opiate Consultant Litigation.

Additionally, Baig prosecuted an action against Wells Fargo’s directors and officers accusing the giant of
engaging in the robosigning of foreclosure papers so as to mass-process home foreclosures, a practice
which contributed significantly to the 2008-2009 financial crisis. The resulting settlement was worth more
than $67 million in cash, corporate preventative measures, and new lending initiatives for residents of
cities devastated by Wells Fargo’s alleged unlawful foreclosure practices. Baig and a team of Robbins
Geller attorneys recently obtained a $62.5 million settlement in Villella v. Chemical and Mining Company of
Chile Inc., a securities class action against a Chilean mining company. The case alleged that Sociedad
Química y Minera de Chile S.A. (“SQM”) violated the Securities Exchange Act of 1934 by issuing materially
false and misleading statements regarding the Company’s failure to disclose that money from SQM was
channeled illegally to electoral campaigns for Chilean politicians and political parties as far back as 2009.
SQM had also filed millions of dollars’ worth of fictitious tax receipts with Chilean authorities in order to
conceal bribery payments from at least 2009 through fiscal 2014. Due to the company being based out of
Chile and subject to Chilean law and rules, Baig and the Robbins Geller litigation team put together a
multilingual litigation team with Chilean expertise. Baig was also part of the litigation and trial team
in White v. Cellco Partnership d/b/a Verizon Wireless, which resulted in a $25 million settlement and Verizon’s
agreement to an injunction restricting its ability to impose early termination fees in future subscriber
agreements. She was also part of the team that prosecuted dozens of stock option backdating actions,
securing tens of millions of dollars in cash recoveries as well as the implementation of comprehensive
corporate governance enhancements for numerous companies victimized by their directors’ and officers’
fraudulent stock option backdating practices. Additionally, Baig prosecuted an action against Prudential
Insurance for its alleged failure to pay life insurance benefits to beneficiaries of policyholders it knew or
had reason to know had died, resulting in a settlement in excess of $30 million.


Education
B.A., Brown University, 1992; J.D., Washington College of Law at American University, 1998

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2021-2022; Leading Plaintiff Financial Lawyer,
Lawdragon, 2019-2021; Plaintiffs’ Lawyers Trailblazer, The National Law Journal, 2021; Leading Lawyer in
America, Lawdragon, 2020-2021; Best Lawyer in Northern California: One to Watch, Best Lawyers®, 2021;
Featured in “Lawyer Limelight” series, Lawdragon, 2020; Litigation Trailblazer, The National Law Journal,
2019; California Trailblazer, The Recorder, 2019; Super Lawyer, Super Lawyers Magazine, 2012-2013; J.D.,
Cum Laude, Washington College of Law at American University, 1998; Senior Editor, Administrative Law
Review, Washington College of Law at American University




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                                                                                ATTORNEY BIOGRAPHIES


Randall J. Baron | Partner
Randy Baron is a partner in the Firm’s San Diego office. He specializes in securities litigation, corporate
takeover litigation, and breach of fiduciary duty actions. For almost two decades, Baron has headed up a
team of lawyers whose accomplishments include obtaining instrumental rulings both at injunction and
trial phases, and establishing liability of financial advisors and investment banks. With an in-depth
understanding of merger and acquisition and breach of fiduciary duty law, an ability to work under
extreme time pressures, and the experience and willingness to take a case through trial, he has been
responsible for recovering more than a billion dollars for shareholders.

Notable achievements over the years include: In re Kinder Morgan, Inc. S’holders Litig. (Kan. Dist. Ct.,
Shawnee Cnty.), where Baron obtained an unprecedented $200 million common fund for former Kinder
Morgan shareholders, the largest merger & acquisition class action recovery in history; In re Dole Food Co.,
Inc. S’holder Litig. (Del. Ch.), where he went to trial in the Delaware Court of Chancery on claims of breach
of fiduciary duty on behalf of Dole Food Co., Inc. shareholders and obtained $148 million, the largest
trial verdict ever in a class action challenging a merger transaction; and In re Rural/Metro Corp. S’holders
Litig. (Del. Ch.), where Baron and co-counsel obtained nearly $110 million total recovery for shareholders
against Royal Bank of Canada Capital Markets LLC. In In re Del Monte Foods Co. S’holders Litig. (Del. Ch.),
he exposed the unseemly practice by investment bankers of participating on both sides of large merger
and acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
Monte. Baron was one of the lead attorneys representing about 75 public and private institutional
investors that filed and settled individual actions in In re WorldCom Sec. Litig. (S.D.N.Y.), where more than
$657 million was recovered, the largest opt-out (non-class) securities action in history. Most recently,
Baron successfully obtained a partial settlement of $60 million in In re Tesla Motors, Inc. S’holder Litig., a
case that alleged that the members of the Tesla Board of Directors breached their fiduciary duties,
unjustly enriched themselves, and wasted corporate assets in connection with their approval of Tesla’s
acquisition of SolarCity Corp. in 2016.


Education
B.A., University of Colorado at Boulder, 1987; J.D., University of San Diego School of Law, 1990

Honors / Awards
Fellow, Advisory Board, Litigation Counsel of America (LCA); Rated Distinguished by Martindale-
Hubbell; Best Lawyer in America, Best Lawyers®, 2019-2022; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2021; Hall of Fame, The Legal 500, 2020-2021; Leading Lawyer, Chambers USA,
2016-2021; Leading Lawyer in America, Lawdragon, 2011, 2017-2019, 2021; Southern California Best
Lawyer, Best Lawyers®, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2014-2016, 2018-2020;
National Practice Area Star, Benchmark Litigation, 2019-2020; Local Litigation Star, Benchmark Litigation,
2018, 2020; Leading Lawyer, The Legal 500, 2014-2019; Litigation Star, Benchmark Litigation, 2016-2019;
California Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark Litigation, 2019; Winning
Litigator, The National Law Journal, 2018; Titan of the Industry, The American Lawyer, 2018;
Recommended Lawyer, The Legal 500, 2017; Mergers & Acquisitions Trailblazer, The National Law Journal,
2015-2016; Litigator of the Week, The American Lawyer, October 16, 2014; Attorney of the Year, California
Lawyer, 2012; Litigator of the Week, The American Lawyer, October 7, 2011; J.D., Cum Laude, University of
San Diego School of Law, 1990




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James E. Barz | Partner
James Barz is a partner with the Firm and manages the Firm’s Chicago office. He has tried 18 cases to
verdict, conducted numerous evidentiary hearings, drafted many appeals, and argued 9 cases in the
Seventh Circuit. Barz is a registered CPA, former federal prosecutor, and an adjunct professor at
Northwestern University School of Law from 2008 to 2021, teaching courses on trial advocacy and class
action litigation.

Barz has focused on representing investors in securities fraud class actions that have resulted in recoveries
of over $2 billion. Most recently, Barz was lead counsel in In re Valeant Pharms. Int’l, Inc. Sec. Litig., and
secured a $1.21 billion recovery for investors, a case that Vanity Fair reported as “the corporate scandal of
its era” that had raised “fundamental questions about the functioning of our health-care system, the nature
of modern markets, and the slippery slope of ethical rationalizations.” This is the largest securities class
action settlement against a pharmaceutical manufacturer and the ninth largest securities class action
settlement ever. Barz was recognized as a Litigator of the Week by The American Lawyer for his work in In
re Valeant Pharms. Int’l, Inc. Sec. Litig.

Barz has also secured substantial recoveries for investors in HCA ($215 million, M.D.
Tenn.); Motorola ($200 million, N.D. Ill.); Sprint ($131 million, D. Kan.); Orbital ATK ($108 million, E.D.
Va.); Psychiatric Solutions ($65 million, M.D. Tenn.); Dana Corp. ($64 million, N.D. Ohio); Hospira ($60
million, N.D. Ill.); Career Education ($27.5 million, N.D. Ill.); Accretive Health ($14 million, N.D. Ill.); LJM
Funds Management, Ltd. ($12.85 million, N.D. Ill.); and Camping World ($12.5 million). He has been lead
trial counsel in several of these cases obtaining favorable settlements just days or weeks before trial and
after obtaining denials of summary judgment. Barz also handles whistleblower cases, including successful
settlements in United States v. Signature Healthcare LLC (M.D. Tenn.) ($30 million) and Goodman v. Arriva
Medical LLC (M.D. Tenn.) ($160 million settlement with government and $28.5 million award to
whistleblower). Barz also handles antitrust cases, including currently serving on the Plaintiffs’ Steering
Committee in In re Dealer Management Systems Antitrust Litigation (N.D. Ill.).


Education
B.B.A., Loyola University Chicago, School of Business Administration, 1995; J.D., Northwestern
University School of Law, 1998

Honors / Awards
Award for Excellence in Pro Bono Service, United States District Court for the Northern District of
Illinois, 2021; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Litigator of the Week, The
American Lawyer, 2021; Super Lawyer, Super Lawyers Magazine, 2018-2021; Leading Lawyer, Law Bulletin
Media, 2018; B.B.A., Summa Cum Laude, Loyola University Chicago, School of Business Administration,
1995; J.D., Cum Laude, Northwestern University School of Law, 1998




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Nathan W. Bear | Partner
Nate Bear is a partner in the Firm’s San Diego office. Bear advises institutional investors on a global
basis. His clients include Taft-Hartley funds, public and multi-employer pension funds, fund managers,
insurance companies, and banks around the world. He counsels clients on securities fraud and corporate
governance, and frequently speaks at conferences worldwide. Bear has been part of Robbins Geller
litigation teams which have recovered over $1 billion for investors, including In re Cardinal Health, Inc. Sec.
Litig. ($600 million) and Jones v. Pfizer Inc. ($400 million). In addition to initiating securities fraud class
actions in the United States, he possesses direct experience in Australian class actions, potential group
actions in the United Kingdom, settlements in the European Union under the Wet Collectieve
Afwikkeling Massaschade (WCAM), the Dutch Collective Mass Claims Settlement Act, as well as
representative actions in Germany utilizing the Kapitalanlegermusterverfahrensgesetz (KapMuG), the
Capital Market Investors’ Model Proceeding Act. In Abu Dhabi Commercial Bank v. Morgan Stanley & Co.
Inc., Bear was a member of the litigation team which achieved the first major ruling upholding fraud
allegations against the chief credit rating agencies. That ruling led to the filing of a similar case, King
County, Washington v. IKB Deutsche Industriebank AG. These cases, arising from the fraudulent ratings of
bonds issued by the Cheyne and Rhinebridge structured investment vehicles, ultimately obtained
landmark settlements – on the eve of trial – from the major credit rating agencies and Morgan Stanley.
Bear maintained an active role in litigation at the heart of the worldwide financial crisis, and pursued
banks over their manipulation of LIBOR, FOREX, and other benchmark rates. Additionally, Bear
represents investors damaged by the defeat device scandal enveloping German automotive
manufacturers, including Volkswagen, Porsche, and Daimler.


Education
B.A., University of California at Berkeley, 1998; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2016; “Outstanding Young Attorneys,” San Diego Daily
Transcript, 2011




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Alexandra S. Bernay | Partner
Xan Bernay is a partner in the Firm’s San Diego office, where she specializes in antitrust and unfair
competition class-action litigation. She has also worked on some of the Firm’s largest securities fraud class
actions, including the Enron litigation, which recovered an unprecedented $7.2 billion for investors.
Bernay currently serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litig., in which a settlement of $5.5 billion was approved in the Eastern District of New York.
This case was brought on behalf of millions of U.S. merchants against Visa and MasterCard and various
card-issuing banks, challenging the way these companies set and collect tens of billions of dollars annually
in merchant fees. The settlement is believed to be the largest antitrust class action settlement of all time.

Additionally, Bernay is involved in In re Remicade Antitrust Litig. pending in the Eastern District of
Pennsylvania – a large case involving anticompetitive conduct in the biosimilars market, where the Firm is
sole lead counsel for the end-payor plaintiffs. She is also part of the litigation team in In re Dealer Mgmt.
Sys. Antitrust Litig. (N.D. Ill.), which involves anticompetitive conduct related to dealer management
systems on behalf of auto dealerships across the country. Another representative case is Persian Gulf Inc.
v. BP West Coast Prods. LLC (S.D. Cal.), a massive case against the largest gas refiners in the world brought
by gasoline station owners who allege they were overcharged for gasoline in California as a result of
anticompetitive conduct.


Education
B.A., Humboldt State University, 1997; J.D., University of San Diego School of Law, 2000

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Litigator of the Week, Global Competition
Review, October 1, 2014




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Erin W. Boardman | Partner
Erin Boardman is a partner in the Firm’s Melville office, where her practice focuses on representing
individual and institutional investors in class actions brought pursuant to the federal securities laws. She
has been involved in the prosecution of numerous securities class actions that have resulted in millions of
dollars in recoveries for defrauded investors, including: Medoff v. CVS Caremark Corp. (D.R.I.) ($48 million
recovery); Construction Laborers Pension Tr. of Greater St. Louis v. Autoliv Inc. (S.D.N.Y.) ($22.5 million
recovery); In re Gildan Activewear Inc. Sec. Litig. (S.D.N.Y.) (resolved as part of a $22.5 million global
settlement); In re L.G. Phillips LCD Co., Ltd., Sec. Litig. (S.D.N.Y.) ($18 million recovery); In re Giant
Interactive Grp., Inc. Sec. Litig. (S.D.N.Y.) ($13 million recovery); In re Coventry HealthCare, Inc. Sec. Litig. (D.
Md.) ($10 million recovery); Lenartz v. American Superconductor Corp. (D. Mass.) ($10 million recovery);
Dudley v. Haub (D.N.J.) ($9 million recovery); Hildenbrand v. W Holding Co. (D.P.R.) ($8.75 million
recovery); In re Doral Fin. Corp. Sec. Litig. (D.P.R.) ($7 million recovery); and Van Dongen v. CNinsure Inc.
(S.D.N.Y.) ($6.625 million recovery). During law school, Boardman served as Associate Managing Editor
of the Journal of Corporate, Financial and Commercial Law, interned in the chambers of the Honorable Kiyo
A. Matsumoto in the United States District Court for the Eastern District of New York, and represented
individuals on a pro bono basis through the Workers’ Rights Clinic.


Education
B.A., State University of New York at Binghamton, 2003; J.D., Brooklyn Law School, 2007

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2018; B.A., Magna Cum Laude, State University of New York at
Binghamton, 2003



Douglas R. Britton | Partner
Doug Britton is a partner in the Firm’s San Diego office. His practice focuses on securities fraud and
corporate governance. Britton has been involved in settlements exceeding $1 billion and has secured
significant corporate governance enhancements to improve corporate functioning. Notable achievements
include In re WorldCom, Inc. Sec. & “ERISA” Litig., where he was one of the lead partners that represented
a number of opt-out institutional investors and secured an unprecedented recovery of $651 million; In re
SureBeam Corp. Sec. Litig., where he was the lead trial counsel and secured an impressive recovery of
$32.75 million; and In re Amazon.com, Inc. Sec. Litig., where he was one of the lead attorneys securing a
$27.5 million recovery for investors.


Education
B.B.A., Washburn University, 1991; J.D., Pepperdine University School of Law, 1996

Honors / Awards
J.D., Cum Laude, Pepperdine University School of Law, 1996




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Luke O. Brooks | Partner
Luke Brooks is a partner in the Firm’s securities litigation practice group in the San Diego office. He
focuses primarily on securities fraud litigation on behalf of individual and institutional investors, including
state and municipal pension funds, Taft-Hartley funds, and private retirement and investment funds.
Brooks served as trial counsel in Jaffe v. Household International in the Northern District of Illinois, a
securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation,
including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Other prominent cases
recently prosecuted by Brooks include Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., in which
plaintiffs recovered $388 million for investors in J.P. Morgan residential mortgage-backed securities, and
a pair of cases – Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Inc. (“Cheyne”) and King
County, Washington, et al. v. IKB Deutsche Industriebank AG (“Rhinebridge”) – in which plaintiffs obtained a
settlement, on the eve of trial in Cheyne, from the major credit rating agencies and Morgan Stanley
arising out of the fraudulent ratings of bonds issued by the Cheyne and Rhinebridge structured
investment vehicles. Reuters described the settlement as a “landmark” deal and emphasized that it was the
“first time S&P and Moody’s have settled accusations that investors were misled by their ratings.” An
article published in Rolling Stone magazine entitled “The Last Mystery of the Financial Crisis” similarly
credited Robbins Geller with uncovering “a mountain of evidence” detailing the credit rating agencies’
fraud. Most recently, Brooks served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350
million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in
the Ninth Circuit.


Education
B.A., University of Massachusetts at Amherst, 1997; J.D., University of San Francisco, 2000

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Local Litigation Star, Benchmark Litigation,
2017-2018, 2020; California Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark Litigation,
2019; Recommended Lawyer, The Legal 500, 2017-2018; Member, University of San Francisco Law Review,
University of San Francisco




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Spencer A. Burkholz | Partner
Spence Burkholz is a partner in the Firm’s San Diego office and a member of the Firm’s Executive and
Management Committees. He has 25 years of experience in prosecuting securities class actions and
private actions on behalf of large institutional investors. Burkholz was one of the lead trial attorneys
in Jaffe v. Household International in the Northern District of Illinois, a securities class action that obtained a
record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in
2009 that resulted in a verdict for plaintiffs. Burkholz has also recovered billions of dollars for injured
shareholders in cases such as Enron ($7.2 billion), WorldCom ($657 million), Countrywide ($500 million),
and Qwest ($445 million).


Education
B.A., Clark University, 1985; J.D., University of Virginia School of Law, 1989

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Best Lawyer in America, Best Lawyers®,
2018-2022; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Top Lawyer in San Diego, San
Diego Magazine, 2013-2021; Leading Lawyer in America, Lawdragon, 2018-2021; Southern California Best
Lawyer, Best Lawyers®, 2018-2021; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020; Super
Lawyer, Super Lawyers Magazine, 2015-2016, 2020; Top 100 Trial Lawyer, Benchmark Litigation, 2018-2020;
National Practice Area Star, Benchmark Litigation, 2020; Local Litigation Star, Benchmark Litigation,
2015-2018, 2020; Lawyer of the Year, Best Lawyers®, 2020; Recommended Lawyer, The Legal 500,
2017-2019; Top 20 Trial Lawyer in California, Benchmark Litigation, 2019; California Star, Benchmark
Litigation, 2019; State Litigation Star, Benchmark Litigation, 2019; Plaintiff Attorney of the Year, Benchmark
Litigation, 2018; B.A., Cum Laude, Clark University, 1985; Phi Beta Kappa, Clark University, 1985



Michael G. Capeci | Partner
Michael Capeci is a partner in the Firm’s Melville office. His practice focuses on prosecuting complex
securities class action lawsuits in federal and state courts. Throughout his tenure with the Firm, Capeci
has played an integral role in the teams prosecuting cases such as: In re BHP Billiton Ltd. Sec. Litig. ($50
million recovery); Galestan v. OneMain Holdings, Inc. ($9 million recovery); Carpenters Pension Tr. Fund of St.
Louis v. Barclays PLC ($14 million recovery); City of Pontiac General Emps.’ Ret. Sys. v. Lockheed Martin
Corp. ($19.5 million recovery); and Plumbers and Pipefitters Local Union No. 630 Pension-Annuity Tr. Fund v.
Arbitron Inc. ($7 million recovery). Capeci is currently prosecuting numerous cases in federal and state
courts alleging violations of the Securities Exchange Act of 1934 and the Securities Act of 1933. Recently,
Michael led the litigation team that achieved the first settlement of a 1933 Act claim in New York state
court, In re EverQuote, Inc. Sec. Litig. ($4.75 million recovery), following the U.S. Supreme Court’s
landmark decision in Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund in 2018.


Education
B.S., Villanova University, 2007; J.D., Hofstra University School of Law, 2010

Honors / Awards
Rising Star, Super Lawyers Magazine, 2014-2020; J.D., Cum Laude, Hofstra University School of Law, 2010




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Brian E. Cochran | Partner
Brian Cochran is a partner in the Firm’s San Diego and Chicago offices. He focuses his practice on
complex securities, shareholder, consumer protection, and ERISA litigation. Cochran is also a member of
Robbins Geller’s SPAC Task Force. Cochran specializes in case investigation and initiation and lead
plaintiff issues arising under the Private Securities Litigation Reform Act of 1995. He has developed
dozens of cases under the federal securities laws and recovered hundreds of millions of dollars for injured
investors and consumers. Several of Cochran’s cases have pioneered new ground, such as cases on behalf
of cryptocurrency investors, and sparked follow-on governmental investigations into corporate
malfeasance. Cochran has spearheaded litigation on behalf of injured investors in blank check companies,
developing one of the first securities class actions arising from the latest wave of blank check
financing, Alta Mesa Resources. On March 31, 2021, the United States District Court for the Southern
District of Texas denied defendants’ motions to dismiss in their entirety.

Brian was a member of the litigation team that achieved a $1.21 billion settlement in the Valeant
Pharmaceuticals securities litigation. Brian also developed the Dynamic Ledger securities litigation, one of
the first cases to challenge a cryptocurrency issuer’s failure to register under the federal securities laws,
which settled for $25 million. In addition, Brian was part of the team that secured a historic $25 million
settlement on behalf of Trump University students, which Brian prosecuted on a pro bono basis. Other
notable recoveries include: Scotts Miracle-Gro (up to $85 million); Psychiatric Solutions ($65 million); SQM
Chemical & Mining Co. of Chile ($62.5 million); Big Lots ($38 million); REV Group ($14.25 million, subject to
court approval); Fifth Street Finance ($14 million); Third Avenue Management ($14 million); LJM ($12.85
million); Camping World ($12.5 million); FTS International ($9.875 million); and JPMorgan ERISA ($9
million).


Education
A.B., Princeton University, 2006; J.D., University of California at Berkeley School of Law, Boalt Hall,
2012

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2021; Next Generation Partner, The Legal 500, 2020-2021;
Rising Star, Super Lawyers Magazine, 2020-2021; Rising Star, The Legal 500, 2019; A.B., With
Honors, Princeton University, 2006; J.D., Order of the Coif, University of California at Berkeley School of
Law, Boalt Hall, 2012




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Joseph D. Daley | Partner
Joseph Daley is a partner in the Firm’s San Diego office, serves on the Firm’s Securities Hiring
Committee, and is a member of the Firm’s Appellate Practice Group. Precedents include: City of
Birmingham Ret. & Relief Sys. v. Davis, __ F. App’x __, 2020 WL 1189621 (2d Cir. 2020); City of Providence
v. Bats Glob. Mkts., Inc., 878 F.3d 36 (2d Cir. 2017); DeJulius v. New Eng. Health Care Emps. Pension Fund,
429 F.3d 935 (10th Cir. 2005); Frank v. Dana Corp. (“Dana I”), 547 F.3d 564 (6th Cir. 2008); Frank v. Dana
Corp. (“Dana II”), 646 F.3d 954 (6th Cir. 2011); Freidus v. Barclays Bank Plc, 734 F.3d 132 (2d Cir. 2013); In
re HealthSouth Corp. Sec. Litig., 334 F. App’x 248 (11th Cir. 2009); In re Merck & Co. Sec., Derivative &
ERISA Litig., 493 F.3d 393 (3d Cir. 2007); In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130 (9th Cir.
2017); In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006); Luther v. Countrywide Home Loans Servicing
LP, 533 F.3d 1031 (9th Cir. 2008); NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d
145 (2d Cir. 2012); Rosenbloom v. Pyott (“Allergan”), 765 F.3d 1137 (9th Cir. 2014); Silverman v. Motorola
Solutions, Inc., 739 F.3d 956 (7th Cir. 2013); Siracusano v. Matrixx Initiatives, Inc., 585 F.3d 1167 (9th Cir.
2009), aff’d, 563 U.S. 27 (2011); and Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d 353 (5th
Cir. 2004). Daley is admitted to practice before the U.S. Supreme Court, as well as before 12 U.S. Courts
of Appeals around the nation.


Education
B.S., Jacksonville University, 1981; J.D., University of San Diego School of Law, 1996

Honors / Awards
Seven-time Super Lawyer, Super Lawyers Magazine; Appellate Moot Court Board, Order of the Barristers,
University of San Diego School of Law; Best Advocate Award (Traynore Constitutional Law Moot Court
Competition), First Place and Best Briefs (Alumni Torts Moot Court Competition and USD Jessup
International Law Moot Court Competition)




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Patrick W. Daniels | Partner
Patrick Daniels is a founding and managing partner in the Firm’s San Diego office. He is widely
recognized as a leading corporate governance and investor advocate. Daily Journal, the leading legal
publisher in California, named him one of the 20 most influential lawyers in California under 40 years of
age. Additionally, the Yale School of Management’s Millstein Center for Corporate Governance and
Performance awarded Daniels its “Rising Star of Corporate Governance” honor for his outstanding
leadership in shareholder advocacy and activism.

Daniels is an advisor to political and financial leaders throughout the world. He counsels private and
state government pension funds and fund managers in the United States, United Arab Emirates, United
Kingdom, the Netherlands, and other countries within the European Union on issues related to corporate
fraud in the United States securities markets and “best practices” in the corporate governance of publicly
traded companies. Daniels has represented dozens of institutional investors in some of the largest and
most       significant    shareholder        actions,  including    Enron,      WorldCom,    AOL       Time
Warner, BP, Pfizer, Countrywide, Petrobras, and Volkswagen, to name just a few. In the wake of the financial
crisis, he represented dozens of investors in structured investment products in ground-breaking actions
against the ratings agencies and Wall Street banks that packaged and sold supposedly highly rated shoddy
securities to institutional investors all around the world.


Education
B.A., University of California, Berkeley, 1993; J.D., University of San Diego School of Law, 1997

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Rising Star of Corporate Governance, Yale
School of Management’s Milstein Center for Corporate Governance & Performance, 2008; One of the 20
Most Influential Lawyers in the State of California Under 40 Years of Age, Daily Journal; B.A., Cum Laude,
University of California, Berkeley, 1993



Stuart A. Davidson | Partner
Stuart Davidson is a partner in the Firm’s Boca Raton office. His practice focuses on complex consumer
class actions, including cases involving deceptive and unfair trade practices, privacy and data breach
issues, and antitrust violations. Davidson has served as class counsel in some of the nation’s most
significant privacy cases, including: In re Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747 (N.D.
Cal.) ($650 million recovery in a cutting-edge class action concerning Facebook’s alleged privacy violations
through its collection of user’s biometric identifiers without informed consent); In re Yahoo! Inc. Customer
Data Sec. Breach Litig., No. 5:16-md-02752 (N.D. Cal.) ($117.5 million recovery in the largest data breach
in history); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., No. 3:11-md-02258 (S.D. Cal.)
(settlement valued at $15 million concerning the massive data breach of Sony’s PlayStation Network);
and Kehoe v. Fid. Fed. Bank & Tr., No. 9:03-cv-80593 (S.D. Fla.) ($50 million recovery in Driver’s Privacy
Protection Act case on behalf of half-a-million Florida drivers against a national bank).

Davidson currently serves as Plaintiffs’ Co-Lead Counsel in In re Am. Med. Collection Agency, Inc. Customer
Data Sec. Breach Litig., No. 2:19-md-02904 (D.N.J.) (representing class of LabCorp customers), on
Plaintiffs’ Steering Committee in In re Intel Corp. CPU Mktg., Sales Pracs. & Prods. Liab. Litig., No.
3:18-md-02828 (D. Or.) (representing class of Intel CPU purchasers based on serious security
vulnerabilities – including those known as “Spectre” and “Meltdown” – that infect nearly all of Intel’s x86


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processors manufactured and sold since 1995), and spearheads several aspects of In re EpiPen (Epinephrine
Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., No. 2:17-md-02785 (D. Kan.) (representing certified
class for RICO and antitrust claims involving the illegal monopolization of the epinephrine auto-injector
market, which allowed the prices of the life-saving EpiPen to rise over 600% in 9 years).

Davidson also served as Plaintiffs’ Co-Lead Counsel in In re NHL Players’ Concussion Injury Litig., No.
0:14-md-02551 (D. Minn.) (representing retired National Hockey League players in multidistrict litigation
suit against the NHL regarding injuries suffered due to repetitive head trauma and concussions), and
in In re Pet Food Prods. Liab. Litig., No. 1:07-cv-02867 (D.N.J.) ($24 million recovery in multidistrict
consumer class action on behalf of thousands of aggrieved pet owners nationwide against some of the
nation’s largest pet food manufacturers, distributors, and retailers). He also served as Plaintiffs’ Co-Lead
Counsel in In re UnitedGlobalCom, Inc. S’holder Litig., C.A. No. 1012-VCS (Del. Ch.) ($25 million recovery
weeks before trial); In re Winn-Dixie Stores, Inc. S’holder Litig., No. 16-2011-CA-010616 (Fla. Cir. Ct.) ($11.5
million recovery for former Winn-Dixie shareholders following the corporate buyout by BI-LO); and In re
AuthenTec, Inc. S’holder Litig., No. 5-2012-CA-57589 (Fla. Cir. Ct.) ($10 million recovery for former
AuthenTec shareholders following a merger with Apple). The latter two cases are the two largest merger
and acquisition recoveries in Florida history.

Davidson is a former lead assistant public defender in the Felony Division of the Broward County, Florida
Public Defender’s Office. During his tenure at the Public Defender’s Office, he tried over 30 jury trials
and defended individuals charged with major crimes ranging from third-degree felonies to life and capital
felonies.


Education
B.A., State University of New York at Geneseo, 1993; J.D., Nova Southeastern University Shepard
Broad College of Law, 1996

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2021; Super Lawyer, Super Lawyers Magazine,
2021; One of “Florida’s Most Effective Lawyers” in the Privacy category, American Law Media, 2020; J.D.,
Summa Cum Laude, Nova Southeastern University Shepard Broad College of Law, 1996; Associate
Editor, Nova Law Review, Book Awards in Trial Advocacy, International Law, and Criminal Pretrial
Practice




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Jason C. Davis | Partner
Jason Davis is a partner in the Firm’s San Francisco office where he practices securities class actions and
complex litigation involving equities, fixed-income, synthetic, and structured securities issued in public
and private transactions. Davis was on the trial team in Jaffe v. Household Int’l, Inc., a securities class action
that obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week
jury trial in 2009 that resulted in a verdict for plaintiffs. Most recently, he was part of the litigation team
in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million settlement that represents approximately
24% to 50% of the best estimate of classwide damages suffered by investors.

Before joining the Firm, Davis focused on cross-border transactions, mergers and acquisitions at Cravath,
Swaine and Moore LLP in New York.


Education
B.A., Syracuse University, 1998; J.D., University of California at Berkeley, Boalt Hall School of Law, 2002

Honors / Awards
B.A., Summa Cum Laude, Syracuse University, 1998; International Relations Scholar of the year, Syracuse
University; Teaching fellow, examination awards, Moot court award, University of California at Berkeley,
Boalt Hall School of Law




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Mark J. Dearman | Partner
Mark Dearman is a partner in the Firm’s Boca Raton office, where his practice focuses on consumer
fraud, securities fraud, mass torts, antitrust, and whistleblower litigation. Dearman, along with other
Robbins Geller attorneys, is currently leading the effort on behalf of cities and counties around the
country in In re National Prescription Opiate Litig. He was recently appointed to the Plaintiffs’ Steering
Committee in In re Zantac (Ranitidine) Prods. Liab. Litig., and as Chair of the Plaintiffs’ Executive
Committee in In re Apple Inc. Device Performance Litig., Dearman obtained a $310 million settlement. His
other recent representative cases include In re FieldTurf Artificial Turf Mktg. Pracs. Litig., No.
3:17-md-02779 (D.N.J.); In re NHL Players’ Concussion Injury Litig., 2015 U.S. Dist. LEXIS 38755 (D. Minn.
2015); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942 (S.D. Cal. 2012);
In re Volkswagen “Clean Diesel” Mktg. Sales Pracs. & Prods. Liab. Litig., 2016 U.S. Dist. LEXIS 1357 (N.D.
Cal. 2016); In re Ford Fusion & C-Max Fuel Econ. Litig., 2015 U.S. Dist. LEXIS 155383 (S.D.N.Y. 2015);
Looper v. FCA US LLC, No. 5:14-cv-00700 (C.D. Cal.); In re Aluminum Warehousing Antitrust Litig., 95 F.
Supp. 3d 419 (S.D.N.Y. 2015), aff’d, 833 F.3d 151 (2d Cir. 2016); In re Liquid Aluminum Sulfate Antitrust
Litig., No. 16-md-2687 (D.N.J.); In re Winn-Dixie Stores, Inc. S’holder Litig., No. 16-2011-CA-010616 (Fla.
4th Jud. Cir. Ct., Duval Cnty.); Gemelas v. Dannon Co. Inc., No. 1:08-cv-00236 (N.D. Ohio); and In re
AuthenTec, Inc. S’holder Litig., No. 05-2012-CA-57589 (Fla. 18th Jud. Cir. Ct., Brevard Cnty.). Prior to
joining the Firm, he founded Dearman & Gerson, where he defended Fortune 500 companies, with an
emphasis on complex commercial litigation, consumer claims, and mass torts (products liability and
personal injury), and has obtained extensive jury trial experience throughout the United States. Having
represented defendants for so many years before joining the Firm, Dearman has a unique perspective
that enables him to represent clients effectively.


Education
B.A., University of Florida, 1990; J.D., Nova Southeastern University, 1993

Honors / Awards
AV rated by Martindale-Hubbell; Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2021; Super
Lawyer, Super Lawyers Magazine, 2014-2020; In top 1.5% of Florida Civil Trial Lawyers in Florida Trend’s
Florida Legal Elite, 2004, 2006




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Kathleen B. Douglas | Partner
Kathleen Douglas is a partner in the Firm’s Boca Raton office. She focuses her practice on securities
fraud class actions and consumer fraud. Most recently, Douglas and a team of Robbins Geller attorneys
obtained a $1.21 billion settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair
reported as “the corporate scandal of its era” that had raised “fundamental questions about the functioning
of our health-care system, the nature of modern markets, and the slippery slope of ethical
rationalizations.” This is the largest securities class action settlement against a pharmaceutical
manufacturer and the ninth largest ever.

Douglas was also a key member of the litigation team in In re UnitedHealth Grp. Inc. PSLRA Litig., in which
she and team of Robbins Geller attorneys achieved a substantial $925 million recovery. In addition to the
monetary recovery, UnitedHealth also made critical changes to a number of its corporate governance
policies, including electing a shareholder-nominated member to the company’s Board of Directors.
Likewise, in Nieman v. Duke Energy Corp., she and a team of attorneys obtained a $146.25 million recovery,
which is the largest recovery in North Carolina for a case involving securities fraud and is one of the five
largest recoveries in the Fourth Circuit. In addition, Douglas was a member of the team of attorneys
that represented investors in Knurr v. Orbital ATK, Inc., which recovered $108 million for shareholders
and is believed to be the fourth-largest securities class action settlement in the history of the Eastern
District of Virginia. Douglas has served as class counsel in several class actions brought on behalf of
Florida emergency room physicians. These cases were against some of the nation’s largest Health
Maintenance Organizations and settled for substantial increases in reimbursement rates and millions of
dollars in past damages for the class.


Education
B.S., Georgetown University, 2004; J.D., University of Miami School of Law, 2007

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2021; Rising Star, Super Lawyers Magazine, 2012-2017; B.S., C
um Laude, Georgetown University, 2004




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Travis E. Downs III | Partner
Travis Downs is a partner in the Firm’s San Diego office. His areas of expertise include prosecution of
shareholder and securities litigation, including complex shareholder derivative actions. Downs led a team
of lawyers who successfully prosecuted over 65 stock option backdating derivative actions in federal and
state courts across the country, resulting in hundreds of millions in financial givebacks for the plaintiffs
and extensive corporate governance enhancements, including annual directors elections, majority voting
for directors, and shareholder nomination of directors. Notable cases include: In re Community Health Sys.,
Inc. S’holder Derivative Litig. ($60 million in financial relief and unprecedented corporate governance
reforms); In re Marvell Tech. Grp. Ltd. Derivative Litig. ($54 million in financial relief and extensive
corporate governance enhancements); In re McAfee, Inc. Derivative Litig. ($30 million in financial relief and
extensive corporate governance enhancements); In re Affiliated Computer Servs. Derivative Litig. ($30 million
in financial relief and extensive corporate governance enhancements); In re KB Home S’holder Derivative
Litig. ($30 million in financial relief and extensive corporate governance enhancements); In re Juniper
Networks Derivative Litig. ($22.7 million in financial relief and extensive corporate governance
enhancements); In re Nvidia Corp. Derivative Litig. ($15 million in financial relief and extensive corporate
governance enhancements); and City of Pontiac Gen. Emps.’ Ret. Sys. v. Langone (achieving landmark
corporate governance reforms for investors).

Downs was also part of the litigation team that obtained a $67 million settlement in City of Westland Police
& Fire Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
processing of home foreclosure documents by engaging in widespread robo-signing, and a $250 million
settlement in In re Google, Inc. Derivative Litig., an action alleging that Google facilitated in the improper
advertising of prescription drugs. Downs is a frequent speaker at conferences and seminars and has
lectured on a variety of topics related to shareholder derivative and class action litigation.


Education
B.A., Whitworth University, 1985; J.D., University of Washington School of Law, 1990

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Best Lawyer in America, Best Lawyers®,
2018-2022; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Top Lawyer in San Diego, San
Diego Magazine, 2013-2021; Southern California Best Lawyer, Best Lawyers®, 2018-2021; Board of
Trustees, Whitworth University; Super Lawyer, Super Lawyers Magazine, 2008; B.A., Honors, Whitworth
University, 1985



Daniel S. Drosman | Partner
Dan Drosman is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He focuses his practice on securities fraud and other complex civil litigation and has obtained
significant recoveries for investors in cases such as Morgan Stanley, Cisco Systems, The Coca-Cola
Company, Petco, PMI, and America West. Drosman served as lead trial counsel in Jaffe v. Household
International in the Northern District of Illinois, a securities class action that obtained a record-breaking
$1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in
a verdict for plaintiffs. Drosman also helped secure a $388 million recovery for investors in J.P. Morgan
residential mortgage-backed securities in Fort Worth Employees’ Retirement Fund v. J.P. Morgan Chase &
Co. On a percentage basis, that settlement is the largest recovery ever achieved in an RMBS class action.
Drosman also served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350 million settlement


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on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

Most recently, Drosman was part of the Robbins Geller litigation team in Monroe County Employees’
Retirement System v. The Southern Company in which an $87.5 settlement was reached after three years of
litigation. The settlement resolved claims for violations of the Securities Exchange Act of 1934 stemming
from defendants’ issuance of materially misleading statements and omissions regarding the status of
construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant. In another recent case, Drosman and the
Robbins Geller litigation team obtained a $62.5 million settlement in Villella v. Chemical and Mining
Company of Chile Inc., which alleged that Sociedad Química y Minera de Chile S.A. (“SQM”) violated the
Securities Exchange Act of 1934 by issuing materially false and misleading statements regarding the
Company’s failure to disclose that money from SQM was channeled illegally to electoral campaigns for
Chilean politicians and political parties as far back as 2009. SQM had also filed millions of dollars’ worth
of fictitious tax receipts with Chilean authorities in order to conceal bribery payments from at least 2009
through fiscal 2014.

In a pair of cases – Abu Dhabi Commercial Bank, et al. v. Morgan Stanley & Co. Inc. (“Cheyne” litigation)
and King County, Washington, et al. v. IKB Deutsche Industriebank AG (“Rhinebridge” litigation) – Drosman led a
group of attorneys prosecuting fraud claims against the credit rating agencies, where he is distinguished
as one of the few plaintiffs’ counsel to defeat the rating agencies’ traditional First Amendment defense and
their motions for summary judgment based on the mischaracterization of credit ratings as mere opinions
not actionable in fraud.

Prior to joining the Firm, Drosman served as an Assistant District Attorney for the Manhattan District
Attorney’s Office, and an Assistant United States Attorney in the Southern District of California, where he
investigated and prosecuted violations of the federal narcotics, immigration, and official corruption law.


Education
B.A., Reed College, 1990; J.D., Harvard Law School, 1993

Honors / Awards
Lawyer of the Year, Best Lawyers®, 2022; Best Lawyer in America, Best Lawyers®, 2019-2022; Leading
Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Southern California Best Lawyers, The Wall Street
Journal, 2021; Leading Lawyer in America, Lawdragon, 2018-2021; Southern California Best Lawyer, Best
Lawyers®, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2017-2020; Recommended Lawyer, The
Legal 500, 2017-2018; Top 100 Lawyer, Daily Journal, 2017; Department of Justice Special Achievement
Award, Sustained Superior Performance of Duty; B.A., Honors, Reed College, 1990; Phi Beta Kappa, Reed
College, 1990




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Thomas E. Egler | Partner
Tom Egler is a partner in the Firm’s San Diego office and focuses his practice on representing clients in
major complex, multidistrict litigations, such as Lehman Brothers, Countrywide Mortgage Backed
Securities, WorldCom, AOL Time Warner, and Qwest. He has represented institutional investors both as
plaintiffs in individual actions and as lead plaintiffs in class actions.

Egler also serves as a Lawyer Representative to the Ninth Circuit Judicial Conference from the Southern
District of California, and in the past has served on the Executive Board of the San Diego chapter of the
Association of Business Trial Lawyers. Prior to joining the Firm, Egler was a law clerk to the Honorable
Donald E. Ziegler, Chief Judge, United States District Court, Western District of Pennsylvania.


Education
B.A., Northwestern University, 1989; J.D., The Catholic University of America, Columbus School of Law,
1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2017-2018; Associate Editor, Catholic University Law Review




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Alan I. Ellman | Partner
Alan Ellman is a partner in the Firm’s Melville office, where he concentrates his practice on prosecuting
complex securities fraud cases on behalf of institutional investors. Most recently, Ellman was on the team
of Robbins Geller attorneys who obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings,
Inc., which represents a high percentage of damages that plaintiffs could reasonably expect to be
recovered at trial and is more than eight times higher than the average settlement of cases with
comparable investor losses. He was also on the team of attorneys who recovered in excess of $34 million
for investors in In re OSG Sec. Litig., which represented an outsized recovery of 93% of bond purchasers’
damages and 28% of stock purchasers’ damages. The creatively structured settlement included more than
$15 million paid by a bankrupt entity.

Ellman was also on the team of Robbins Geller attorneys who achieved final approval in Curran v. Freshpet,
Inc., which provides for the payment of $10.1 million for the benefit of eligible settlement class members.
Additionally, he was on the team of attorneys who obtained final approval of a $7.5 million recovery
in Plymouth County Retirement Association v. Advisory Board Company. In 2006, Ellman received a Volunteer
and Leadership Award from Housing Conservation Coordinators (HCC) for his pro bono service
defending a client in Housing Court against a non-payment action, arguing an appeal before the
Appellate Term, and staffing HCC’s legal clinic. He also successfully appealed a pro bono client’s criminal
sentence before the Appellate Division.


Education
B.S., B.A., State University of New York at Binghamton, 1999; J.D., Georgetown University Law Center,
2003

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2017-2020; Rising Star, Super Lawyers Magazine, 2014-2015; B.S.,
B.A., Cum Laude, State University of New York at Binghamton, 1999



Jason A. Forge | Partner
Jason Forge is a partner in the Firm’s San Diego office. He specializes in complex investigations,
litigation, and trials. As a federal prosecutor and private practitioner, Forge has conducted and
supervised scores of jury and bench trials in federal and state courts, including the month-long trial of a
defense contractor who conspired with Congressman Randy “Duke” Cunningham in the largest bribery
scheme in congressional history. He recently obtained approval of a $160 million recovery in the first
successful securities fraud case against Wal-Mart Stores, Inc. in City of Pontiac General Employees’ Retirement
System v. Wal-Mart Stores, Inc. In addition, Forge was a member of the Firm’s trial team in Hsu v. Puma
Biotechnology, Inc., a securities fraud class action that resulted in a verdict in favor of investors after a two-
week jury trial.

After the trial victory over Puma Biotechnology and Alan Auerbach, Forge joined a Robbins Geller
litigation team that had defeated 12 motions for summary judgment against 40 defendants and was about
to depose 17 experts in the home stretch to trial. Forge and the team used these depositions to disprove a
truth-on-the-market argument that nine defense experts had embraced. Soon after the last of these
expert depositions, the Robbins Geller team secured a $1.025 billion settlement from American Realty
Capital Properties and other defendants that included a record $237 million contribution from individual
defendants and represented more than twice the recovery rate obtained by several funds that had had


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opted out of the class.

Forge was a key member of the litigation team that secured a historic recovery on behalf of Trump
University students in two class actions against President Donald J. Trump. The settlement refunds over
90% of the money thousands of students paid to “enroll” in Trump University. He represented the class
on a pro bono basis. Forge has also successfully defeated motions to dismiss and obtained class
certification against several prominent defendants, including the first federal RICO case against Scotts
Miracle-Gro, which recently settled for up to $85 million. He was a member of the litigation team that
obtained a $125 million settlement in In re LendingClub Securities Litigation, a settlement that ranks among
the top ten largest securities recoveries ever in the Northern District of California.

In a case against another prominent defendant, Pfizer Inc., Forge led an investigation that uncovered key
documents that Pfizer had not produced in discovery. Although fact discovery in the case had already
closed, the district judge ruled that the documents had been improperly withheld and ordered that
discovery be reopened, including reopening the depositions of Pfizer’s former CEO, CFO, and General
Counsel. Less than six months after completing these depositions, Pfizer settled the case for $400
million.


Education
B.B.A., The University of Michigan Ross School of Business, 1990; J.D., The University of Michigan Law
School, 1993

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2019-2022; Leading Plaintiff Financial Lawyer, Lawdragon,
2019-2021; Southern California Best Lawyer, Best Lawyers®, 2019-2021; Local Litigation Star, Benchmark
Litigation, 2020; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Top 100 Lawyer, Daily
Journal, 2017; Litigator of the Year, Our City San Diego, 2017; Two-time recipient of one of Department of
Justice’s highest awards: Director’s Award for Superior Performance by Litigation Team; numerous
commendations from Federal Bureau of Investigation (including commendation from FBI Director
Robert Mueller III), Internal Revenue Service, and Defense Criminal Investigative Service; J.D., Magna
Cum Laude, Order of the Coif, The University of Michigan Law School, 1993; B.B.A., High Distinction,
The University of Michigan Ross School of Business, 1990




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Paul J. Geller | Partner
Paul Geller, managing partner of the Firm’s Boca Raton, Florida office, is a founding partner of the Firm,
a member of its Executive and Management Committees, and head of the Firm’s Consumer Practice
Group. Geller’s 27 years of litigation experience is broad, and he has handled cases in each of the Firm’s
practice areas. Notably, before devoting his practice to the representation of consumers and investors, he
defended companies in high-stakes class action litigation, providing him an invaluable perspective. Geller
has tried bench and jury trials on both the plaintiffs’ and defendants’ sides, and has argued before
numerous state, federal, and appellate courts throughout the country.

Geller was recently selected to serve in a leadership position on behalf of governmental entities and other
plaintiffs in the sprawling litigation concerning the nationwide prescription opioid epidemic. In
reporting on the selection of the lawyers to lead the case, The National Law Journal reported that Geller
and “[t]he team reads like a ‘Who’s Who’ in mass torts.” Geller was also part of the leadership team
representing consumers in the massive Volkswagen “Clean Diesel” Emissions case. The San Francisco legal
newspaper The Recorder labeled Geller and the group that was appointed in that case, which settled for
more than $17 billion, a “class action dream team.”

Geller is also currently serving as Co-Lead Counsel in In re EpiPen (Epinephrine Injection, USP) Mktg., Sales
Pracs. & Antitrust Litig., a nationwide class action that alleges that pharmaceutical company Mylan N.V.
and others engaged in anticompetitive and unfair business conduct in its sale and marketing of the
EpiPen Auto-Injector device.

Some of Geller's other recent noteworthy successes include a $650 million recovery in a cutting-edge class
action in In re Facebook Biometric Info. Privacy Litig., concerning Facebook’s alleged privacy violations
through its collection of users’ biometric identifiers without informed consent; and a $265 million
recovery in a securities class action against Massey Energy in In re Massey Energy Co. Sec. Litig., after
Massey Energy was found accountable for a tragic explosion at the Upper Big Branch mine in Raleigh
County, West Virginia. He also secured a $146.25 million recovery against Duke Energy in Nieman v. Duke
Energy Corp., the largest recovery in North Carolina for a case involving securities fraud, and one of the
?ve largest recoveries in the Fourth Circuit.


Education
B.S., University of Florida, 1990; J.D., Emory University School of Law, 1993

Honors / Awards
Rated AV by Martindale-Hubbell; Fellow, Litigation Counsel of America (LCA) Proven Trial
Lawyers; Best Lawyer in America, Best Lawyers®, 2017-2022; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2007-2021; Leading Lawyer,
Chambers USA, 2021; Leading Lawyer in America, Lawdragon, 2006-2007, 2009-2021; Florida Best Lawyer
in America, Best Lawyers®, 2017-2021; One of “Florida’s Most Effective Lawyers” in the Privacy category,
American Law Media, 2020; Legend, Lawdragon, 2020; Recommended Lawyer, The Legal 500, 2016, 2019;
Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Lawyer of the Year, Best Lawyers®, 2018;
Attorney of the Month, Attorney At Law, 2017; Featured in “Lawyer Limelight”
series, Lawdragon, 2017; Top Rated Lawyer, South Florida’s Legal Leaders, Miami Herald, 2015; Litigation
Star, Benchmark Litigation, 2013; “Legal Elite,” Florida Trend Magazine; One of “Florida’s Most Effective
Lawyers,” American Law Media; One of Florida’s top lawyers in South Florida Business Journal; One of the
Nation’s Top “40 Under 40,” The National Law Journal; One of Florida’s Top Lawyers, Law & Politics;
Editor, Emory Law Journal; Order of the Coif, Emory University School of Law


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John H. George | Partner
John George is a partner in the Firm’s San Francisco office, where his practice focuses on complex
securities class actions. George served as lead counsel in In re Facebook Biometric Info. Privacy Litig., a
cutting-edge class action concerning Facebook’s alleged privacy violations through its collection of users’
biometric identifiers without informed consent that resulted in a $650 million settlement.

George and a team of Robbins Geller attorneys recently obtained a $62.5 million settlement in Villella v.
Chemical and Mining Company of Chile Inc., a securities class action against a Chilean mining company. The
case alleged that Sociedad Química y Minera de Chile S.A. (“SQM”) violated the Securities Exchange Act of
1934 by issuing materially false and misleading statements regarding the Company’s failure to disclose
that money from SQM was channeled illegally to electoral campaigns for Chilean politicians and political
parties as far back as 2009. SQM had also filed millions of dollars’ worth of fictitious tax receipts with
Chilean authorities in order to conceal bribery payments from at least 2009 through fiscal 2014. Due to
the company being based out of Chile and subject to Chilean law and rules, George and the Robbins
Geller litigation team put together a multilingual litigation team with Chilean expertise.

Prior to joining the Firm, George served as a law clerk to the Honorable Marilyn L. Huff of the United
States District Court for the Southern District of California. He earned his Bachelor of Arts degree in
psychology from the University of San Francisco. George earned his Juris Doctor degree, summa cum
laude, from the University of San Diego School of Law. He was Valedictorian of his law school class and
received 12 awards for having the highest grade in individual classes. During law school, George served
as a judicial extern to Judge Huff and the Honorable M. Margaret McKeown of the Ninth Circuit Court
of Appeals.


Education
B.A., University of San Francisco, 2008; J.D., University of San Diego School of Law, 2013

Honors / Awards
Valedictorian, University of San Diego School of Law, 2013; J.D., Summa Cum Laude, University of San
Diego School of Law, 2013




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Robert D. Gerson | Partner
Robert Gerson is a partner in the Firm’s Melville office, where he practices securities fraud litigation and
other complex matters. Before joining Robbins Geller, Gerson was associated with a prominent plaintiffs’
class action firm, where he represented institutional investors in numerous securities fraud class actions,
as well as “opt out” litigations. Gerson is a member of the Committee on Securities Litigation of the Bar
Association of the City of New York. He is admitted to practice before the courts of the State of New
York, as well as the United States Courts of Appeals for the Second and Eighth Circuits, and the United
States District Courts for the Southern and Eastern Districts of New York.


Education
B.A., University of Maryland, 2006; J.D., New York Law School, 2009

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2020



Jonah H. Goldstein | Partner
Jonah Goldstein is a partner in the Firm’s San Diego office and is responsible for prosecuting complex
securities cases and obtaining recoveries for investors. He also represents corporate whistleblowers who
report violations of the securities laws. Goldstein has achieved significant settlements on behalf of
investors including in In re HealthSouth Sec. Litig. (over $670 million recovered against HealthSouth, UBS
and Ernst & Young), In re Cisco Sec. Litig. (approximately $100 million), and Marcus v. J.C. Penney
Company, Inc. ($97.5 million recovery). Goldstein also served on the Firm’s trial team in In re AT&T Corp.
Sec. Litig., MDL No. 1399 (D.N.J.), which settled after two weeks of trial for $100 million, and aided in the
$65 million recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the fourth-largest securities
recovery ever in the Middle District of Tennessee and one of the largest in more than a decade. Most
recently, he was part of the litigation team in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million
settlement that represents approximately 24% to 50% of the best estimate of classwide damages suffered
by investors. Before joining the Firm, Goldstein served as a law clerk for the Honorable William H.
Erickson on the Colorado Supreme Court and as an Assistant United States Attorney for the Southern
District of California, where he tried numerous cases and briefed and argued appeals before the Ninth
Circuit Court of Appeals.


Education
B.A., Duke University, 1991; J.D., University of Denver College of Law, 1995

Honors / Awards
Recommended Lawyer, The Legal 500, 2018-2019; Comments Editor, University of Denver Law Review,
University of Denver College of Law




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Benny C. Goodman III | Partner
Benny Goodman is a partner in the Firm’s San Diego office. He primarily represents plaintiffs in
shareholder actions on behalf of aggrieved corporations. Goodman has recovered hundreds of millions of
dollars in shareholder derivative actions pending in state and federal courts across the nation. Most
recently, he led a team of lawyers in litigation brought on behalf of Community Health Systems, Inc.,
resulting in a $60 million payment to the company, the largest recovery in a shareholder derivative action
in Tennessee and the Sixth Circuit, as well as best-in-class value-enhancing corporate governance reforms
that included two shareholder-nominated directors to the Community Health Board of Directors.

Similarly, Goodman recovered a $25 million payment to Lumber Liquidators and numerous corporate
governance reforms, including a shareholder-nominated director, in In re Lumber Liquidators Holdings, Inc.
S’holder Derivative Litig. In In re Google Inc. S’holder Derivative Litig., Goodman achieved groundbreaking
corporate governance reforms designed to mitigate regulatory and legal compliance risk associated with
online pharmaceutical advertising, including among other things, the creation of a $250 million fund to
help combat rogue pharmacies from improperly selling drugs online.


Education
B.S., Arizona State University, 1994; J.D., University of San Diego School of Law, 2000

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine,
2018-2021; Recommended Lawyer, The Legal 500, 2017




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Elise J. Grace | Partner
Elise Grace is a partner in the San Diego office and counsels the Firm’s institutional clients on options to
secure premium recoveries in securities litigation both within the United States and internationally.
Grace is a frequent lecturer and author on securities and accounting fraud, and develops annual MCLE
and CPE accredited educational programs designed to train public fund representatives on practices to
protect and maximize portfolio assets, create long-term portfolio value, and best fulfill fiduciary duties.
Grace has routinely been named a Recommended Lawyer by The Legal 500 and named a Leading Plaintiff
Financial Lawyer by Lawdragon. Grace has prosecuted various significant securities fraud class actions, as
well as the AOL Time Warner state and federal securities opt-out litigations, which resulted in a combined
settlement of over $629 million for defrauded investors. Before joining the Firm, Grace practiced at
Clifford Chance, where she defended numerous Fortune 500 companies in securities class actions and
complex business litigation.


Education
B.A., University of California, Los Angeles, 1993; J.D., Pepperdine School of Law, 1999

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Recommended Lawyer, The Legal 500,
2016-2017; J.D., Magna Cum Laude, Pepperdine School of Law, 1999; American Jurisprudence Bancroft-
Whitney Award – Civil Procedure, Evidence, and Dalsimer Moot Court Oral Argument; Dean’s Academic
Scholarship Recipient, Pepperdine School of Law; B.A., Summa Cum Laude, University of California, Los
Angeles, 1993; B.A., Phi Beta Kappa, University of California, Los Angeles, 1993




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Tor Gronborg | Partner
Tor Gronborg is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He often lectures on topics such as the Federal Rules of Civil Procedure and electronic
discovery. Gronborg has served as lead or co-lead counsel in numerous securities fraud cases that have
collectively recovered nearly $2 billion for investors. Most recently, Gronborg and a team of Robbins
Geller attorneys obtained a $1.21 billion settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig., a case that
Vanity Fair reported as “the corporate scandal of its era” that had raised “fundamental questions about the
functioning of our health-care system, the nature of modern markets, and the slippery slope of ethical
rationalizations.” This is the largest securities class action settlement against a pharmaceutical
manufacturer and the ninth largest ever.

In addition to Valeant, Gronborg’s work has included significant recoveries against corporations such as
Cardinal Health ($600 million), Motorola ($200 million), Duke Energy ($146.25 million), Sprint Nextel
Corp. ($131 million), Prison Realty ($104 million), CIT Group ($75 million), Wyeth ($67.5 million), and
Intercept Pharmaceuticals ($55 million), to name a few. Gronborg was also a member of the Firm’s trial
team in Hsu v. Puma Biotechnology, Inc., No. SACV15-0865 (C.D. Cal.), a securities fraud class action that
resulted in a verdict in favor of investors after a two-week jury trial. On three separate occasions,
Gronborg’s pleadings have been upheld by the federal Courts of Appeals (Broudo v. Dura Pharms., Inc.,
339 F.3d 933 (9th Cir. 2003), rev’d on other grounds, 544 U.S. 336 (2005); In re Daou Sys., 411 F.3d 1006
(9th Cir. 2005); Staehr v. Hartford Fin. Servs. Grp., 547 F.3d 406 (2d Cir. 2008)). He has also been
responsible for a number of significant rulings, including In re Sanofi-Aventis Sec. Litig., 293 F.R.D. 449
(S.D.N.Y. 2013); Silverman v. Motorola, Inc., 798 F. Supp. 2d 954 (N.D. Ill. 2011); Roth v. Aon Corp., 2008
U.S. Dist. LEXIS 18471 (N.D. Ill. 2008); In re Cardinal Health, Inc. Sec. Litigs., 426 F. Supp. 2d 688 (S.D.
Ohio 2006); and In re Dura Pharms., Inc. Sec. Litig., 452 F. Supp. 2d 1005 (S.D. Cal. 2006).


Education
B.A., University of California, Santa Barbara, 1991; Rotary International Scholar, University of Lancaster,
U.K., 1992; J.D., University of California, Berkeley, 1995

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2022; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021;
Super Lawyer, Super Lawyers Magazine, 2013-2021; Plaintiffs’ Lawyer Trailblazer, The National Law Journal,
2019; Moot Court Board Member, University of California, Berkeley; AFL-CIO history scholarship,
University of California, Santa Barbara




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Ellen Gusikoff Stewart | Partner
Ellen Stewart is a partner in the Firm’s San Diego office, and is a member of the Firm’s Summer Associate
Hiring Committee. She currently practices in the Firm’s settlement department, negotiating and
documenting complex securities, merger, ERISA, and derivative action settlements. Notable settlements
include: In re Facebook Biometric Info. Privacy Litig. (N.D. Cal. 2021) ($650 million); KBC Asset Management v.
3D Systems Corp. (D.S.C. 2018) ($50 million); Luna v. Marvell Tech. Grp. (N.D. Cal. 2018) ($72.5
million); Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc. (M.D. Tenn. 2015) ($65 million); and City of
Sterling Heights Gen. Emps.’ Ret. Sys v. Hospira, Inc. (N.D. Ill. 2014) ($60 million).

Stewart has served on the Federal Bar Association Ad Hoc Committee for the revisions to the Settlement
Guidelines for the Northern District of California and was a contributor to the Guidelines and Best
Practices – Implementing 2018 Amendments to Rule 23 Class Action Settlement Provisions manual of the
Bolch Judicial Institute at the Duke University School of Law.


Education
B.A., Muhlenberg College, 1986; J.D., Case Western Reserve University, 1989

Honors / Awards
Rated Distinguished by Martindale-Hubbell




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Robert Henssler | Partner
Bobby Henssler is a partner in the Firm’s San Diego office, where he focuses his practice on securities
fraud and other complex civil litigation. He has obtained significant recoveries for investors in cases such
as Enron, Blackstone, and CIT Group. Henssler is currently a key member of the team of attorneys
prosecuting fraud claims against Goldman Sachs stemming from Goldman’s conduct in subprime
mortgage transactions (including “Abacus”).

Most recently, Henssler and a team of Robbins Geller attorneys a $1.21 billion settlement in In re Valeant
Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the corporate scandal of its era” that had
raised “fundamental questions about the functioning of our health-care system, the nature of modern
markets, and the slippery slope of ethical rationalizations.” This is the largest securities class action
settlement against a pharmaceutical manufacturer and the ninth largest ever.

Henssler was also lead counsel in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery
for shareholders, the largest securities class action recovery ever in Tennessee. The recovery achieved
represents more than 30% of the aggregate classwide damages, far exceeding the typical recovery in a
securities class action. Henssler also led the litigation teams in Marcus v. J.C. Penney Company, Inc. ($97.5
million recovery), Landmen Partners Inc. v. The Blackstone Group L.P. ($85 million recovery), In re Novatel
Wireless Sec. Litig. ($16 million recovery), Carpenters Pension Trust Fund of St. Louis v. Barclays PLC ($14
million settlement), and Kmiec v. Powerwave Technologies, Inc. ($8.2 million settlement), to name a few.


Education
B.A., University of New Hampshire, 1997; J.D., University of San Diego School of Law, 2001

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2021; Plaintiffs’ Lawyer Trailblazer, The National Law
Journal, 2020; Recommended Lawyer, The Legal 500, 2018-2019




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Steven F. Hubachek | Partner
Steve Hubachek is a partner in the Firm’s San Diego office. He is a member of the Firm’s appellate
group, where his practice concentrates on federal appeals. He has more than 25 years of appellate
experience, has argued over 100 federal appeals, including 3 cases before the United States Supreme
Court and 7 cases before en banc panels of the Ninth Circuit Court of Appeals. Prior to his work with the
Firm, Hubachek joined Perkins Coie in Seattle, Washington, as an associate. He was admitted to the
Washington State Bar in 1987 and was admitted to the California State Bar in 1990, practicing for many
years with Federal Defenders of San Diego, Inc. He also had an active trial practice, including over 30
jury trials, and was Chief Appellate Attorney for Federal Defenders.


Education
B.A., University of California, Berkeley, 1983; J.D., Hastings College of the Law, 1987

Honors / Awards
AV rated by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2014-2021; Super
Lawyer, Super Lawyers Magazine, 2007-2009, 2019-2021; Assistant Federal Public Defender of the Year,
National Federal Public Defenders Association, 2011; Appellate Attorney of the Year, San Diego Criminal
Defense Bar Association, 2011 (co-recipient); President’s Award for Outstanding Volunteer Service, Mid
City Little League, San Diego, 2011; E. Stanley Conant Award for exceptional and unselfish devotion to
protecting the rights of the indigent accused, 2009 (joint recipient); The Daily Transcript Top Attorneys,
2007; J.D., Cum Laude, Order of the Coif, Thurston Honor Society, Hastings College of Law, 1987




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Maxwell R. Huffman | Partner
Maxwell Huffman is a partner in the Firm’s San Diego office. He focuses his practice on representing
institutional and individual investors in shareholder class and derivative actions in the context of mergers,
acquisitions, recapitalizations, and other major corporate transactions. Huffman was a member of the
litigation team for In re Dole Food Co., Inc. S’holder Litig., where he went to trial in the Delaware Court of
Chancery on claims of breach of fiduciary duty on behalf of Dole Food Co., Inc. shareholders and
obtained a $148 million recovery, which is the largest trial verdict ever in a class action challenging a
merger transaction. Most recently, Huffman successfully obtained a partial settlement of $60 million in In
re Tesla Motors, Inc. S’holder Litig., a case which alleged that the members of the Tesla Board of Directors
breached their fiduciary duties, unjustly enriched themselves, and wasted corporate assets in connection
with their approval of Tesla’s acquisition of SolarCity Corp. in 2016.

Huffman is part of Robbins Geller’s SPAC Task Force, which is dedicated to rooting out and prosecuting
fraud on behalf of injured investors in special purpose acquisition companies. The rise in “blank check”
financing poses unique risks to investors, and this group – comprised of experienced litigators,
investigators, and forensic accountants – represents the vanguard of ensuring integrity, honesty, and
justice in this rapidly developing investment arena.


Education
B.A., California State University, Sacramento, 2005; J.D., Gonzaga University School of Law, 2009

Honors / Awards
Top 40 Under 40, Daily Journal, 2020; Recommended Lawyer, The Legal 500, 2019; Winning
Litigator, The National Law Journal, 2018; Titan of the Industry, The American Lawyer, 2018




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James I. Jaconette | Partner
James Jaconette is one of the founding partners of the Firm and is located in its San Diego office. He
manages cases in the Firm’s securities class action and shareholder derivative litigation practices. He has
served as one of the lead counsel in securities cases with recoveries to individual and institutional investors
totaling over $8 billion. He also advises institutional investors, including hedge funds, pension funds, and
financial institutions. Landmark securities actions in which he contributed in a primary litigating role
include In re Informix Corp. Sec. Litig., and In re Dynegy Inc. Sec. Litig. and In re Enron Corp. Sec. Litig., where
he represented lead plaintiff The Regents of the University of California. Most recently, Jaconette was
part of the trial team in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery for
shareholders, the largest securities class action recovery ever in Tennessee. The recovery achieved
represents more than 30% of the aggregate classwide damages, far exceeding the typical recovery in a
securities class action.


Education
B.A., San Diego State University, 1989; M.B.A., San Diego State University, 1992; J.D., University of
California Hastings College of the Law, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; J.D., Cum Laude, University of California
Hastings College of the Law, 1995; Associate Articles Editor, Hastings Law Journal, University of California
Hastings College of the Law; B.A., with Honors and Distinction, San Diego State University, 1989



Rachel L. Jensen | Partner
Rachel Jensen is a partner in the Firm’s San Diego office. Jensen has developed a nearly 20-year track
record of success in helping to craft impactful business reforms and recover billions of dollars on behalf of
individuals, businesses, and government entities injured by unlawful business practices, fraudulent
schemes, and hazardous products.

Jensen was one of the lead attorneys who secured a historic recovery on behalf of Trump University
students nationwide in two class actions against President Donald J. Trump, which provided $25 million
and nearly 100% refunds to class members. Jensen represented the class on a pro bono basis. As a member
of the Plaintiffs’ Steering Committee in the Fiat Chrysler EcoDiesel litigation, Jensen helped obtain an
$840 million global settlement for concealed defeat devices in “EcoDiesel” SUVs and trucks. Jensen also
represented drivers against Volkswagen in one of the most brazen corporate frauds in recent
history, helping recover $17 billion for emission cheating in “clean” diesel vehicles. Jensen also serves as
one of the lead counsel for policyholders against certain Lloyd’s of London syndicates for collusive
practices in the insurance market. Most recently, Jensen’s representation of California passengers in a
landmark consumer and civil rights case against Greyhound for subjecting them to discriminatory
immigration raids had an immediate impact as Greyhound now provides “know your rights” information
to passengers and implemented other business reforms.

Among other recoveries, Jensen has played significant roles in In re LendingClub Sec. Litig., No.
3:16-cv-02627-WHA (N.D. Cal.) ($125 million settlement that ranks among the top ten largest securities
recoveries ever in N.D. Cal.); Negrete v. Allianz Life Ins. Co. of N. Am., No. CV056838CAS(MANx) (C.D.
Cal.) ($250 million to senior citizens targeted for exorbitant deferred annuities that would not mature in
their lifetimes); In re Ins. Brokerage Antitrust Litig., No. 04-5184(CCC) (D.N.J.) ($200 million recovered for


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policyholders who paid inflated premiums due to kickback scheme among major insurers and brokers); In
re Morning Song Bird Food Litig., No. 3:12-cv-01592-JAH-AGS (S.D. Cal.) ($85 million settlement in refunds
to bird lovers who purchased Scotts Miracle-Gro wild bird food treated with pesticides that are hazardous
to birds); City of Westland Police & Fire Ret. Sys. v. Stumpf, No. 3:11-cv-02369-SI (N.D. Cal.) ($67 million in
homeowner down-payment assistance and credit counseling for cities hardest hit by the foreclosure crisis
and computer integration for mortgage servicing segments in derivative settlement with Wells Fargo for
“robo-signing” of foreclosure affidavits); In re Mattel, Inc., Toy Lead Paint Prods. Liab. Litig., No.
2:07-ml-01897-DSF-AJW (C.D. Cal.) ($50 million in refunds and quality assurance business reforms for
toys made in China with lead and magnets); and In re Checking Account Overdraft Litig., No.
1:09-md-2036-JLK (S.D. Fla.) ($500 million in settlements with major banks for manipulating debit
transactions to maximize overdraft fees).


Education
B.A., Florida State University, 1997; University of Oxford, International Human Rights Law Program at
New College, Summer 1998; J.D., Georgetown University Law School, 2000

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2021-2022; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2016-2021; Leading Lawyer in
America, Lawdragon, 2017-2021; Best Lawyer in Southern California: One to Watch, Best Lawyers®, 2021;
Top Woman Lawyer, Daily Journal, 2017, 2020; California Trailblazer, The Recorder, 2019; Plaintiffs’
Lawyer Trailblazer, The National Law Journal, 2018; Rising Star, Super Lawyers Magazine, 2015; Nominated
for 2011 Woman of the Year, San Diego Magazine; Editor-in-Chief, First Annual Review of Gender and
Sexuality Law, Georgetown University Law School; Dean’s List 1998-1999; B.A., Cum Laude, Florida State
University’s Honors Program, 1997; Phi Beta Kappa




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Steven M. Jodlowski | Partner
Steven Jodlowski is a partner in the Firm’s San Diego office. His practice focuses on high-stakes complex
litigation, often involving antitrust, securities, and consumer claims. In recent years, he has specialized in
representing investors in a series of antitrust actions involving the manipulation of benchmark rates,
including the ISDAfix Benchmark litigation, which to date resulted in the recovery of $504.5 million on
behalf of investors, and In re SSA Bonds Antitrust Litig., which resulted in the recovery of $95.5 million on
behalf of investors. He is currently serving as interim co-lead class counsel in Thompson v. 1-800 Contacts,
Inc., where the court has granted preliminary approval of $24.9 million in settlements. Jodlowski was also
part of the trial team in an antitrust monopolization case against a multinational computer and software
company.

Jodlowski has successfully prosecuted numerous antitrust and RICO cases. These cases resulted in the
recovery of more than $1 billion for investors and policyholders. Jodlowski has also represented
institutional and individual shareholders in corporate takeover actions in state and federal court. He has
handled pre- and post-merger litigation stemming from the acquisition of publicly listed companies in the
biotechnology, oil and gas, information technology, specialty retail, electrical, banking, finance, and real
estate industries, among others.


Education
B.B.A., University of Central Oklahoma, 2002; J.D., California Western School of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2019; Outstanding Antitrust Litigation Achievement in Private
Law Practice, American Antitrust Institute, 2018; CAOC Consumer Attorney of the Year Award Finalist,
2015; J.D., Cum Laude, California Western School of Law, 2005




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Chad Johnson | Partner
Chad Johnson is a partner with nearly 30 years of experience handling complex securities cases and
breach of fiduciary duty actions. Johnson’s background includes significant time as a plaintiffs’ lawyer, a
securities-fraud prosecutor, and a defense lawyer. Johnson previously served as the head of New York’s
securities fraud unit referred to as the Investor Protection Bureau. In that role, he prosecuted cases that
resulted in billions of dollars of recoveries for New Yorkers and helped make new law in the area of
securities enforcement for the benefit of investors. Johnson’s experience in that position included
prosecuting Wall Street dark pool operators for their false statements to the investing public.

Johnson represents institutional and individual investors in securities and breach of fiduciary duty cases,
including representing investors in direct or “opt-out” actions and also in class actions. Johnson represents
some of the world’s largest and most sophisticated asset managers, public pension funds, and sovereign
wealth funds. Johnson also represents whistleblowers in false claims act or “qui tam” actions. Johnson’s
cases have resulted in some of the largest recoveries for shareholders on record.                        This
includes WorldCom (which recovered more than $6 billion for shareholders), Wachovia (which recovered
$627 million for shareholders), Williams (which recovered $311 million for shareholders), and Washington
Mutual (which recovered $208 million for shareholders). Johnson also helped recover $16.65 billion from
Bank of America and $13 billion from JP Morgan Chase on behalf of state and federal working groups
focused on toxic residential mortgage-backed securities (RMBS) devised and sold by those
banks. Johnson has tried cases in federal and state courts, in the Delaware Court of Chancery, and before
arbitration tribunals in the United States and overseas. Johnson also advises clients about how best to
enforce their rights as shareholders outside the United States.


Education
B.A., University of Michigan, 1989; J.D., Harvard Law School, 1993

Honors / Awards
J.D., Cum Laude, Harvard Law School, 1993; B.A., High Distinction, University of Michigan, 1989




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Evan J. Kaufman | Partner
Evan Kaufman is a partner in the Firm’s Melville office. He focuses his practice in the area of complex
litigation, including securities, ERISA, corporate fiduciary duty, derivative, and consumer fraud class
actions. Kaufman has served as lead counsel or played a significant role in numerous actions,
including: In re TD Banknorth S’holders Litig. ($50 million recovery); In re Gen. Elec. Co. ERISA Litig. ($40
million cost to GE, including significant improvements to GE’s employee retirement plan, and benefits to
GE plan participants valued in excess of $100 million); EnergySolutions, Inc. Sec. Litig. ($26 million
recovery); Lockheed Martin Corp. Sec. Litig. ($19.5 million recovery); In re Warner Chilcott Ltd. Sec. Litig.
($16.5 million recovery); In re Third Avenue Mgmt. Sec. Litig. ($14.25 million recovery); In re Giant
Interactive Grp., Inc. Sec. Litig. ($13 million recovery); In re Royal Grp. Tech. Sec. Litig. ($9 million recovery);
Fidelity Ultra Short Bond Fund Litig. ($7.5 million recovery); In re Audiovox Derivative Litig. ($6.75 million
recovery and corporate governance reforms); State Street Yield Plus Fund Litig. ($6.25 million recovery); In
re Merrill Lynch & Co., Inc., Internet Strategies Sec. Litig. (resolved as part of a $39 million global settlement);
and In re MONY Grp., Inc. S’holder Litig. (obtained preliminary injunction requiring disclosures in proxy
statement).


Education
B.A., University of Michigan, 1992; J.D., Fordham University School of Law, 1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2015, 2017-20120; Member, Fordham International Law
Journal, Fordham University School of Law




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David A. Knotts | Partner
David Knotts is a partner in the Firm’s San Diego office and, in addition to ongoing litigation work,
teaches a full-semester course on M&A litigation at the University of California Berkeley School of Law.
He focuses his practice on securities class action litigation in the context of mergers and acquisitions,
representing both individual shareholders and institutional investors. Knotts has been counsel of record
for shareholders on a number of significant recoveries in courts and throughout the country, including In
re Rural/Metro Corp. S’holders Litig. (nearly $110 million total recovery, affirmed by the Delaware Supreme
Court in RBC v. Jervis), In re Del Monte Foods Co. S’holders Litig. ($89.4 million), Websense ($40 million), In re
Onyx S’holders Litig. ($30 million), and Joy Global ($20 million). Websense and Onyx are both believed to be
the largest post-merger class settlements in California state court history. When Knotts recently
presented the settlement as lead counsel for the stockholders in Joy Global, the United States District Court
for the Eastern District of Wisconsin noted that “this is a pretty extraordinary settlement, recovery on
behalf of the members of the class. . . . [I]t’s always a pleasure to work with people who are experienced
and who know what they are doing.”

Before joining Robbins Geller, Knotts was an associate at one of the largest law firms in the world and
represented corporate clients in various aspects of state and federal litigation, including major antitrust
matters, trade secret disputes, and unfair competition claims.


Education
B.S., University of Pittsburgh, 2001; J.D., Cornell Law School, 2004

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2018, 2020-2021; Next Generation Partner, The Legal 500,
2019-2021; Recommended Lawyer, The Legal 500, 2017-2019; Wiley W. Manuel Award for Pro Bono
Legal Services, State Bar of California; Casa Cornelia Inns of Court; J.D., Cum Laude, Cornell Law School,
2004




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Laurie L. Largent | Partner
Laurie Largent is a partner in the Firm’s San Diego, California office. Her practice focuses on securities
class action and shareholder derivative litigation and she has helped recover millions of dollars for injured
shareholders. Largent was part of the litigation team that obtained a $265 million recovery in In re Massey
Energy Co. Sec. Litig., in which Massey was found accountable for a tragic explosion at the Upper Big
Branch mine in Raleigh County, West Virginia. She also helped obtain $67.5 million for Wyeth
shareholders in City of Livonia Emps.’ Ret. Sys. v. Wyeth, settling claims that the defendants misled investors
about the safety and commercial viability of one of the company’s leading drug candidates. Most recently,
Largent was on the team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
Pipefitters Nat’l Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully appealed
to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action. Some of
Largent’s other cases include: In re Sanofi-Aventis Sec. Litig. (S.D.N.Y.) ($40 million); In re Bridgepoint Educ.,
Inc. Sec. Litig. (S.D. Cal.) ($15.5 million); Ross v. Abercrombie & Fitch Co. (S.D. Ohio) ($12 million); Maiman
v. Talbott (C.D. Cal.) ($8.25 million); In re Cafepress Inc. S’holder Litig. (Cal. Super. Ct., San Mateo Cnty.) ($8
million); and Krystek v. Ruby Tuesday, Inc. (M.D. Tenn.) ($5 million). Largent’s current cases include
securities fraud cases against Dell, Inc. (W.D. Tex.) and Banc of California (C.D. Cal.).

Largent is a past board member on the San Diego County Bar Foundation and the San Diego Volunteer
Lawyer Program. She has also served as an Adjunct Business Law Professor at Southwestern College in
Chula Vista, California.


Education
B.B.A., University of Oklahoma, 1985; J.D., University of Tulsa, 1988

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Board Member, San Diego County Bar
Foundation, 2013-2017; Board Member, San Diego Volunteer Lawyer Program, 2014-2017




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Angel P. Lau | Partner
Angel Lau is a partner in the Firm’s San Diego office, where her practice focuses on complex securities
litigation. She is a member of the litigation team prosecuting actions against investment banks and the
leading national credit rating agencies for their role in structuring and rating structured investment
vehicles. These cases are among the first to successfully allege fraud against the rating agencies, whose
ratings have historically been protected by the First Amendment.

As part of the Firm’s litigation team, Lau helped secure a $388 million recovery for investors in J.P.
Morgan residential mortgage-backed securities in Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co.
The resulting settlement is, on a percentage basis, the largest recovery ever achieved in a class action
brought on behalf of purchasers of RMBS. She was part of the litigation team that obtained a landmark
$272 million recovery from the Second Circuit Court of Appeals in its precedent-setting NECA-IBEW
Health & Welfare Fund v. Goldman Sachs & Co. decision, which dramatically expanded the scope of
permissible class actions asserting claims under the Securities Act of 1933 on behalf of mortgage-backed
securities investors. Additionally, Lau also helped to obtain a landmark settlement, on the eve of trial,
from the major credit rating agencies and Morgan Stanley arising out of the fraudulent ratings of bonds
issued by the structured investment vehicles in Abu Dhabi Commercial Bank v. Morgan Stanley & Co.
Inc. Before joining the Firm, Lau worked at an investment bank in New York, with experience in
arbitrage trading and securitized products.


Education
B.A., Stanford University, 1994; J.D., University of San Diego School of Law, 2012

Honors / Awards
Rising Star, Super Lawyers Magazine, 2020-2021




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                                                                                 ATTORNEY BIOGRAPHIES


Arthur C. Leahy | Partner
Art Leahy is a founding partner in the Firm’s San Diego office and a member of the Firm’s Executive and
Management Committees. He has over 20 years of experience successfully litigating securities actions and
derivative cases. Leahy has recovered well over two billion dollars for the Firm’s clients and has
negotiated comprehensive pro-investor corporate governance reforms at several large public companies.
Most recently, Leahy helped secure a $272 million recovery on behalf of mortgage-backed securities
investors in NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co. In the Goldman Sachs case, he
helped achieve favorable decisions in the Second Circuit Court of Appeals on behalf of investors of
Goldman Sachs mortgage-backed securities and again in the Supreme Court, which denied Goldman
Sachs’ petition for certiorari, or review, of the Second Circuit’s reinstatement of the plaintiff’s case. He
was also part of the Firm’s trial team in the AT&T securities litigation, which AT&T and its former officers
paid $100 million to settle after two weeks of trial. Prior to joining the Firm, he served as a judicial extern
for the Honorable J. Clifford Wallace of the United States Court of Appeals for the Ninth Circuit, and
served as a judicial law clerk for the Honorable Alan C. Kay of the United States District Court for the
District of Hawaii.


Education
B.A., Point Loma Nazarene University, 1987; J.D., University of San Diego School of Law, 1990

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021;
Top Lawyer in San Diego, San Diego Magazine, 2013-2021;Super Lawyer, Super Lawyers
Magazine, 2016-2017; J.D., Cum Laude, University of San Diego School of Law, 1990; Managing Editor,
San Diego Law Review, University of San Diego School of Law




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                                                                                ATTORNEY BIOGRAPHIES


Nathan R. Lindell | Partner
Nate Lindell is a partner in the Firm’s San Diego office, where his practice focuses on representing
aggrieved investors in complex civil litigation. He has helped achieve numerous significant recoveries for
investors, including:In re Enron Corp. Sec. Litig. ($7.2 billion recovery); In re HealthSouth Corp. Sec.
Litig. ($671 million recovery); Luther v. Countrywide Fin. Corp. ($500 million recovery); Fort Worth Emps.’
Ret. Fund v. J.P. Morgan Chase & Co. ($388 million recovery); NECA-IBEW Health & Welfare Fund v.
Goldman Sachs & Co. ($272 million recovery); In re Morgan Stanley Mortg. Pass-Through Certificates Litig. ($95
million recovery); Massachusetts Bricklayers & Masons Tr. Funds v. Deutsche Alt-A Sec., Inc. ($32.5 million
recovery); City of Ann Arbor Emps.’ Ret. Sys. v. Citigroup Mortg. Loan Trust Inc. ($24.9 million
recovery); Plumbers’ Union Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp. ($21.2 million
recovery); and Genesee Cnty. Emps.’ Ret. Sys. v. Thornburg Mortg., Inc. ($11.25 million recovery). In October
2016, Lindell successfully argued in front of the New York Supreme Court, Appellate Division, First
Judicial Department, for the reversal of an earlier order granting defendants’ motion to dismiss in Phoenix
Light SF Limited v. Morgan Stanley.

Lindell was also a member of the litigation team responsible for securing a landmark victory from the
Second Circuit Court of Appeals in its precedent-setting NECA-IBEW Health & Welfare Fund v. Goldman
Sachs & Co. decision, which dramatically expanded the scope of permissible class actions asserting claims
under the Securities Act of 1933 on behalf of mortgage-backed securities investors, and ultimately
resulted in a $272 million recovery for investors.


Education
B.S., Princeton University, 2003; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2017; Charles W. Caldwell Alumni Scholarship, University of
San Diego School of Law; CALI/AmJur Award in Sports and the Law



Ryan Llorens | Partner
Ryan Llorens is a partner in the Firm’s San Diego office. Llorens’ practice focuses on litigating complex
securities fraud cases. He has worked on a number of securities cases that have resulted in significant
recoveries for investors, including: In re HealthSouth Corp. Sec. Litig. ($670 million); AOL Time Warner ($629
million); In re AT&T Corp. Sec. Litig. ($100 million); In re Fleming Cos. Sec. Litig. ($95 million); and In re
Cooper Cos., Inc. Sec Litig. ($27 million).


Education
B.A., Pitzer College, 1997; J.D., University of San Diego School of Law, 2002

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015




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                                                                              ATTORNEY BIOGRAPHIES


Andrew S. Love | Partner
Andrew Love is a partner in the Firm’s San Francisco office. His practice focuses primarily on appeals of
securities fraud class action cases. Love has briefed and argued cases on behalf of defrauded investors and
consumers in several U.S. Courts of Appeal, as well as in the California appellate courts. Prior to joining
the Firm, Love represented inmates on California’s death row in appellate and habeas corpus
proceedings, successfully arguing capital cases in both the California Supreme Court and the Ninth
Circuit. During his many years as a death penalty lawyer, he co-chaired the Capital Case Defense
Seminar (2004-2013), recognized as the largest conference for death penalty practitioners in the country.
He regularly presented at the seminar and at other conferences on a wide variety of topics geared towards
effective appellate practice. Additionally, he was on the faculty of the National Institute for Trial
Advocacy’s Post-Conviction Skills Seminar. Love has also written several articles on appellate advocacy
and capital punishment that have appeared in The Daily Journal, CACJ Forum, American Constitution Society,
and other publications.


Education
University of Vermont, 1981; J.D., University of San Francisco School of Law, 1985

Honors / Awards
J.D., Cum Laude, University of San Francisco School of Law, 1985; McAuliffe Honor Society, University of
San Francisco School of Law, 1982-1985




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                                                                                  ATTORNEY BIOGRAPHIES


Erik W. Luedeke | Partner
Erik Luedeke is a partner in the Firm’s San Diego office, where he represents individual and institutional
investors in shareholder derivative and securities litigation. As corporate fiduciaries, directors and officers
are duty-bound to act in the best interest of the corporation and its shareholders. When they fail to do so
they breach their fiduciary duty and may be held liable for harm caused to the corporation. Luedeke’s
shareholder derivative practice focuses on litigating breach of fiduciary duty and related claims on behalf
of corporations and shareholders injured by wayward corporate fiduciaries. Notable shareholder
derivative actions in which he recently participated and the recoveries he helped to achieve include In
re Community Health Sys., Inc. S'holder Derivative Litig. ($60 million in financial relief and unprecedented
corporate governance reforms), In re Lumber Liquidators Holdings, Inc. S’holder Derivative Litig. ($26 million
in financial relief plus substantial governance), and In re Google Inc. S’holder Derivative Litig. ($250 million
in financial relief to fund substantial governance).

Luedeke’s practice also includes the prosecution of complex securities class action cases on behalf of
aggrieved investors. Luedeke was a member of the litigation team in Jaffe v. Household Int’l, Inc., No.
02-C-5893 (N.D. Ill.), that resulted in a record-breaking $1.575 billion settlement after 14 years of
litigation, including a six-week jury trial ending in a plaintiffs’ verdict. He was also a member of the
litigation teams in In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.) ($925 million
recovery), and In re Questcor Pharms., Inc. Sec. Litig., No. 8:12-cv-01623 (C.D. Cal.) ($38 million recovery).


Education
B.S./B.A., University of California Santa Barbara, 2001; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2017; Student Comment Editor, San Diego International Law
Journal, University of San Diego School of Law




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                                                                              ATTORNEY BIOGRAPHIES


Christopher H. Lyons | Partner
Christopher Lyons is a partner in the Firm’s Nashville office. He focuses his practice on representing
institutional and individual investors in merger-related class action litigation and in complex securities
litigation. Lyons has been a significant part of litigation teams that have achieved substantial recoveries
for investors. Notable cases include Good Technology ($52 million recovered for investors in a privately
held technology company), The Fresh Market (Morrison v. Berry) ($27.5 million recovered), Calamos Asset
Management ($22.4 million recovered), and BancorpSouth ($13 million recovered). His pro bono work
includes representing individuals who are appealing denial of necessary medical benefits by TennCare
(Tennessee’s Medicaid program), through the Tennessee Justice Center.

Before joining Robbins Geller, Lyons practiced at a prominent Delaware law firm, where he mostly
represented officers and directors defending against breach of fiduciary duty claims in the Delaware
Court of Chancery and in the Delaware Supreme Court. Before that, he clerked for Vice Chancellor J.
Travis Laster of the Delaware Court of Chancery. Lyons now applies the expertise he gained from those
experiences to help investors uncover wrongful conduct and recover the money and other remedies to
which they are rightfully entitled.


Education
B.A., Colorado College, 2006; J.D., Vanderbilt University Law School, 2010

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2022; 40 & Under Hot List, Benchmark Litigation,
2021; Rising Star, Super Lawyers Magazine, 2018-2020; B.A., Distinction in International Political Economy,
Colorado College, 2006; J.D., Law & Business Certificate, Vanderbilt University Law School, 2010




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                                                                                   ATTORNEY BIOGRAPHIES


Noam Mandel | Partner
Noam Mandel is a partner in the Firm’s Manhattan office. Mandel has extensive experience in all aspects
of litigation on behalf of investors, including securities law claims, corporate derivative actions, fiduciary
breach class actions, and appraisal litigation. Mandel has represented investors in federal and state courts
throughout the United States and has significant experience advising investors concerning their interests
in litigation and investigating and prosecuting claims on their behalf.

Mandel has served as counsel in numerous outstanding securities litigation recoveries, including in In re
Nortel Networks Corporation Securities Litigation ($1.07 billion shareholder recovery), Ohio Public Employees
Retirement System v. Freddie Mac ($410 million shareholder recovery), and In re Satyam Computer Services, Ltd.
Securities Litigation ($150 million shareholder recovery). Mandel has also served as counsel in notable
fiduciary breach class and derivative actions, particularly before the Court of Chancery of the State of
Delaware.       These actions include the groundbreaking fiduciary duty litigation challenging the
CVS/Caremark merger (Louisiana Municipal Police Employees’ Retirement System v. Crawford), which resulted
in more than $3.3 billion in additional consideration for Caremark shareholders. Mandel currently serves
as counsel in In re Dell Technologies Inc. Class V Stockholders Litigation, which is presently before the Court of
Chancery of the State of Delaware.


Education
B.S., Georgetown University, School of Foreign Service, 1998; J.D., Boston University School of Law,
2002

Honors / Awards
J.D., Cum Laude, Boston University School of Law, 2002; Member, Boston University Law Review, Boston
University School of Law




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                                                                                ATTORNEY BIOGRAPHIES


Carmen A. Medici | Partner
Carmen Medici is a partner in the Firm’s San Diego office and focuses on complex antitrust class action
litigation and unfair competition law. He represents businesses and consumers who are the victims of
price-fixing, monopolization, collusion, and other anticompetitive and unfair business practices. Medici
specializes in litigation against giants in the financial, pharmaceutical, and commodities industries.

Medici currently serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litig., in which a settlement of $5.5 billion was approved in the Eastern District of New York.
This case was brought on behalf of millions of U.S. merchants against Visa and MasterCard and various
card-issuing banks, challenging the way these companies set and collect tens of billions of dollars annually
in merchant fees. The settlement is believed to be the largest antitrust class action settlement of all time.
He is also a part of the co-lead counsel team in In re SSA Bonds Antitrust Litig., pending in the Southern
District of New York, representing bond purchasers who were defrauded by a brazen price-fixing scheme
perpetrated by traders at some of the nation’s largest banks. Medici is also a member of the litigation
team in In re Dealer Mgmt. Sys. Antitrust Litig., a lawsuit brought on behalf of car dealerships pending in
federal court in Chicago, where one defendant has settled for nearly $30 million.


Education
B.S., Arizona State University, 2003; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2021



Mark T. Millkey | Partner
Mark Millkey is a partner in the Firm’s Melville office. He has significant experience in the areas of
securities and consumer litigation, as well as in federal and state court appeals.

During his career, Millkey has worked on a major consumer litigation against MetLife that resulted in a
benefit to the class of approximately $1.7 billion, as well as a securities class action against Royal
Dutch/Shell that settled for a minimum cash benefit to the class of $130 million and a contingent value of
more than $180 million. Since joining Robbins Geller, he has worked on securities class actions that have
resulted in approximately $300 million in settlements.


Education
B.A., Yale University, 1981; M.A., University of Virginia, 1983; J.D., University of Virginia, 1987

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2020




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David W. Mitchell | Partner
David Mitchell is a partner in the Firm’s San Diego office and focuses his practice on antitrust and
securities fraud litigation. He is a former federal prosecutor who has tried nearly 20 jury trials. As head of
the Firm’s Antitrust and Competition Law Practice Group, he has served as lead or co-lead counsel in
numerous cases and has helped achieve substantial settlements for shareholders. His most notable
antitrust cases include Dahl v. Bain Cap. Partners, LLC, obtaining more than $590 million for shareholders,
and In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., in which a settlement of
$5.5 billion was approved in the Eastern District of New York. This case was brought on behalf of
millions of U.S. merchants against Visa and MasterCard and various card-issuing banks, challenging the
way these companies set and collect tens of billions of dollars annually in merchant fees. The settlement is
believed to be the largest antitrust class action settlement of all time.

Additionally, Mitchell served as co-lead counsel in the ISDAfix Benchmark action against 14 major banks
and broker ICAP plc, obtaining $504.5 million for plaintiffs. Currently, Mitchell serves as court-
appointed lead counsel in In re Aluminum Warehousing Antitrust Litig., City of Providence, Rhode Island v.
BATS Global Markets Inc., In re SSA Bonds Antitrust Litig., In re Remicade Antitrust Litig., and In re 1-800
Contacts Antitrust Litig.


Education
B.A., University of Richmond, 1995; J.D., University of San Diego School of Law, 1998

Honors / Awards
Member, Enright Inn of Court; Best Lawyer in America, Best Lawyers®, 2018-2022; Leading Plaintiff
Financial Lawyer, Lawdragon, 2019-2021; Top 50 Lawyers in San Diego, Super Lawyers Magazine, 2021;
Leading Lawyer in America, Lawdragon, 2020-2021; Southern California Best Lawyer, Best Lawyers®,
2018-2021; Super Lawyer, Super Lawyers Magazine, 2016-2021; Honoree, Outstanding Antitrust Litigation
Achievement in Private Law Practice, American Antitrust Institute, 2018; Antitrust Trailblazer, The
National Law Journal, 2015; “Best of the Bar,” San Diego Business Journal, 2014




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                                                                                   ATTORNEY BIOGRAPHIES


Danielle S. Myers | Partner
Danielle Myers is a partner in the Firm’s San Diego office and focuses her practice on complex securities
litigation. Myers is one of the partners who oversees the Portfolio Monitoring Program® and provides
legal recommendations to the Firm’s institutional investor clients on their options to maximize recoveries
in securities litigation, both within the United States and internationally, from inception to settlement.
She is also part of Robbins Geller’s SPAC Task Force, which is dedicated to rooting out and prosecuting
fraud on behalf of injured investors in special purpose acquisition companies.

Myers advises the Firm’s clients in connection with lead plaintiff applications and has helped secure
appointment of the Firm’s clients as lead plaintiff and the Firm’s appointment as lead counsel in
hundreds of securities class actions, which cases have yielded more than $4 billion for investors, including
2018-2021 recoveries in In re Valeant Pharms. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.) ($1.2
billion); In re Am. Realty Cap. Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.) ($1.025 billion); Smilovits v.
First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.) ($350 million); City of Pontiac Gen. Ret. Sys. v. Wal-Mart Stores,
Inc., No. 5:12-cv-5162 (W.D. Ark.) ($160 million); Evellard v. LendingClub Corp., No. 3:16-cv-02627 (N.D.
Cal.) ($125 million); Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031 (E.D. Va.) ($108 million); and Marcus v.
J.C. Penney Co., Inc., No. 6:13-cv-00736 (E.D. Tex.) ($97.5 million). Myers is also a frequent lecturer on
securities fraud and corporate governance reform at conferences and events around the world.


Education
B.A., University of California at San Diego, 1997; J.D., University of San Diego, 2008

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2021-2022; Leading Lawyer, The Legal 500,
2020-2021; Best Lawyer in Southern California: One to Watch, Best Lawyers®, 2021; Future
Star, Benchmark Litigation, 2019-2020; Next Generation Lawyer, The Legal 500, 2017-2019; Recommended
Lawyer, The Legal 500, 2019; Rising Star, Super Lawyers Magazine, 2015-2018; One of the “Five Associates
to Watch in 2012,” Daily Journal; Member, San Diego Law Review; CALI Excellence Award in Statutory
Interpretation




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Eric I. Niehaus | Partner
Eric Niehaus is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
and derivative litigation. His efforts have resulted in numerous multi-million dollar recoveries to
shareholders and extensive corporate governance changes. Recent examples include: In re Deutsche Bank
AG Sec. Litig. (S.D.N.Y); In re NYSE Specialists Sec. Litig. (S.D.N.Y.); In re Novatel Wireless Sec. Litig. (S.D.
Cal.); Batwin v. Occam Networks, Inc. (C.D. Cal.); Commc’ns Workers of Am. Plan for Emps.’ Pensions and Death
Benefits v. CSK Auto Corp. (D. Ariz.); Marie Raymond Revocable Tr. v. Mat Five (Del. Ch.); and Kelleher v.
ADVO, Inc. (D. Conn.). Niehaus is currently prosecuting cases against several financial institutions arising
from their role in the collapse of the mortgage-backed securities market. Before joining the Firm,
Niehaus worked as a Market Maker on the American Stock Exchange in New York and the Pacific Stock
Exchange in San Francisco.


Education
B.S., University of Southern California, 1999; J.D., California Western School of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2016; J.D., Cum Laude, California Western School of Law, 2005;
Member, California Western Law Review



Brian O. O'Mara | Partner
Brian O’Mara is a partner in the Firm’s San Diego office. His practice focuses on complex securities and
antitrust litigation. Since 2003, O’Mara has served as lead or co-lead counsel in numerous shareholder
and antitrust actions, including: Bennett v. Sprint Nextel Corp. (D. Kan.) ($131 million recovery); In re CIT
Grp. Inc. Sec. Litig. (S.D.N.Y.) ($75 million recovery); In re MGM Mirage Sec. Litig. (D. Nev.) ($75 million
recovery); C.D.T.S. No. 1 v. UBS AG (S.D.N.Y.); In re Aluminum Warehousing Antitrust Litig. (S.D.N.Y.); and
Alaska Elec. Pension Fund v. Bank of Am. Corp. (S.D.N.Y.). Most recently, O’Mara served as class counsel in
the ISDAfix Benchmark action against 14 major banks and broker ICAP plc, obtaining $504.5 million for
plaintiffs.

O’Mara has been responsible for a number of significant rulings, including: Alaska Elec. Pension Fund v.
Bank of Am. Corp., 175 F. Supp. 3d 44 (S.D.N.Y. 2016); Bennett v. Sprint Nextel Corp., 298 F.R.D. 498 (D.
Kan. 2014); In re MGM Mirage Sec. Litig., 2013 U.S. Dist. LEXIS 139356 (D. Nev. 2013); In re Constar Int’l,
Inc. Sec. Litig., 2008 U.S. Dist. LEXIS 16966 (E.D. Pa. 2008), aff’d, 585 F.3d 774 (3d Cir. 2009); In re Direct
Gen. Corp. Sec. Litig., 2006 U.S. Dist. LEXIS 56128 (M.D. Tenn. 2006); and In re Dura Pharms., Inc. Sec.
Litig., 452 F. Supp. 2d 1005 (S.D. Cal. 2006). Prior to joining the Firm, he served as law clerk to the
Honorable Jerome M. Polaha of the Second Judicial District Court of the State of Nevada.


Education
B.A., University of Kansas, 1997; J.D., DePaul University, College of Law, 2002

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine,
2016-2021; Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust
Institute, 2018; CALI Excellence Award in Securities Regulation, DePaul University, College of Law



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Lucas F. Olts | Partner
Luke Olts is a partner in the Firm’s San Diego office, where his practice focuses on securities litigation on
behalf of individual and institutional investors. Olts recently served as lead counsel in In re Facebook
Biometric Info. Privacy Litig., a cutting-edge class action concerning Facebook’s alleged privacy violations
through its collection of users’ biometric identifiers without informed consent that resulted in a $650
million settlement. Olts has focused on litigation related to residential mortgage-backed securities, and
has served as lead counsel or co-lead counsel in some of the largest recoveries arising from the collapse of
the mortgage market. For example, he was a member of the team that recovered $388 million for
investors in J.P. Morgan residential mortgage-backed securities in Fort Worth Emps.’ Ret. Fund v. J.P.
Morgan Chase & Co., and a member of the litigation team responsible for securing a $272 million
settlement on behalf of mortgage-backed securities investors in NECA-IBEW Health & Welfare Fund v.
Goldman Sachs & Co. Olts also served as co-lead counsel in In re Wachovia Preferred Sec. & Bond/Notes Litig.,
which recovered $627 million under the Securities Act of 1933. He also served as lead counsel in
Siracusano v. Matrixx Initiatives, Inc., in which the U.S. Supreme Court unanimously affirmed the decision
of the Ninth Circuit that plaintiffs stated a claim for securities fraud under §10(b) of the Securities
Exchange Act of 1934 and SEC Rule 10b-5. Olts also served on the litigation team in In re Deutsche Bank
AG Sec. Litig., in which the Firm obtained a $18.5 million settlement in a case against Deutsche Bank and
certain of its officers alleging violations of the Securities Act of 1933. Before joining the Firm, Olts served
as a Deputy District Attorney for the County of Sacramento, where he tried numerous cases to verdict,
including crimes of domestic violence, child abuse, and sexual assault.


Education
B.A., University of California, Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

Honors / Awards
Future Star, Benchmark Litigation, 2018-2020; Next Generation Lawyer, The Legal 500, 2017; Top Litigator
Under 40, Benchmark Litigation, 2017; Under 40 Hotlist, Benchmark Litigation, 2016




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Steven W. Pepich | Partner
Steve Pepich is a partner in the Firm’s San Diego office. His practice has focused primarily on securities
class action litigation, but has also included a wide variety of complex civil cases, including representing
plaintiffs in mass tort, royalty, civil rights, human rights, ERISA, and employment law actions. Pepich has
participated in the successful prosecution of numerous securities class actions, including: Carpenters Health
& Welfare Fund v. Coca-Cola Co. ($137.5 million recovery); In re Fleming Cos. Inc. Sec. & Derivative
Litig. ($95 million recovered); In re Boeing Sec. Litig.($92 million recovery); In re Louisiana-Pacific Corp. Sec.
Litig. ($65 million recovery); Haw. Structural Ironworkers Pension Trust Fund v. Calpine Corp. ($43 million
recovery); In re Advanced Micro Devices Sec. Litig. ($34 million recovery); and Gohler v. Wood, ($17.2 million
recovery). Pepich was a member of the plaintiffs’ trial team in Mynaf v. Taco Bell Corp., which settled after
two months of trial on terms favorable to two plaintiff classes of restaurant workers for recovery of unpaid
wages. He was also a member of the plaintiffs’ trial team in Newman v. Stringfellow where, after a nine-
month trial in Riverside, California, all claims for exposure to toxic chemicals were ultimately resolved for
$109 million.


Education
B.S., Utah State University, 1980; J.D., DePaul University, 1983



Daniel J. Pfefferbaum | Partner
Daniel Pfefferbaum is a partner in the Firm’s San Francisco office, where his practice focuses on complex
securities litigation. He has been a member of litigation teams that have recovered more than $100
million for investors, including: Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc. ($65 million recovery); In
re PMI Grp., Inc. Sec. Litig. ($31.25 million recovery); Cunha v. Hansen Natural Corp. ($16.25 million
recovery); In re Accuray Inc. Sec. Litig. ($13.5 million recovery); and Twinde v. Threshold Pharms., Inc. ($10
million recovery). Pfefferbaum was a member of the litigation team that secured a historic recovery on
behalf of Trump University students in two class actions against President Donald J. Trump. The
settlement provides $25 million to approximately 7,000 consumers. This result means individual class
members are eligible for upwards of $35,000 in restitution. He represented the class on a pro bono basis.


Education
B.A., Pomona College, 2002; J.D., University of San Francisco School of Law, 2006; LL.M. in Taxation,
New York University School of Law, 2007

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2016-2020; Future Star, Benchmark Litigation, 2018-2020; Top
40 Under 40, Daily Journal, 2017; Rising Star, Super Lawyers Magazine, 2013-2017




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Theodore J. Pintar | Partner
Ted Pintar is a partner in the Firm’s San Diego office. Pintar has over 20 years of experience prosecuting
securities fraud actions and derivative actions and over 15 years of experience prosecuting insurance-
related consumer class actions, with recoveries in excess of $1 billion. He was part of the litigation team in
the AOL Time Warner state and federal court securities opt-out actions, which arose from the 2001
merger of America Online and Time Warner. These cases resulted in a global settlement of $618 million.
Pintar was also on the trial team in Knapp v. Gomez, which resulted in a plaintiff’s verdict. Pintar has
successfully prosecuted several RICO cases involving the deceptive sale of deferred annuities, including
cases against Allianz Life Insurance Company of North America ($250 million), American Equity
Investment Life Insurance Company ($129 million), Midland National Life Insurance Company ($80
million), and Fidelity & Guarantee Life Insurance Company ($53 million). He has participated in the
successful prosecution of numerous other insurance and consumer class actions, including: (i) actions
against major life insurance companies such as Manufacturer’s Life ($555 million initial estimated
settlement value) and Principal Mutual Life Insurance Company ($380+ million), involving the deceptive
sale of life insurance; (ii) actions against major homeowners insurance companies such as Allstate ($50
million) and Prudential Property and Casualty Co. ($7 million); (iii) actions against automobile insurance
companies such as the Auto Club and GEICO; and (iv) actions against Columbia House ($55 million) and
BMG Direct, direct marketers of CDs and cassettes. Pintar and co-counsel recently settled a securities
class action for $32.8 million against Snap, Inc. in Snap Inc. Securities Cases, a case alleging violations of the
Securities Act of 1933. Additionally, Pintar has served as a panelist for numerous Continuing Legal
Education seminars on federal and state court practice and procedure.


Education
B.A., University of California, Berkeley, 1984; J.D., University of Utah College of Law, 1987

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2021;
Super Lawyer, Super Lawyers Magazine, 2014-2017; CAOC Consumer Attorney of the Year Award Finalist,
2015; Note and Comment Editor, Journal of Contemporary Law, University of Utah College of Law; Note
and Comment Editor, Journal of Energy Law and Policy, University of Utah College of Law




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                                                                                ATTORNEY BIOGRAPHIES


Ashley M. Price | Partner
Ashley Price is a partner in the Firm’s San Diego office. Her practice focuses on complex securities
litigation. Price served as lead counsel in In re Am. Realty Cap. Props., Inc. Litig., a case arising out of
ARCP’s manipulative accounting practices, and obtained a $1.025 billion recovery. For five years, she and
the litigation team prosecuted nine different claims for violations of the Securities Exchange Act of 1934
and the Securities Act of 1933, involving seven different stock or debt offerings and two mergers. The
recovery represents the highest percentage of damages of any major PSLRA case prior to trial and
includes the largest personal contributions by individual defendants in history.

Most recently, Price was a key member of the Robbins Geller litigation team in Monroe County Employees’
Retirement System v. The Southern Company in which an $87.5 settlement was reached after three years of
litigation. The settlement resolved claims for violations of the Securities Exchange Act of 1934 stemming
from defendants’ issuance of materially misleading statements and omissions regarding the status of
construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant.


Education
B.A., Duke University, 2006; J.D., Washington University in St. Louis, School of Law, 2011

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2021; Rising Star, Super Lawyers Magazine, 2016-2021



Willow E. Radcliffe | Partner
Willow Radcliffe is a partner in the Firm’s San Francisco office, where she concentrates her practice in
securities class action litigation in federal court. She has been significantly involved in the prosecution of
numerous securities fraud claims, including actions filed against Pfizer, Inc. ($400 million recovery),
Flowserve Corp. ($55 million recovery), Santander Consumer USA Holdings Inc. ($47 million),
NorthWestern Corp. ($40 million recovery), Ashworth, Inc. ($15.25 million recovery), and Allscripts
Healthcare Solutions, Inc. ($9.75 million recovery). Additionally, Radcliffe has represented plaintiffs in
other complex actions, including a class action against a major bank regarding the adequacy of disclosures
made to consumers in California related to access checks. Before joining the Firm, she clerked for the
Honorable Maria-Elena James, Magistrate Judge for the United States District Court for the Northern
District of California.


Education
B.A., University of California, Los Angeles 1994; J.D., Seton Hall University School of Law, 1998

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2021-2022; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2021; Best Lawyer in Northern California: One to Watch, Best Lawyers®, 2021;
Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020; J.D., Cum Laude, Seton Hall University
School of Law, 1998; Most Outstanding Clinician Award; Constitutional Law Scholar Award




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                                                                                 ATTORNEY BIOGRAPHIES


Jack Reise | Partner
Jack Reise is a partner in the Firm's Boca Raton office. Devoted to protecting the rights of those who have
been harmed by corporate misconduct, his practice focuses on class action litigation (including securities
fraud, shareholder derivative actions, consumer protection, antitrust, and unfair and deceptive insurance
practices). Reise also dedicates a substantial portion of his practice to representing shareholders in actions
brought under the federal securities laws. He is currently serving as lead counsel in more than a dozen
cases nationwide. Most recently, Reise and a team of Robbins Geller attorneys obtained a $1.21 billion
settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig. (D.N.J.), a case that Vanity Fair reported as “the
corporate scandal of its era” that had raised “fundamental questions about the functioning of our health-
care system, the nature of modern markets, and the slippery slope of ethical rationalizations.” This is the
largest securities class action settlement against a pharmaceutical manufacturer and the ninth largest
ever. As lead counsel, Reise has also represented investors in a series of cases involving mutual funds
charged with improperly valuating their net assets, which settled for a total of more than $50 million.
Other notable actions include: In re NewPower Holdings, Inc. Sec. Litig. (S.D.N.Y.) ($41 million
settlement); In re ADT Inc. S’holder Litig. (Fla. Cir. Ct., 15th Jud. Cir.) ($30 million settlement); In re Red
Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million settlement); and In re AFC Enters., Inc. Sec. Litig. (N.D. Ga.)
($17.2 million settlement).


Education
B.A., Binghamton University, 1992; J.D., University of Miami School of Law, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; American Jurisprudence Book Award in
Contracts; J.D., Cum Laude, University of Miami School of Law, 1995; University of Miami Inter-American
Law Review, University of Miami School of Law




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                                                                                ATTORNEY BIOGRAPHIES


Frank A. Richter | Partner
Frank Richter is a partner in the Firm’s Chicago office, where he focuses on shareholder, antitrust, and
class action litigation. Richter has been part of litigation teams that have recovered hundreds of millions
of dollars on behalf of shareholders, including in Valeant Pharmaceuticals ($1.21 billion, D.N.J.), HCA ($215
million, E.D. Tenn.), Sprint ($131 million, D. Kan.), and Dana Corp. ($64 million, N.D. Ohio). Most
recently, Richter worked on the litigation team that secured a $108 million settlement from Orbital ATK,
Inc. (now Northrop Grumman Corporation), which is believed to be the fourth-largest securities class
action settlement in the history of the Eastern District of Virginia. In addition to shareholder litigation,
Richter also works on antitrust matters and was recently appointed to the Plaintiffs’ Steering Committee
in In re Dealer Management Systems Antitrust Litigation (N.D. Ill.).


Education
B.A., Truman State University, 2007; M.M., DePaul University School of Music, 2009; J.D., DePaul
University College of Law, 2012

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2021; Rising Star, Super Lawyers Magazine, 2017-2021; J.D.,
Summa Cum Laude, Order of the Coif, CALI Award for highest grade in seven courses, DePaul University
College of Law, 2012




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                                                                                  ATTORNEY BIOGRAPHIES


Darren J. Robbins | Partner
Darren Robbins is a founding partner of Robbins Geller Rudman & Dowd LLP. Over the last two
decades, Robbins has served as lead counsel in more than 100 securities class actions and has recovered
billions of dollars for investors. Robbins recently served as lead counsel in In re Am. Realty Cap. Props., Inc.
Litig., a securities class action arising out of improper accounting practices, recovering more than $1
billion for class members. The American Realty settlement represents the largest recovery as a percentage
of damages of any major class action brought pursuant to the Private Securities Litigation Reform Act of
1995 and resolved prior to trial. The $1+ billion settlement included the largest personal contributions
($237.5 million) ever made by individual defendants to a securities class action settlement.

Robbins also led Robbins Geller’s prosecution of wrongdoing related to the sale of residential mortgage-
backed securities (RMBS) prior to the global financial crisis, including an RMBS securities class action
against Goldman Sachs that yielded a $272 million recovery for investors. Robbins served as co-lead
counsel in connection with a $627 million recovery for investors in In re Wachovia Preferred Securities &
Bond/Notes Litig., one of the largest securities class action settlements ever involving claims brought solely
under the Securities Act of 1933.

One of the hallmarks of Robbins’ practice has been his focus on corporate governance reform.
In UnitedHealth, a securities fraud class action arising out of an options backdating scandal,
Robbins represented lead plaintiff CalPERS and obtained the cancellation of more than 3.6 million stock
options held by the company’s former CEO and secured a record $925 million cash recovery for
shareholders. He also negotiated sweeping corporate governance reforms, including the election of a
shareholder-nominated director to the company’s board of directors, a mandatory holding period for
shares acquired via option exercise, and compensation reforms that tied executive pay to performance.
Recently, Robbins led a shareholder derivative action brought by several pension funds on behalf of
Community Health Systems, Inc. that yielded a $60 million payment to Community Health as well as
corporate governance reforms that included two shareholder-nominated directors, the creation and
appointment of a Healthcare Law Compliance Coordinator, the implementation of an executive
compensation clawback in the event of a restatement, the establishment of an insider trading controls
committee, and the adoption of a political expenditure disclosure policy.


Education
B.S., University of Southern California, 1990; M.A., University of Southern California, 1990; J.D.,
Vanderbilt Law School, 1993

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2010-2022; Leading Lawyer, The Legal 500, 2020-2021; Leading
Lawyer, Chambers USA, 2014-2021; Top 50 Lawyers in San Diego, Super Lawyers Magazine, 2015, 2021;
Litigator of the Week, The American Lawyer, 2021; Southern California Best Lawyer, Best Lawyers®,
2012-2021; Local Litigation Star, Benchmark Litigation, 2013-2018, 2020; Recommended Lawyer, The Legal
500, 2011, 2017, 2019; Benchmark California Star, Benchmark Litigation, 2019; State Litigation Star,
Benchmark Litigation, 2019; Lawyer of the Year, Best Lawyers®, 2017; Influential Business Leader, San Diego
Business Journal, 2017; Litigator of the Year, Our City San Diego, 2017; One of the Top 100 Lawyers
Shaping the Future, Daily Journal; One of the “Young Litigators 45 and Under,” The American Lawyer;
Attorney of the Year, California Lawyer; Managing Editor, Vanderbilt Journal of Transnational Law,
Vanderbilt Law School




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                                                                                     ATTORNEY BIOGRAPHIES


Robert J. Robbins | Partner
Robert Robbins is a partner in the Firm’s Boca Raton office. He focuses his practice on investigating
securities fraud, initiating securities class actions, and helping institutional and individual shareholders
litigate their claims to recover investment losses caused by fraud. Representing shareholders in all aspects
of class actions brought pursuant to the federal securities laws, Robbins provides counsel in numerous
securities fraud class actions across the country, helping secure significant recoveries for investors. Most
recently, Robbins and a team of Robbins Geller attorneys obtained a $1.21 billion settlement in In re
Valeant Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the corporate scandal of its era” that
had raised “fundamental questions about the functioning of our health-care system, the nature of modern
markets, and the slippery slope of ethical rationalizations.” This is the largest securities class action
settlement against a pharmaceutical manufacturer and the ninth largest ever. Robbins has also been a key
member of litigation teams responsible for the successful prosecution of many other securities class
actions, including: Hospira ($60 million recovery); 3D Systems ($50 million); CVS Caremark ($48 million
recovery); Baxter International ($42.5 million recovery); R.H. Donnelley ($25 million recovery); Spiegel ($17.5
million recovery); TECO Energy ($17.35 million recovery); AFC Enterprises ($17.2 million
recovery); Accretive Health ($14 million recovery); Lender Processing Services ($14 million recovery); Imperial
Holdings ($12 million recovery); Mannatech ($11.5 million recovery); Newpark Resources ($9.24
million recovery); Gilead Sciences ($8.25 million recovery); TCP International ($7.175 million recovery); Cryo
Cell International ($7 million recovery); Gainsco ($4 million recovery); and Body Central ($3.425 million
recovery).


Education
B.S., University of Florida, 1999; J.D., University of Florida College of Law, 2002

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Rising Star, Super Lawyers Magazine,
2015-2017; J.D., High Honors, University of Florida College of Law, 2002; Member, Journal of Law and
Public Policy, University of Florida College of Law; Member, Phi Delta Phi, University of Florida College of
Law; Pro bono certificate, Circuit Court of the Eighth Judicial Circuit of Florida; Order of the Coif




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Henry Rosen | Partner
Henry Rosen is a partner in the Firm’s San Diego office, where he is a member of the Hiring Committee
and the Technology Committee, the latter of which focuses on applications to digitally manage documents
produced during litigation and internally generate research files. He has significant experience
prosecuting every aspect of securities fraud class actions and has obtained more than $1 billion on behalf
of defrauded investors. Prominent cases include In re Cardinal Health, Inc. Sec. Litig., in which Rosen
recovered $600 million for defrauded shareholders. This $600 million settlement is the largest recovery
ever in a securities fraud class action in the Sixth Circuit, and remains one of the largest settlements in the
history of securities fraud litigation. Additional recoveries include: Jones v. Pfizer Inc. ($400 million); In re
First Energy ($89.5 million); In re CIT Grp. Inc. Sec. Litig. ($75 million); Stanley v. Safeskin Corp. ($55
million); In re Storage Tech. Corp. Sec. Litig. ($55 million); and Rasner v. Sturm (FirstWorld Communications)
($25.9 million).


Education
B.A., University of California, San Diego, 1984; J.D., University of Denver, 1988

Honors / Awards
Editor-in-Chief, University of Denver Law Review, University of Denver




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David A. Rosenfeld | Partner
David Rosenfeld is a partner in the Firm’s Melville office. He has focused his practice of law for more
than 15 years in the areas of securities litigation and corporate takeover litigation. He has been appointed
as lead counsel in dozens of securities fraud lawsuits and has successfully recovered hundreds of millions
of dollars for defrauded shareholders. Rosenfeld works on all stages of litigation, including drafting
pleadings, arguing motions, and negotiating settlements. Most recently, he was on the team of Robbins
Geller attorneys who obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings, Inc., which
represents a high percentage of damages that plaintiffs could reasonably expect to be recovered at trial
and is more than eight times higher than the average settlement of cases with comparable investor losses.

Additionally, Rosenfeld led the Robbins Geller team in recovering in excess of $34 million for investors in
Overseas Shipholding Group, which represented an outsized recovery of 93% of bond purchasers’
damages and 28% of stock purchasers’ damages. The creatively structured settlement included more
than $15 million paid by a bankrupt entity. Rosenfeld also led the effort that resulted in the recovery of
nearly 90% of losses for investors in Austin Capital, a sub-feeder fund of Bernard Madoff. In connection
with this lawsuit, Rosenfeld met with and interviewed Madoff in federal prison. Rosenfeld has also
achieved remarkable recoveries against companies in the financial industry. In addition to recovering $70
million for investors in Credit Suisse Group, and having been appointed lead counsel in the securities
fraud lawsuit against First BanCorp (which provided shareholders with a $74.25 million recovery), he
recently settled claims against Barclays for $14 million, or 20% of investors’ damages, for statements made
about its LIBOR practices.


Education
B.S., Yeshiva University, 1996; J.D., Benjamin N. Cardozo School of Law, 1999

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2014-2020; Future Star, Benchmark Litigation, 2016-2020;
Recommended Lawyer, The Legal 500, 2018; Rising Star, Super Lawyers Magazine, 2011-2013




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Robert M. Rothman | Partner
Robert Rothman is a partner in the Firm’s Melville office and a member of the Firm’s Management
Committee. He has recovered well in excess of $1 billion on behalf of victims of investment fraud,
consumer fraud, and antitrust violations.

Recently, Rothman served as lead counsel in In re Am. Realty Cap. Props., Inc. Litig. where he obtained a
$1.025 billion cash recovery on behalf of investors. Rothman and the litigation team prosecuted nine
different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of 1933,
involving seven different stock or debt offerings and two mergers. The recovery represents the highest
percentage of damages ever obtained in a major PSLRA case before trial and includes the largest personal
contributions by individual defendants in history. Additionally, Rothman has recovered hundreds of
millions of dollars for investors in cases against First Bancorp, Doral Financial, Popular, iStar, Autoliv,
CVS Caremark, Fresh Pet, The Great Atlantic & Pacific Tea Company (A&P), NBTY, Spiegel, American
Superconductor, Iconix Brand Group, Black Box, OSI Pharmaceuticals, Gravity, Caminus, Central
European Distribution Corp., OneMain Holdings, The Children’s Place, CNinsure, Covisint, FleetBoston
Financial, Interstate Bakeries, Hibernia Foods, Jakks Pacific, Jarden, Portal Software, Ply Gem Holdings,
Orion Energy, Tommy Hilfiger, TD Banknorth, Teletech, Unitek, Vicuron, Xerium, W Holding, and
dozens of others.

Rothman also represents shareholders in connection with going-private transactions and tender offers.
For example, in connection with a tender offer made by Citigroup, Rothman secured an increase of more
than $38 million over what was originally offered to shareholders. He also actively litigates consumer
fraud cases, including a case alleging false advertising where the defendant agreed to a settlement valued
in excess of $67 million.


Education
B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2011, 2013-2020; New York Trailblazer, New York Law Journal,
2020; Dean’s Academic Scholarship Award, Hofstra University School of Law; J.D., with Distinction,
Hofstra University School of Law, 1993; Member, Hofstra Law Review, Hofstra University School of Law




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Samuel H. Rudman | Partner
Sam Rudman is a founding member of the Firm, a member of the Firm’s Executive and Management
Committees, and manages the Firm’s New York offices. His 26-year securities practice focuses on
recognizing and investigating securities fraud, and initiating securities and shareholder class actions to
vindicate shareholder rights and recover shareholder losses. Rudman is also part of the Firm’s SPAC
Task Force, which is dedicated to rooting out and prosecuting fraud on behalf of injured investors in
special purpose acquisition companies. A former attorney with the SEC, Rudman has recovered
hundreds of millions of dollars for shareholders, including a $200 million recovery in Motorola, a $129
million recovery in Doral Financial, an $85 million recovery in Blackstone, a $74 million recovery in First
BanCorp, a $65 million recovery in Forest Labs, a $62.5 million recovery in SQM, a $50 million recovery
in TD Banknorth, a $48 million recovery in CVS Caremark, a $34.5 million recovery in L-3 Communications
Holdings, a $32.8 million recovery in Snap, Inc., and a $18.5 million recovery in Deutsche Bank.


Education
B.A., Binghamton University, 1989; J.D., Brooklyn Law School, 1992

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Leading Lawyer, Chambers USA, 2014-2021;
Leading Lawyer in America, Lawdragon, 2016-2021; Super Lawyer, Super Lawyers Magazine, 2007-2020;
New York Trailblazer, New York Law Journal, 2020; Plaintiffs’ Lawyer Trailblazer, The National Law Journal,
2020; National Practice Area Star, Benchmark Litigation, 2019-2020; Local Litigation Star, Benchmark
Litigation, 2013-2020; Recommended Lawyer, The Legal 500, 2018-2019; Litigation Star, Benchmark
Litigation, 2013, 2017-2019; Dean’s Merit Scholar, Brooklyn Law School; Moot Court Honor Society,
Brooklyn Law School; Member, Brooklyn Journal of International Law, Brooklyn Law School




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Joseph Russello | Partner
Joseph Russello is a partner in the Firm’s Melville office. He began his career as a defense lawyer and
now represents investors in securities class actions at the trial and appellate levels.

Rusello spearheaded the team that recovered $85 million in litigation against The Blackstone Group,
LLC, a case that yielded a landmark decision from the Second Circuit Court of Appeals on “materiality” in
securities actions. Litwin v. Blackstone Grp., L.P., 634 F.3d 706 (2d Cir. 2011). He also led the team
responsible for partially defeating dismissal and achieving a $50 million settlement in litigation against
BHP Billiton, an Australia-based mining company accused of concealing safety issues at a Brazilian iron-
ore dam. In re BHP Billiton Ltd. Sec. Litig., 276 F. Supp. 3d 65 (S.D.N.Y. 2017).

Recently, Rusello was co-counsel in a lawsuit against Allied Nevada Gold Corporation, recovering $14.5
million for investors after the Ninth Circuit Court of Appeals reversed two dismissal decisions. In re Allied
Nev. Gold Corp. Sec. Litig., 743 F. App’x 887 (9th Cir. 2018). He was also instrumental in obtaining a
settlement and favorable appellate decision in litigation against SAIC, Inc., a defense contractor embroiled
in a decade-long overbilling fraud against the City of New York. Ind. Pub. Ret. Sys. v. SAIC, Inc., 818 F.3d
85 (2d Cir. 2016). Other notable recent decisions include: In re Qudian Sec. Litig., 2020 WL 7061890 (N.Y.
App. Div., 1st Dep’t Dec. 3, 2020); Kazi v. XP Inc., 2020 WL 4581569 (N.Y. Sup. Ct., N.Y. Cnty. Aug. 5,
2020); In re Dentsply Sirona, Inc. S’holders Litig., 2019 WL 3526142 (N.Y. Sup. Ct., N.Y. Cnty. Aug. 2, 2019);
and In re PPDAI Grp. Sec. Litig., 2019 WL 2751278 (N.Y. Sup. Ct., N.Y. Cnty. July 1, 2019). Other
notable settlements include: NBTY, Inc. ($16 million); LaBranche & Co., Inc. ($13 million); The Children’s
Place Retail Stores, Inc. ($12 million); and Prestige Brands Holdings, Inc. ($11 million).


Education
B.A., Gettysburg College, 1998; J.D., Hofstra University School of Law, 2001

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine,
2014-2020; Law360 Securities Editorial Advisory Board, 2017




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Scott H. Saham | Partner
Scott Saham is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
litigation. He is licensed to practice law in both California and Michigan. Most recently, Saham was a
member of the litigation team that obtained a $125 million settlement in In re LendingClub Sec. Litig., a
settlement that ranks among the top ten largest securities recoveries ever in the Northern District of
California. He was also part of the litigation teams in Schuh v. HCA Holdings, Inc., which resulted in a
$215 million recovery for shareholders, the largest securities class action recovery ever in Tennessee,
and Luna v. Marvell Tech. Grp., Ltd., which resulted in a $72.5 million settlement that represents
approximately 24% to 50% of the best estimate of classwide damages suffered by investors. He also served
as lead counsel prosecuting the Pharmacia securities litigation in the District of New Jersey, which resulted
in a $164 million recovery. Additionally, Saham was lead counsel in the In re Coca-Cola Sec. Litig. in the
Northern District of Georgia, which resulted in a $137.5 million recovery after nearly eight years of
litigation. He also obtained reversal from the California Court of Appeal of the trial court’s initial
dismissal of the landmark Countrywide mortgage-backed securities action. This decision is reported
as Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789 (2011), and following this ruling that revived the
action the case settled for $500 million.


Education
B.A., University of Michigan, 1992; J.D., University of Michigan Law School, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021




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Vincent M. Serra | Partner
Vincent Serra is a partner in the Firm’s Melville office and focuses his practice on complex securities,
antitrust, consumer, and employment litigation. His efforts have contributed to the recovery of over a
billion dollars on behalf of aggrieved plaintiffs and class members. Notably, Serra has contributed to
several significant antitrust recoveries, including Dahl v. Bain Cap. Partners, LLC ($590.5 million recovery),
an antitrust action against the world’s largest and most powerful private equity firms alleging collusive
practices in multi-billion dollar leveraged buyouts, and In re Currency Conversion Fee Antitrust Litig. ($336
million recovery). He has investigated and assisted with the development and prosecution of several
ongoing market manipulation cases, including In re Barclays Liquidity Cross & High Frequency Trading
Litig. and In re Treasuries Sec. Auction Antitrust Litig., among others.

Additionally, Serra was a member of the litigation team that obtained a $22.75 million settlement fund on
behalf of route drivers in an action asserting violations of federal and state overtime laws against Cintas
Corp. He was also part of the successful trial team in Lebrilla v. Farmers Grp., Inc., which involved
Farmers’ practice of using inferior imitation parts when repairing insureds’ vehicles. Other notable cases
include Alaska Elec. Pension Fund v. Pharmacia Corp. ($164 million recovery) and In re Priceline.com Sec.
Litig. ($80 million recovery). Serra is currently litigating several actions against manufacturers and
retailers for the improper marketing, sale and/or warranting of consumer products. He is also involved in
the Firm’s “lead plaintiff” practice, where he recently assisted in securing lead plaintiff roles on behalf of
clients in securities fraud actions brought against Wells Fargo, Alta Mesa Resources, BRF S.A., and LJM
Funds Management.


Education
B.A., University of Delaware, 2001; J.D., California Western School of Law, 2005

Honors / Awards
Wiley W. Manuel Award for Pro Bono Legal Services, State Bar of California




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Jessica T. Shinnefield | Partner
Jessica Shinnefield is a partner in the Firm’s San Diego office. Currently, her practice focuses on
initiating, investigating, and prosecuting securities fraud class actions. Shinnefield served as lead counsel
in In re Am. Realty Cap. Props., Inc. Litig., a case arising out of ARCP’s manipulative accounting practices,
and obtained a $1.025 billion recovery. For five years, she and the litigation team prosecuted nine
different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of 1933,
involving seven different stock or debt offerings and two mergers. The recovery represents the highest
percentage of damages of any major PSLRA case prior to trial and includes the largest personal
contributions by individual defendants in history. Shinnefield also served as lead counsel in Smilovits v.
First Solar, Inc., and obtained a $350 million settlement on the eve of trial. The settlement is fifth-largest
PSLRA settlement ever recovered in the Ninth Circuit.

Shinnefield was also a member of the litigation team prosecuting actions against investment banks and
leading national credit rating agencies for their roles in structuring and rating structured investment
vehicles backed by toxic assets in Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Incorporated and King
County, Washington v. IKB Deutsche Industriebank AG. These cases were among the first to successfully allege
fraud against the rating agencies, whose ratings have traditionally been protected by the First
Amendment. Shinnefield also litigated individual opt-out actions against AOL Time Warner – Regents of
the Univ. of Cal. v. Parsons and Ohio Pub. Emps. Ret. Sys. v. Parsons (recovery more than $600 million).
Additionally, she litigated an action against Omnicare, in which she helped obtain a favorable ruling for
plaintiffs from the United States Supreme Court. Shinnefield has also successfully appealed lower court
decisions in the Second, Seventh, and Ninth Circuit Courts of Appeals.


Education
B.A., University of California at Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Plaintiffs’ Lawyers Trailblazer, The National
Law Journal, 2021; Litigator of the Week, The American Lawyer, 2020; Rising Star, Super Lawyers
Magazine, 2015-2019; 40 & Under Hot List, Benchmark Litigation, 2018-2019; B.A., Phi Beta Kappa,
University of California at Santa Barbara, 2001




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Elizabeth A. Shonson | Partner
Elizabeth Shonson is a partner in the Firm’s Boca Raton office. She concentrates her practice on
representing investors in class actions brought pursuant to the federal securities laws. Shonson has
litigated numerous securities fraud class actions nationwide, helping achieve significant recoveries for
aggrieved investors. She was a member of the litigation teams responsible for recouping millions of
dollars for defrauded investors, including: In re Massey Energy Co. Sec. Litig. (S.D. W.Va.) ($265 million);
Nieman v. Duke Energy Corp. (W.D.N.C.) ($146.25 million recovery); In re ADT Inc. S’holder Litig. (Fla. Cir.
Ct., 15th Jud. Cir.) ($30 million settlement); Eshe Fund v. Fifth Third Bancorp (S.D. Ohio) ($16 million); City
of St. Clair Shores Gen. Emps. Ret. Sys. v. Lender Processing Servs., Inc. (M.D. Fla.) ($14 million); and In re
Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).


Education
B.A., Syracuse University, 2001; J.D., University of Florida Levin College of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2016-2019; J.D., Cum Laude, University of Florida Levin College of
Law, 2005; Editor-in-Chief, Journal of Technology Law & Policy; Phi Delta Phi; B.A., with Honors, Summa
Cum Laude, Syracuse University, 2001; Phi Beta Kappa



Trig Smith | Partner
Trig Smith is a partner in the Firm’s San Diego office where he focuses his practice on complex securities
litigation. He has been involved in the prosecution of numerous securities class actions that have resulted
in over a billion dollars in recoveries for investors. His cases have included: In re Cardinal Health, Inc. Sec.
Litig. ($600 million recovery); Jones v. Pfizer Inc. ($400 million recovery); Silverman v. Motorola, Inc. ($200
million recovery); and City of Livonia Emps.’ Ret. Sys. v. Wyeth ($67.5 million). Most recently, he was a
member of the Firm’s trial team in Hsu v. Puma Biotechnology, Inc., a securities fraud class action that
resulted in a verdict in favor of investors after a two-week jury trial.


Education
B.S., University of Colorado, Denver, 1995; M.S., University of Colorado, Denver, 1997; J.D., Brooklyn
Law School, 2000

Honors / Awards
Member, Brooklyn Journal of International Law, Brooklyn Law School; CALI Excellence Award in Legal
Writing, Brooklyn Law School




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Mark Solomon | Partner
Mark Solomon is a founding partner in the Firm’s San Diego office and leads its international litigation
practice. Over the last 27 years, he has regularly represented United States- and United Kingdom-based
pension funds and asset managers in class and non-class securities litigation in federal and state courts
throughout the United States. He has been admitted to the Bars of England and Wales (Barrister), Ohio,
and California, but now practices exclusively in California, as well as in various United States federal
district and appellate courts.

Solomon has spearheaded the prosecution of many significant securities fraud cases. He has obtained
multi-hundred million dollar recoveries for plaintiffs in pre-trial settlements and significant corporate
governance reforms designed to limit recidivism and promote appropriate standards. He litigated,
through the rare event of trial, the securities class action against Helionetics Inc. and its executives, where
he won a $15.4 million federal jury verdict. Prior to the most recent financial crisis, he was instrumental
in obtaining some of the first mega-recoveries in the field in California and Texas, serving as co-lead
counsel in In re Informix Corp. Sec. Litig. (N.D. Cal.) and recovering $131 million for Informix investors;
and serving as co-lead counsel in Schwartz v. TXU Corp. (N.D. Tex.), where he helped obtain a recovery of
over $149 million for a class of purchasers of TXU securities. Solomon is currently counsel to a number
of pension funds serving as lead plaintiffs in cases throughout the United States. For instance, Solomon
represented the Norfolk County Council, as Administering Authority of the Norfolk Pension Fund, in Hsu
v. Puma Biotechnology, Inc. where, after three weeks of trial, the Fund obtained a jury verdict in favor of the
class against the company and its CEO. He also represented the British Coal Staff Superannuation
Scheme and the Mineworkers’ Pension Scheme in Smilovits v. First Solar, Inc. in which the class recently
recovered $350 million on the eve of trial. The settlement is fifth-largest PSLRA settlement ever
recovered in the Ninth Circuit.


Education
B.A., Trinity College, Cambridge University, England, 1985; L.L.M., Harvard Law School, 1986; Inns of
Court School of Law, Degree of Utter Barrister, England, 1987

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine,
2017-2018; Recommended Lawyer, The Legal 500, 2016-2017; Lizette Bentwich Law Prize, Trinity
College, 1983 and 1984; Hollond Travelling Studentship, 1985; Harvard Law School Fellowship,
1985-1986; Member and Hardwicke Scholar of the Honourable Society of Lincoln’s Inn




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Hillary B. Stakem | Partner
Hillary Stakem is a partner in the Firm’s San Diego office, where her practice focuses on complex
securities litigation. Stakem was a member of the litigation team in Jaffe v. Household Int’l, Inc., a securities
class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including
a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. She was also part of the litigation
teams that secured a $388 million recovery for investors in J.P. Morgan residential mortgage-backed
securities in Fort Worth Employees’ Retirement Fund v. J.P. Morgan Chase & Co. and a $131 million recovery
in favor of plaintiffs in Bennett v. Sprint Nextel Corp. Additionally, Stakem helped to obtain a landmark
settlement, on the eve of trial, from the major credit rating agencies and Morgan Stanley arising out of
the fraudulent ratings of bonds issued by the structured investment vehicles in Abu Dhabi Commercial Bank
v. Morgan Stanley & Co. Inc. Stakem also obtained a $350 million settlement on the eve of trial in Smilovits
v. First Solar, Inc., the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit, and was on the
team of Robbins Geller attorneys who obtained a $97.5 million recovery in Marcus v. J.C. Penney Company,
Inc.

Most recently, Stakem was a member of the Robbins Geller litigation team in Monroe County Employees’
Retirement System v. The Southern Company in which an $87.5 settlement was reached after three years of
litigation. The settlement resolved claims for violations of the Securities Exchange Act of 1934 stemming
from defendants’ issuance of materially misleading statements and omissions regarding the status of
construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant.


Education
B.A., College of William and Mary, 2009; J.D., UCLA School of Law, 2012

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2021; Rising Star, Super Lawyers Magazine, 2021; B.A., Magna
Cum Laude, College of William and Mary, 2009



Jeffrey J. Stein | Partner
Jeffrey Stein is a partner in the Firm’s San Diego office, where he practices securities fraud litigation and
other complex matters. He was a member of the litigation team that secured a historic recovery on behalf
of Trump University students in two class actions against President Donald J. Trump. The settlement
provides $25 million to approximately 7,000 consumers. This result means individual class members are
eligible for upwards of $35,000 in restitution. Stein represented the class on a pro bono basis.

Before joining the Firm, Stein focused on civil rights litigation, with special emphasis on the First, Fourth,
and Eighth Amendments. In this capacity, he helped his clients secure successful outcomes before the
United States Supreme Court and the Ninth Circuit Court of Appeals.


Education
B.S., University of Washington, 2005; J.D., University of San Diego School of Law, 2009




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Christopher D. Stewart | Partner
Christopher Stewart is a partner in the Firm’s San Diego office. His practice focuses on complex securities
and shareholder derivative litigation. Stewart served as lead counsel in In re Am. Realty Cap. Props., Inc.
Litig., a case arising out of ARCP’s manipulative accounting practices, and obtained a $1.025 billion
recovery. For five years, he and the litigation team prosecuted nine different claims for violations of the
Securities Exchange Act of 1934 and the Securities Act of 1933, involving seven different stock or debt
offerings and two mergers. The recovery represents the highest percentage of damages of any major
PSLRA case prior to trial and includes the largest personal contributions by individual defendants in
history. Most recently, Stewart served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350
million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in
the Ninth Circuit.

He was also part of the litigation team that obtained a $67 million settlement in City of Westland Police &
Fire Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
processing of home foreclosure documents by engaging in widespread robo-signing. Stewart also served
on the litigation team in In re Deutsche Bank AG Sec. Litig., in which the Firm obtained a $18.5 million
settlement in a case against Deutsche Bank and certain of its officers alleging violations of the Securities
Act of 1933.


Education
B.S., Santa Clara University, 2004; M.B.A., University of San Diego School of Business Administration,
2009; J.D., University of San Diego School of Law, 2009

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2020; J.D., Magna Cum Laude, Order of the Coif, University of
San Diego School of Law, 2009; Member, San Diego Law Review




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Sabrina E. Tirabassi | Partner
Sabrina Tirabassi is a partner in the Firm’s Boca Raton office, where her practice focuses on complex
securities litigation, including the Firm’s lead plaintiff motion practice. In this role, Tirabassi remains at
the forefront of litigation trends and issues arising under the Private Securities Litigation Reform Act of
1995. Further, Tirabassi has been an integral member of the litigation teams responsible for securing
significant monetary recoveries on behalf of shareholders, including: Villella v. Chemical and Mining
Company of Chile Inc., No. 1:15-cv-02106 (S.D.N.Y.); In re ADT Inc. S’holder Litig., No.
502018CA003494XXXXMB-AG (Fla. Cir. Ct., 15th Jud. Cir.); KBC Asset Mgmt. NV v. Aegerion Pharms.,
Inc., No. 1:14-cv-10105-MLW (D. Mass.); Sohal v. Yan, No. 1:15-cv-00393-DAP (N.D. Ohio); McGee v.
Constant Contact, Inc., No. 1:15-cv-13114-MLW (D. Mass.); and Schwartz v. Urban Outfitters, Inc., No.
2:13-cv-05978-MAK (E.D. Pa.).


Education
B.A., University of Florida, 2000; J.D., Nova Southeastern University Shepard Broad College of Law,
2006, Magna Cum Laude

Honors / Awards
Rising Star, Super Lawyers Magazine, 2010, 2015-2018; J.D., Magna Cum Laude, Nova Southeastern
University Shepard Broad College of Law, 2006



Douglas Wilens | Partner
Douglas Wilens is a partner in the Firm’s Boca Raton office. Wilens is a member of the Firm’s Appellate
Practice Group, participating in numerous appeals in federal and state courts across the country. Most
notably, Wilens handled successful and precedent-setting appeals in Ind. Pub. Ret. Sys. v. SAIC, Inc., 818
F.3d 85 (2d Cir. 2016) (addressing duty to disclose under SEC Regulation Item 303 in §10(b) case), Mass.
Ret. Sys. v. CVS Caremark Corp., 716 F.3d 229 (1st Cir. 2013) (addressing pleading of loss causation
in §10(b) case), and Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009) (addressing pleading of
falsity, scienter, and loss causation in §10(b) case).

Before joining the Firm, Wilens was an associate at a nationally recognized firm, where he litigated
complex actions on behalf of numerous professional sports leagues, including the National Basketball
Association, the National Hockey League, and Major League Soccer. He has also served as an adjunct
professor at Florida Atlantic University and Nova Southeastern University, where he taught
undergraduate and graduate-level business law classes.


Education
B.S., University of Florida, 1992; J.D., University of Florida College of Law, 1995

Honors / Awards
Book Award for Legal Drafting, University of Florida College of Law; J.D., with Honors, University of
Florida College of Law, 1995




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Shawn A. Williams | Partner
Shawn Williams, a founding partner of the Firm, is the managing partner of the Firm’s San Francisco
office and a member of the Firm’s Management Committee. Williams specializes in complex commercial
litigation focusing on securities litigation, and has served as lead counsel in a range of actions resulting in
more than a billion dollars in recoveries. For example, Williams was among lead counsel in In re Facebook
Biometric Info. Privacy Litig., charging Facebook with violations of the Illinois Biometric Information
Privacy Act, resulting in a $650 million recovery for injured Facebook users, the largest ever privacy class
action.

Williams led the team of Robbins Geller attorneys in the investigation and drafting of comprehensive
securities fraud claims in Hefler v. Wells Fargo & Co., alleging widespread opening of unauthorized and
undisclosed customer accounts. The Hefler action resulted in the recovery of $480 million for Wells Fargo
investors. In City of Westland Police & Fire Ret. Sys. v. Metlife, Inc.,Williams led the Firm’s team of lawyers
alleging MetLife’s failure to disclose and account for the scope of its use and non-use of the Social Security
Administration Death Master File and its impact on MetLife’s financial statements. The Metlife action
resulted in a recovery of $84 million. Williams also served as lead counsel in the following actions
resulting in significant recoveries: Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd. ($75 million
recovery); In re Krispy Kreme Doughnuts, Inc. Sec. Litig. ($75 million recovery); In re Medtronic, Inc. Sec.
Litig. ($43 million recovery); In re Cadence Design Sys., Inc. Sec. Litig. ($38 million recovery); and City of
Sterling Heights Gen. Emps’. Ret. Sys. v. Prudential Fin., Inc. ($33 million recovery).

Williams is also a member of the Firm’s Shareholder Derivative Practice Group which has secured tens of
millions of dollars in cash recoveries and comprehensive corporate governance reforms in a number of
high-profile cases including: In re McAfee, Inc. Derivative Litig.; In re Marvell Tech. Grp. Ltd. Derivative
Litig.; In re KLA-Tencor Corp. S’holder Derivative Litig.; The Home Depot, Inc. Derivative Litig.; and City of
Westland Police & Fire Ret. Sys. v. Stumpf (Wells Fargo & Co.).

Williams led multiple shareholder actions in which the Firm obtained favorable appellate rulings,
including: West Virginia Pipe Trades Health & Welfare Fund, et al. v. Medtronic, Inc., et al., No. 15-3468,
Opinion (8th Cir. Dec. 28, 2016); Knollenberg v. Harmonic, Inc., 152 F. App’x 674 (9th Cir. 2005); Nursing
Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004); Lynch v. Rawls, 429 F. App’x
641 (9th Cir. 2011); and Barrie v. Intervoice-Brite, Inc., 409 F.3d 653 (5th Cir. 2005).

Before joining the Firm in 2000, Williams served for 5 years as an Assistant District Attorney in the
Manhattan District Attorney’s Office, where he tried over 20 cases to New York City juries.


Education
B.A., The State of University of New York at Albany, 1991; J.D., University of Illinois, 1995

Honors / Awards
Top 100 Lawyer, Daily Journal, 2019, 2021; Best Lawyer in America, Best Lawyers®, 2022; Leading Plaintiff
Financial Lawyer, Lawdragon, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2014-2017, 2020-2021;
Leading Lawyer in America, Lawdragon, 2018-2021; California Trailblazer, The Recorder, 2019; Titan of
the Plaintiffs Bar, Law360, 2019; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2019; Board
Member, California Bar Foundation, 2012-2014




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David T. Wissbroecker | Partner
David Wissbroecker is a partner in the Firm’s San Diego and Chicago offices. He focuses his practice on
securities class action litigation in the context of mergers and acquisitions, representing both individual
shareholders and institutional investors. As part of the litigation team at Robbins Geller, Wissbroecker has
helped secure monetary recoveries for shareholders that collectively exceed $1 billion. Wissbroecker has
litigated numerous high-profile cases in Delaware and other jurisdictions, including shareholder class
actions challenging the acquisitions of Dole, Kinder Morgan, Del Monte Foods, Affiliated Computer
Services, Intermix, and Rural Metro. His practice has recently expanded to include numerous proxy
fraud cases in federal court, along with shareholder document demand litigation in Delaware.
Before joining the Firm, Wissbroecker served as a staff attorney for the United States Court of Appeals for
the Seventh Circuit, and then as a law clerk for the Honorable John L. Coffey, Circuit Judge for the
Seventh Circuit.


Education
B.A., Arizona State University, 1998; J.D., University of Illinois College of Law, 2003

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2021; Recommended Lawyer, The Legal 500, 2019;
Rising Star, Super Lawyers Magazine, 2015; J.D., Magna Cum Laude, University of Illinois College of Law,
2003; B.A., Cum Laude, Arizona State University, 1998



Christopher M. Wood | Partner
Christopher Wood is the partner in charge of Robbins Geller Rudman & Dowd LLP’s Nashville office,
where his practice focuses on complex securities litigation. He has been a member of the litigation teams
responsible for recovering hundreds of millions of dollars for investors, including: In re Massey Energy Co.
Sec. Litig. ($265 million recovery); In re VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery); Garden City
Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc. ($65 million recovery); In re Micron Tech., Inc. Sec. Litig. ($42
million recovery); and Winslow v. BancorpSouth, Inc. ($29.5 million recovery).

Working together with Public Funds Public Schools (a national campaign founded by the Southern
Poverty Law Center and Education Law Center), Wood helped to strike down Tennessee’s school voucher
program, which would have diverted critically needed funds from public school students in Nashville and
Memphis. Wood has also provided pro bono legal services through Tennessee Justice for Our Neighbors,
Volunteer Lawyers & Professionals for the Arts, the Ninth Circuit’s Pro Bono Program, and the San
Francisco Bar Association’s Volunteer Legal Services Program.


Education
B.A., Vanderbilt University, 2003; J.D., University of San Francisco School of Law, 2006

Honors / Awards
40 & Under Hot List, Benchmark Litigation, 2021; Rising Star, Super Lawyers Magazine, 2011-2013,
2015-2020




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Debra J. Wyman | Partner
Debra Wyman is a partner in the Firm’s San Diego office. She specializes in securities litigation and has
litigated numerous cases against public companies in state and federal courts that have resulted in over $2
billion in securities fraud recoveries. Wyman served as lead counsel in In re Am. Realty Cap. Props., Inc.
Litig., a case arising out of ARCP’s manipulative accounting practices, and obtained a $1.025 billion
recovery. For five years, she and the litigation team prosecuted nine different claims for violations of the
Securities Exchange Act of 1934 and the Securities Act of 1933, involving seven different stock or debt
offerings and two mergers. The recovery represents the highest percentage of damages of any major
PSLRA case prior to trial and includes the largest personal contributions by individual defendants in
history. Most recently, Wyman was part of the litigation team in Monroe County Employees’ Retirement System
v. The Southern Company in which an $87.5 settlement was reached after three years of litigation. The
settlement resolved claims for violations of the Securities Exchange Act of 1934 stemming from
defendants’ issuance of materially misleading statements and omissions regarding the status of
construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant.

Wyman was also a member of the trial team in Schuh v. HCA Holdings, Inc., which resulted in a $215
million recovery for shareholders, the largest securities class action recovery ever in Tennessee. The
recovery achieved represents more than 30% of the aggregate classwide damages, far exceeding the
typical recovery in a securities class action. Wyman prosecuted the complex securities and accounting
fraud case In re HealthSouth Corp. Sec. Litig., one of the largest and longest-running corporate frauds in
history, in which $671 million was recovered for defrauded HealthSouth investors. She was also part of
the trial team that litigated In re AT&T Corp. Sec. Litig., which was tried in the United States District Court,
District of New Jersey, and settled after only two weeks of trial for $100 million. Wyman was also part of
the litigation team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
Pipefitters National Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully
appealed to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action.


Education
B.A., University of California Irvine, 1990; J.D., University of San Diego School of Law, 1997

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; San Diego Litigator of the Year, Benchmark
Litigation, 2021; Plaintiff Litigator of the Year, Benchmark Litigation, 2021; Leading Lawyer in America,
Lawdragon, 2020-2021; Top Woman Lawyer, Daily Journal, 2017, 2020; MVP, Law360, 2020; Litigator of
the Week, The American Lawyer, 2020; Litigator of the Year, Our City San Diego, 2017; Super Lawyer, Super
Lawyers Magazine, 2016-2017




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Susan K. Alexander | Of Counsel
Susan Alexander is Of Counsel to the Firm and is based in the San Francisco office. Alexander’s practice
specializes in federal appeals of securities fraud class actions on behalf of investors. With nearly 30 years
of federal appellate experience, she has argued on behalf of defrauded investors in circuit courts
throughout the United States. Among her most notable cases are Mineworkers’ Pension Scheme v. First Solar
Inc. ($350 million recovery), In re VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery), and the
successful appellate ruling in Alaska Elec. Pension Fund v. Flowserve Corp. ($55 million recovery). Other
representative results include: Stoyas v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018) (reversing dismissal of
securities fraud action and holding that the Exchange Act applies to unsponsored American Depositary
Shares), cert. denied, 588 U.S. __ (2019); W. Va. Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 845
F.3d 384 (8th Cir. 2016) (reversing summary judgment of securities fraud action on statute of limitations
grounds); In re Ubiquiti Networks, Inc. Sec. Litig., 669 F. App’x 878 (9th Cir. 2016) (reversing dismissal of
§11 claim); Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 750 F.3d 227 (2d Cir. 2014) (reversing
dismissal of securities fraud complaint, focused on loss causation); Panther Partners Inc. v. Ikanos Commc’ns,
Inc., 681 F.3d 114 (2d Cir. 2012) (reversing dismissal of §11 claim); City of Pontiac Gen. Emps. Ret. Sys. v.
MBIA, Inc., 637 F.3d 169 (2d Cir. 2011) (reversing dismissal of securities fraud complaint, focused on
statute of limitations); In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008) (reversing dismissal of
securities fraud complaint, focused on loss causation); Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.)
(reversing dismissal of securities fraud complaint, focused on scienter), reh’g denied and op. modified, 409
F.3d 653 (5th Cir. 2005); and Pirraglia v. Novell, Inc., 339 F.3d 1182 (10th Cir. 2003) (reversing dismissal
of securities fraud complaint, focused on scienter). Alexander’s prior appellate work was with the
California Appellate Project (“CAP”), where she prepared appeals and petitions for writs of habeas corpus
on behalf of individuals sentenced to death. At CAP, and subsequently in private practice, she litigated
and consulted on death penalty direct and collateral appeals for ten years.


Education
B.A., Stanford University, 1983; J.D., University of California, Los Angeles, 1986

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2015-2021; American Academy of Appellate Lawyers; California
Academy of Appellate Lawyers; Ninth Circuit Advisory Rules Committee; Appellate Delegate, Ninth
Circuit Judicial Conference; ABA Council of Appellate Lawyers




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Laura M. Andracchio | Of Counsel
Laura Andracchio is Of Counsel in the Firm’s San Diego office. Having first joined the Firm in 1997, she
was a Robbins Geller partner for ten years before her role as Of Counsel. As a partner with the Firm,
Andracchio led dozens of securities fraud cases against public companies throughout the country,
recovering hundreds of millions of dollars for injured investors. Her current focus remains securities
fraud litigation under the federal securities laws.

Most recently, Andracchio was a member of the litigation team in In re American Realty Cap. Props., Inc.
Litig. (S.D.N.Y.), in which a $1.025 billion recovery was approved in 2020. She was also on the litigation
team for City of Pontiac Gen. Emps.’ Ret. Sys. v. Walmart Stores, Inc. (W.D. Ark.), in which a $160 million
recovery for Walmart investors was approved in 2019. She also assisted in litigating a case brought
against J.P. Morgan Chase & Co., Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co. (S.D.N.Y.), on
behalf of investors in residential mortgage-backed securities, which resulted in a recovery of $388 million
in 2017.

Andracchio was also a lead member of the trial team in In re AT&T Corp. Sec. Litig., recovering $100
million for the class after two weeks of trial in district court in New Jersey. Before trial, she managed and
litigated the case, which was pending for four years. She also led the trial team in Brody v. Hellman, a case
against Qwest and former directors of U.S. West seeking an unpaid dividend, recovering $50 million for
the class, which was largely comprised of U.S. West retirees. Other cases Andracchio has litigated
include: City of Hialeah Emps.’ Ret. Sys. v. Toll Brothers, Inc.; Ross v. Abercrombie & Fitch Co.; In re GMH Cmtys.
Tr. Sec. Litig.; In re Vicuron Pharms., Inc. Sec. Litig.; and In re Navarre Corp. Sec. Litig.


Education
B.A., Bucknell University, 1986; J.D., Duquesne University School of Law, 1989

Honors / Awards
Order of the Barristers, J.D., with honors, Duquesne University School of Law, 1989



Matthew J. Balotta | Of Counsel
Matt Balotta is Of Counsel in the Firm’s San Diego office, where his practice focuses on securities fraud
litigation. Balotta earned his Bachelor of Arts degree in History, summa cum laude, from the University of
Pittsburgh and his Juris Doctor degree from Harvard Law School. During law school, Balotta was a
summer associate with the Firm and interned at the National Consumer Law Center. He also
participated in the Employment Law and Delivery of Legal Services Clinics and served on the General
Board of the Harvard Civil Rights-Civil Liberties Law Review.


Education
B.A., University of Pittsburgh, 2005; J.D., Harvard Law School, 2015

Honors / Awards
B.A., Summa Cum Laude, University of Pittsburgh, 2005




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Randi D. Bandman | Of Counsel
Randi Bandman is Of Counsel in the Firm’s San Diego office. Throughout her career, she has
represented and advised hundreds of clients, including pension funds, managers, banks, and hedge
funds, such as the Directors Guild of America, Screen Actors Guild, Writers Guild of America, and
Teamster funds. Bandman’s cases have yielded billions of dollars of recoveries. Notable cases include the
AOL Time Warner, Inc. merger ($629 million), In re Enron Corp. Sec. Litig. ($7.2 billion), Private Equity
litigation (Dahl v. Bain Cap. Partners, LLC) ($590.5 million), In re WorldCom Sec. Litig. ($657 million), and In
re Facebook Biometric Info. Privacy Litig. ($650 million).

Bandman is currently representing plaintiffs in the Foreign Exchange Litigation pending in the Southern
District of New York which alleges collusive conduct by the world’s largest banks to fix prices in the $5.3
trillion a day foreign exchange market and in which billions of dollars have been recovered to date for
injured plaintiffs. Bandman is part of the Robbins Geller Co-Lead Counsel team representing the class in
the “High Frequency Trading” case, which accuses stock exchanges of giving unfair advantages to high-
speed traders versus all other investors, resulting in billions of dollars being diverted. Bandman was
instrumental in the landmark state settlement with the tobacco companies for $12.5 billion. Bandman
also led an investigation with congressional representatives on behalf of artists into allegations of “pay for
play” tactics, represented Emmy winning writers with respect to their claims involving a long-running
television series, represented a Hall of Fame sports figure, and negotiated agreements in connection with
a major motion picture. Recently, Bandman was chosen to serve on the Law Firm Advisory Board of the
Association of Media & Entertainment Counsel, an organization made up of thousands of attorneys from
studios, networks, guilds, talent agencies, and top media companies, dealing with protecting content
distributed through a variety of formats worldwide.


Education
B.A., University of California, Los Angeles; J.D., University of Southern California




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Lea Malani Bays | Of Counsel
Lea Malani Bays is Of Counsel in the Firm’s San Diego office. She focuses on e-discovery issues, from
preservation through production, and provides counsel to the Firm’s multi-disciplinary e-discovery team
consisting of attorneys, forensic analysts, and database professionals. Through her role as counsel to the e-
discovery team, Bays is very familiar with the various stages of e-discovery, including identification of
relevant electronically stored information, data culling, predictive coding protocols, privilege, and
responsiveness reviews, as well as having experience in post-production discovery through trial
preparation. Through speaking at various events, she is also a leader in shaping the broader dialogue on
e-discovery issues.

Bays was recently part of the litigation team that earned the approval of a $131 million settlement in favor
of plaintiffs in Bennett v. Sprint Nextel Corp. The settlement, which resolved claims arising from Sprint
Corporation’s ill-fated merger with Nextel Communications in 2005, represents a significant recovery for
the plaintiff class, achieved after five years of tireless effort by the Firm. Prior to joining Robbins Geller,
Bays was a Litigation Associate at Kaye Scholer LLP’s New York office. She has experience in a wide
range of litigation, including complex securities litigation, commercial contract disputes, business torts,
antitrust, civil fraud, and trust and estate litigation.


Education
B.A., University of California, Santa Cruz, 1997; J.D., New York Law School, 2007

Honors / Awards
Leading Lawyer, Chambers USA, 2019-2021; J.D., Magna Cum Laude, New York Law School, 2007;
Executive Editor, New York Law School Law Review; Legal Aid Society’s Pro Bono Publico Award; NYSBA
Empire State Counsel; Professor Stephen J. Ellmann Clinical Legal Education Prize; John Marshall
Harlan Scholars Program, Justice Action Center




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Mary K. Blasy | Of Counsel
Mary Blasy is Of Counsel to the Firm and is based in the Firm’s Melville and Washington, D.C. offices.
Her practice focuses on the investigation, commencement, and prosecution of securities fraud class
actions and shareholder derivative suits. Blasy has recovered hundreds of millions of dollars for investors
in securities fraud class actions against Reliance Acceptance Corp. ($66 million); Sprint Corp. ($50
million); Titan Corporation ($15+ million); Martha Stewart Omni-Media, Inc. ($30 million); and Coca-
Cola Co. ($137.5 million). Blasy has also been responsible for prosecuting numerous complex
shareholder derivative actions against corporate malefactors to address violations of the nation’s
securities, environmental, and labor laws, obtaining corporate governance enhancements valued by the
market in the billions of dollars.

In 2014, the Presiding Justice of the Appellate Division of the Second Department of the Supreme Court
of the State of New York appointed Blasy to serve as a member of the Independent Judicial Election
Qualification Commission, which until December 2018 reviewed the qualifications of candidates seeking
public election to New York State Supreme Courts in the 10th Judicial District. She also served on the
Law360 Securities Editorial Advisory Board from 2015 to 2016.


Education
B.A., California State University, Sacramento, 1996; J.D., UCLA School of Law, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2020; Law360 Securities Editorial Advisory Board,
2015-2016; Member, Independent Judicial Election Qualification Commission, 2014-2018




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William K. Cavanagh, Jr. | Of Counsel
Bill Cavanagh is Of Counsel in the Firm’s Washington, D.C. office. Cavanagh concentrates his practice in
employee benefits law and works with the Firm’s Institutional Outreach Team. Prior to joining Robbins
Geller, Cavanagh was employed by Ullico for the past nine years, most recently as President of Ullico
Casualty Group. The Ullico Casualty Group is the leading provider of fiduciary liability insurance for
trustees in both the private as well as the public sector. Prior to that he was President of the Ullico
Investment Company.

Preceding Cavanagh’s time at Ullico, he was a partner at the labor and employee benefits firm Cavanagh
and O’Hara in Springfield, Illinois for 28 years. In that capacity, Cavanagh represented public pension
funds, jointly trusteed Taft-Hartley, health, welfare, pension, and joint apprenticeship funds advising on
fiduciary and compliance issues both at the Board level as well as in administrative hearings, federal
district courts, and the United States Courts of Appeals. During the course of his practice, Cavanagh had
extensive trial experience in state and the relevant federal district courts. Additionally, Cavanagh served
as co-counsel on a number of cases representing trustees seeking to recover plan assets lost as a result of
fraud in the marketplace.


Education
B.A., Georgetown University, 1974; J.D., John Marshall Law School, 1978

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell



Christopher Collins | Of Counsel
Christopher Collins is Of Counsel in the Firm’s San Diego office and his practice focuses on antitrust and
consumer protection. Collins served as co-lead counsel in Wholesale Elec. Antitrust Cases I & II, charging an
antitrust conspiracy by wholesale electricity suppliers and traders of electricity in California’s newly
deregulated wholesale electricity market wherein plaintiffs secured a global settlement for California
consumers, businesses, and local governments valued at more than $1.1 billion. He was also involved in
California’s tobacco litigation, which resulted in the $25.5 billion recovery for California and its local
entities. Collins is currently counsel on the California Energy Manipulation antitrust litigation, the
Memberworks upsell litigation, as well as a number of consumer actions alleging false and misleading
advertising and unfair business practices against major corporations. He formerly served as a Deputy
District Attorney for Imperial County where he was in charge of the Domestic Violence Unit.


Education
B.A., Sonoma State University, 1988; J.D., Thomas Jefferson School of Law, 1995




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Patrick J. Coughlin | Of Counsel
Patrick Coughlin is Of Counsel to the Firm and is based in the San Diego office. He has been lead counsel
for several major securities matters, including one of the earliest and largest class action securities cases to
go to trial, In re Apple Computer Sec. Litig., No. C-84-20148 (N.D. Cal.). Coughlin was a member of the
Firm’s trial team in Hsu v. Puma Biotechnology, Inc., No. SACV15-0865 (C.D. Cal.), a securities fraud class
action that resulted in a verdict in favor of investors after a two-week jury trial. He also served as lead
counsel in In re Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747-JD (N.D. Cal.), a cutting-edge class
action concerning Facebook’s alleged privacy violations through its collection of users’ biometric
identifiers without informed consent that resulted in a $650 million settlement. Coughlin currently
serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., in which
a settlement of $5.5 billion was approved in the Eastern District of New York. This case was brought on
behalf of millions of U.S. merchants against Visa and MasterCard and various card-issuing banks,
challenging the way these companies set and collect tens of billions of dollars annually in merchant fees.
The settlement is believed to be the largest antitrust class action settlement of all time.

Coughlin was one of the lead attorneys who secured a historic $25 million recovery on behalf
of approximately 7,000 Trump University students in two class actions against President Donald J.
Trump, which means individual class members are eligible for upwards of $35,000 in restitution. He
represented the class on a pro bono basis. Additional prominent securities class actions prosecuted by
Coughlin include: the Enron litigation, in which $7.2 billion was recovered; the Qwest litigation, in which a
$445 million recovery was obtained; and the HealthSouth litigation, in which a $671 million recovery was
obtained.


Education
B.S., Santa Clara University, 1977; J.D., Golden Gate University, 1983

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Best Lawyer in America, Best Lawyers®,
2006-2022; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Top Lawyer in San Diego, San
Diego Magazine, 2013-2021; Super Lawyer, Super Lawyers Magazine, 2004-2021; Southern California Best
Lawyer, Best Lawyers®, 2012-2021; Hall of Fame, Lawdragon, 2020; Plaintiffs’ Lawyer Trailblazer, The
National Law Journal, 2019; Outstanding Antitrust Litigation Achievement in Private Law Practice,
American Antitrust Institute, 2018; Senior Statesman, Chambers USA, 2014-2018; Antitrust Trailblazer, The
National Law Journal, 2015; Top 100 Lawyers, Daily Journal, 2008; Leading Lawyer in America, Lawdragon,
2006, 2008-2009




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Desiree Cummings | Of Counsel
Desiree Cummings is Of Counsel to the Firm and is based in the Manhattan office. Cummings focuses
her practice on complex securities litigation, consumer and privacy litigation, and breach of fiduciary duty
actions.

Before joining Robbins Geller, Cummings spent several years prosecuting securities fraud as an Assistant
Attorney General with the New York State Office of the Attorney General’s Investor Protection Bureau.
As an Assistant Attorney General, Cummings was instrumental in the office’s investigation and
prosecution of J.P. Morgan and Goldman Sachs in connection with the marketing, sale and issuance of
residential mortgage-backed securities, resulting in recoveries worth over $1.6 billion for the State of New
York. In connection with investigating and prosecuting securities fraud as part of a federal and state
RMBS Working Group, Cummings was awarded the Louis J. Lefkowitz Award for Exceptional Service.
Cummings began her career as a litigator at Paul, Weiss, Rifkind, Wharton & Garrison LLP where she
spent several years representing major financial institutions, a pharmaceutical manufacturer, and public
and private companies in connection with commercial litigations and state and federal regulatory
investigations.

At Robbins Geller, Cummings currently serves as counsel in a data breach and privacy class action and in
numerous securities fraud class actions pending in the United States District Court for the Southern
District of New York and the United States District Court for the District of Minnesota. Cummings also
serves as counsel in several breach of fiduciary duty actions presently pending in the Court of Chancery of
the State of Delaware.


Education
B.A., Binghamton University, 2001, cum laude; J.D., University of Michigan Law School, 2004

Honors / Awards
Louis J. Lefkowitz Award for Exceptional Service, New York State Office of the Attorney General, 2012




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Vicki Multer Diamond | Of Counsel
Vicki Multer Diamond is Of Counsel to the Firm and is based in the Firm’s Melville office. She has over
25 years of experience as an investigator and attorney. Her practice at the Firm focuses on the initiation,
investigation, and prosecution of securities fraud class actions. Diamond played a significant role in the
factual investigations and successful oppositions to the defendants’ motions to dismiss in a number of
cases, including Tableau, One Main, Valeant, and Orbital ATK.

Diamond has served as an investigative consultant to several prominent law firms, corporations, and
investment firms. Before joining the Firm, she was an Assistant District Attorney in Brooklyn, New York,
where she served as a senior Trial Attorney in the Felony Trial Bureau, and was special counsel to the
Special Commissioner of Investigations for the New York City schools, where she investigated and
prosecuted crime and corruption within the New York City school system.


Education
B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

Honors / Awards
Member, Hofstra Property Law Journal, Hofstra University School of Law




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Michael J. Dowd | Of Counsel
Mike Dowd was a founding partner of the Firm. He has practiced in the area of securities litigation for 20
years, prosecuting dozens of complex securities cases and obtaining significant recoveries for investors in
cases such as UnitedHealth ($925 million), WorldCom ($657 million), AOL Time Warner ($629
million), Qwest ($445 million), and Pfizer ($400 million).

Dowd served as lead trial counsel in Jaffe v. Household International in the Northern District of Illinois, a
securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation,
including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Dowd also served as the
lead trial lawyer in In re AT&T Corp. Sec. Litig., which was tried in the District of New Jersey and settled
after only two weeks of trial for $100 million. Dowd served as an Assistant United States Attorney in the
Southern District of California from 1987-1991, and again from 1994-1998, where he handled dozens of
jury trials and was awarded the Director's Award for Superior Performance.


Education
B.A., Fordham University, 1981; J.D., University of Michigan School of Law, 1984

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Director’s Award for Superior Performance, United States
Attorney’s Office; Best Lawyer in America, Best Lawyers®, 2015-2022; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2021; Top Lawyer in San Diego, San Diego Magazine, 2013-2021;Southern
California Best Lawyer, Best Lawyers®, 2015-2021; Super Lawyer, Super Lawyers Magazine, 2010-2020;
Lawyer of the Year, Best Lawyers®, 2020; Recommended Lawyer, The Legal 500, 2016-2019; Hall of
Fame, Lawdragon, 2018; Litigator of the Year, Our City San Diego, 2017; Leading Lawyer in America,
Lawdragon, 2014-2016; Litigator of the Week, The American Lawyer, 2015; Litigation Star, Benchmark
Litigation 2013; Directorship 100, NACD Directorship, 2012; Attorney of the Year, California Lawyer, 2010;
Top 100 Lawyers, Daily Journal, 2009; B.A., Magna Cum Laude, Fordham University, 1981




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William J. Geddish | Of Counsel
William Geddish is Of Counsel to the Firm and is based in the Melville office, where his practice focuses
on complex securities litigation. Before joining the Firm, he was an associate in the New York office of a
large international law firm, where his practice focused on complex commercial litigation.

Since joining the Firm, Geddish has played a significant role in the following litigations: In re Barrick Gold
Sec. Litig. ($140 million recovery); Landmen Partners, Inc. v. The Blackstone Grp., L.P. ($85 million
recovery); City of Austin Police Ret. Sys. v. Kinross Gold Corp. ($33 million recovery); City of Roseville Emps’
Ret. Sys. v. EnergySolutions, Inc. ($26 million recovery); Beaver Cnty. Emps’ Ret. Fund v. Tile Shop Holdings,
Inc. ($9.5 million recovery); and Barbara Marciano v. Schell & Kampeter, Inc. ($2 million recovery).


Education
B.A., Sacred Heart University, 2006, J.D., Hofstra University School of Law, 2009

Honors / Awards
Rising Star, Super Lawyers Magazine, 2013-2020; J.D., Magna Cum Laude, Hofstra University School of Law,
2009; Gina Maria Escarce Memorial Award, Hofstra University School of Law



Richard W. Gonnello | Of Counsel
Richard Gonnello is Of Counsel in the Firm’s Manhattan office. He has two decades of experience
litigating complex securities actions.

Gonnello has successfully represented institutional and individual investors. He has obtained substantial
recoveries in numerous securities class actions, including In re Royal Ahold Sec. Litig. (D. Md.) ($1.1 billion)
and In re Tremont Sec. Law, State Law & Ins. Litig. (S.D.N.Y.) ($100 million). Gonnello has also obtained
favorable recoveries for institutional investors pursuing direct opt-out claims, including cases against
Qwest Communications International, Inc. ($175 million) and Tyco International Ltd ($21 million).

Gonnello has co-authored the following articles appearing in the New York Law Journal: “Staehr Hikes
Burden of Proof to Place Investor on Inquiry Notice” and “Potential Securities Fraud: ‘Storm Warnings’
Clarified.”


Education
B.A., Rutgers University, 1995; J.D., UCLA School of Law, 1998

Honors / Awards
B.A., Summa Cum Laude, Rutgers University, 1995




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Mitchell D. Gravo | Of Counsel
Mitchell Gravo is Of Counsel to the Firm and is a member of the Firm’s institutional investor client
services group. With more than 30 years of experience as a practicing attorney, he serves as liaison to the
Firm’s institutional investor clients throughout the United States and Canada, advising them on securities
litigation matters.

Gravo’s clients include Anchorage Economic Development Corporation, Anchorage Convention and
Visitors Bureau, UST Public Affairs, Inc., International Brotherhood of Electrical Workers, Alaska
Seafood International, Distilled Spirits Council of America, RIM Architects, Anchorage Police Department
Employees Association, Fred Meyer, and the Automobile Manufacturer’s Association. Prior to joining the
Firm, he served as an intern with the Municipality of Anchorage, and then served as a law clerk to
Superior Court Judge J. Justin Ripley.


Education
B.A., Ohio State University; J.D., University of San Diego School of Law



Dennis J. Herman | Of Counsel
Dennis Herman is Of Counsel in the Firm’s San Francisco office where he focuses his practice on
securities class actions. He has led or been significantly involved in the prosecution of numerous
securities fraud claims that have resulted in substantial recoveries for investors, including settled actions
against Massey Energy ($265 million), Coca-Cola ($137 million), VeriSign ($78 million), Psychiatric
Solutions, Inc. ($65 million), St. Jude Medical, Inc. ($50 million), NorthWestern ($40 million),
BancorpSouth ($29.5 million), America Service Group ($15 million), Specialty Laboratories ($12 million),
Stellent ($12 million), and Threshold Pharmaceuticals ($10 million).


Education
B.S., Syracuse University, 1982; J.D., Stanford Law School, 1992

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2018-2022; Northern Californa Best Lawyer, Best Lawyers®,
2018-2021; Super Lawyer, Super Lawyers Magazine, 2017-2018; Order of the Coif, Stanford Law School;
Urban A. Sontheimer Award (graduating second in his class), Stanford Law School; Award-winning
Investigative Newspaper Reporter and Editor in California and Connecticut




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Helen J. Hodges | Of Counsel
Helen Hodges is Of Counsel in the Firm’s San Diego office. She specializes in securities fraud litigation.
Hodges has been involved in numerous securities class actions, including: Dynegy, which was settled for
$474 million; Thurber v. Mattel, which was settled for $122 million; Nat’l Health Labs, which was settled for
$64 million; and Knapp v. Gomez, Civ. No. 87-0067-H(M) (S.D. Cal.), in which a plaintiffs’ verdict was
returned in a Rule 10b-5 class action. Additionally, beginning in 2001, Hodges focused on the
prosecution of Enron, where a record $7.2 billion recovery was obtained for investors.


Education
B.S., Oklahoma State University, 1979; J.D., University of Oklahoma, 1983

Honors / Awards
Rated AV by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2021;
Philanthropist of the Year, Women for OSU at Oklahoma State University, 2020; served on the
Oklahoma State University Foundation Board of Trustees, 2013-2021; Super Lawyer, Super Lawyers
Magazine, 2007



David J. Hoffa | Of Counsel
David Hoffa is Of Counsel in the Firm’s Washington D.C. office. He has served as a liaison to over 110
institutional investors in portfolio monitoring, securities litigation, and claims filing matters. His practice
focuses on providing a variety of legal and consulting services to U.S. state and municipal employee
retirement systems and single and multi-employer U.S. Taft-Hartley benefit funds. In addition to serving
as a leader on the Firm’s Israel Institutional Investor Outreach Team, Hoffa also serves as a member of
the Firm’s lead plaintiff advisory team, and advises public and multi-employer pension funds around the
country on issues related to fiduciary responsibility, legislative and regulatory updates, and “best practices”
in the corporate governance of publicly traded companies.

Early in his legal career, Hoffa worked for a law firm based in Birmingham, Michigan, where he appeared
regularly in Michigan state court in litigation pertaining to business, construction, and employment
related matters. Hoffa has also appeared before the Michigan Court of Appeals on several occasions.


Education
B.A., Michigan State University, 1993; J.D., Michigan State University College of Law, 2000




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Andrew W. Hutton | Of Counsel
Drew Hutton is Of Counsel in the Firm’s San Diego and New York offices, responsible for simplifying
cases of complex financial fraud. Hutton has prosecuted a variety of securities actions, achieving high-
profile recoveries and results. Representative cases against corporations and their auditors include In re
AOL Time Warner Sec. Litig. ($2.5 billion) and In re Williams Cos. Sec. Litig. ($311 million). Representative
cases against corporations and their executives include In re Broadcom Sec. Litig. ($150 million) and In re
Clarent Corp. Sec. Litig. (class plaintiff’s 10b-5 jury verdict against former CEO). Hutton is also active in
shareholder derivative litigation, achieving monetary recoveries and governance changes, including In re
Affiliated Computer Servs. Derivative Litig. ($30 million), In re KB Home S’holder Derivative Litig. ($30 million),
and In re KeyCorp Derivative Litig. (modified CEO stock options and governance). Hutton has also litigated
securities cases in bankruptcy court (In re WorldCom, Inc. – $15 million for individual claimant) and a
complex options case before FINRA (eight-figure settlement for individual investor). Hutton is also
experienced in complex, multi-district consumer litigation. Representative nationwide insurance cases
include In re Prudential Sales Pracs. Litig. ($4 billion), In re Metro. Life Ins. Co. Sales Pracs. Litig. ($2 billion),
and In re Conseco Life Ins. Co. Cost of Ins. Litig. ($200 million). Representative nationwide consumer
lending cases include a $30 million class settlement of Truth-in-Lending claims against American Express
and a $24 million class settlement of RICO and RESPA claims against Community Bank of Northern
Virginia (now PNC Bank).

Hutton is the founder of Hutton Law Group, a plaintiffs’ litigation practice currently representing
retirees, individual investors, and businesses, and is also the founder of Hutton Investigative Accounting,
a financial forensics and investigation firm. Before founding Hutton Law and joining Robbins Geller,
Hutton was a public company accountant, Certified Public Accountant, and broker of stocks, options, and
insurance products. Hutton has also served as an expert litigation consultant in both financial and
corporate governance capacities. Hutton is often responsible for working with experts retained by the
Firm in litigation and has conducted dozens of depositions of financial professionals, including audit
partners, CFOs, directors, bankers, actuaries, and opposing experts.


Education
B.A., University of California, Santa Barbara, 1983; J.D., Loyola Law School, 1994




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Nancy M. Juda | Of Counsel
Nancy Juda is Of Counsel to the Firm and is based in the Firm’s Washington, D.C. office. Her practice
focuses on advising Taft-Hartley pension and welfare funds on issues related to corporate fraud in the
United States securities markets. Juda’s experience as an ERISA attorney provides her with unique
insight into the challenges faced by pension fund trustees as they endeavor to protect and preserve their
funds’ assets.

Prior to joining Robbins Geller, Juda was employed by the United Mine Workers of America Health &
Retirement Funds, where she began her practice in the area of employee benefits law. She was also
associated with a union-side labor law firm in Washington, D.C., where she represented the trustees of
Taft-Hartley pension and welfare funds on qualification, compliance, fiduciary, and transactional issues
under ERISA and the Internal Revenue Code.

Using her extensive experience representing employee benefit funds, Juda advises trustees regarding
their options for seeking redress for losses due to securities fraud. She currently advises trustees of funds
providing benefits for members of unions affiliated with North America’s Building Trades of the AFL-
CIO. Juda also represents funds in ERISA class actions involving breach of fiduciary claims.


Education
B.A., St. Lawrence University, 1988; J.D., American University, 1992



Francis P. Karam | Of Counsel
Frank Karam is Of Counsel to the Firm and is based in the Firm’s Melville office. Karam is a trial lawyer
with 30 years of experience. His practice focuses on complex class action litigation involving
shareholders’ rights and securities fraud. He also represents a number of landowners and royalty owners
in litigation against large energy companies. He has tried complex cases involving investment fraud and
commercial fraud, both on the plaintiff and defense side, and has argued numerous appeals in state and
federal courts. Throughout his career, Karam has tried more than 100 cases to verdict.

Karam has served as a partner at several prominent plaintiffs’ securities firms. From 1984 to 1990,
Karam was an Assistant District Attorney in the Bronx, New York, where he served as a senior Trial
Attorney in the Homicide Bureau. He entered private practice in 1990, concentrating on trial and
appellate work in state and federal courts.


Education
A.B., College of the Holy Cross; J.D., Tulane University School of Law

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2019-2020; “Who’s Who” for Securities Lawyers, Corporate
Governance Magazine, 2015




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Ashley M. Kelly | Of Counsel
Ashley Kelly is Of Counsel in the San Diego office, where she represents large institutional and individual
investors as a member of the Firm’s antitrust and securities fraud practices. Her work is primarily federal
and state class actions involving the federal antitrust and securities laws, common law fraud, breach of
contract, and accounting violations. Kelly’s case work has been in the financial services, oil & gas, e-
commerce, and technology industries.        In addition to being an attorney, she is a Certified Public
Accountant. Kelly was an important member of the litigation team that obtained a $500 million
settlement on behalf of investors in Luther v. Countrywide Fin. Corp., which was the largest residential
mortgage-backed securities purchaser class action recovery in history.


Education
B.S., Pennsylvania State University, 2005; J.D., Rutgers University-Camden, 2011

Honors / Awards
Rising Star, Super Lawyers Magazine, 2016, 2018-2021



Jerry E. Martin | Of Counsel
Jerry Martin is Of Counsel in the Firm’s Nashville office. He specializes in representing individuals who
wish to blow the whistle to expose fraud and abuse committed by federal contractors, health care
providers, tax cheats, or those who violate the securities laws. Martin was a member of the litigation team
that obtained a $65 million recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the fourth-
largest securities recovery ever in the Middle District of Tennessee and one of the largest in more than a
decade.

Before joining the Firm, Martin served as the presidentially appointed United States Attorney for the
Middle District of Tennessee from May 2010 to April 2013. As U.S. Attorney, he made prosecuting
financial, tax, and health care fraud a top priority. During his tenure, Martin co-chaired the Attorney
General’s Advisory Committee’s Health Care Fraud Working Group. Martin has been recognized as a
national leader in combatting fraud and has addressed numerous groups and associations, such as
Taxpayers Against Fraud and the National Association of Attorneys General, and was a keynote speaker at
the American Bar Association’s Annual Health Care Fraud Conference.


Education
B.A., Dartmouth College, 1996; J.D., Stanford University, 1999

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2019




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Ruby Menon | Of Counsel
Ruby Menon is Of Counsel to the Firm and serves as a member of the Firm’s legal, advisory, and business
development group. She also serves as the liaison to the Firm’s many institutional investor clients in the
United States and abroad. For over 12 years, Menon served as Chief Legal Counsel to two large multi-
employer retirement plans, developing her expertise in many areas of employee benefits and pension
administration, including legislative initiatives and regulatory affairs, investments, tax, fiduciary
compliance, and plan administration.


Education
B.A., Indiana University, 1985; J.D., Indiana University School of Law, 1988



Eugene Mikolajczyk | Of Counsel
Eugene Mikolajczyk is Of Counsel to the Firm and is based in the Firm’s San Diego Office. Mikolajczyk
has over 30 years’ experience prosecuting shareholder and securities litigation cases as both individual
and class actions. Among the cases are Heckmann v. Ahmanson, in which the court granted a preliminary
injunction to prevent a corporate raider from exacting greenmail from a large domestic
media/entertainment company.

Mikolajczyk was a primary litigation counsel in an international coalition of attorneys and human rights
groups that won a historic settlement with major U.S. clothing retailers and manufacturers on behalf of a
class of over 50,000 predominantly female Chinese garment workers, in an action seeking to hold the
Saipan garment industry responsible for creating a system of indentured servitude and forced labor. The
coalition obtained an unprecedented agreement for supervision of working conditions in the Saipan
factories by an independent NGO, as well as a substantial multi-million dollar compensation award for the
workers.


Education
B.S., Elizabethtown College, 1974; J.D., Dickinson School of Law, Penn State University, 1978




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Roxana Pierce | Of Counsel
Roxana Pierce is Of Counsel in Robbins Geller Rudman & Dowd LLP’s Washington D.C. office. She is an
international lawyer whose practice focuses on protecting investor rights and the rights of victims of
consumer fraud, waste, and abuse, including county pension funds, institutional investors, and state and
city governmental entities. She zealously represents her clients with claims for consumer protection,
securities, products liability, contracts, and other violations, whether through litigation, arbitration,
mediation, or negotiation. She has represented clients in over 75 countries and 12 states, with extensive
experience in the Middle East, Asia, Russia, the former Soviet Union, Germany, Belgium, the Caribbean,
and India. Pierce’s client base includes large institutional investors, state, county, and city retirement
funds, pension funds, attorneys general, international banks, asset managers, foreign governments, multi-
national corporations, sovereign wealth funds, and high-net-worth individuals. She presently has over 20
class, private, and group actions on file, including cases against the largest pharmaceutical and automobile
manufacturers in the world for securities fraud consumer rights violations.

Pierce has counseled international clients since 1994. She has spearheaded the contract negotiations for
hundreds of projects, including several valued at over $1 billion, and typically conducts her negotiations
with the leadership of foreign governments and the leadership of Fortune 500 corporations, foreign and
domestic. Pierce presently represents several European legacy banks in litigation concerning the 2008
financial crisis.

Pierce has been assisting the litigation team at Robbins Geller with the investigation of the opioids and e-
cigarette issues facing many states, cities, and municipalities for more than four years. In particular, she
has been working closely with doctors and other health care providers to obtain evidence relating to the
opioid crisis facing Maryland, the District of Columbia, Pennsylvania, and Florida.


Education
B.A., Pepperdine University, 1988; J.D., Thomas Jefferson School of Law, 1994

Honors / Awards
Certificate of Accomplishment, Export-Import Bank of the United States; Humanitarian Spirit Award for
Advocacy, The National Center for Children and Families, 2019




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Sara B. Polychron | Of Counsel
Sara Polychron is Of Counsel in the Firm’s San Diego office, where her practice focuses on complex
securities litigation. She is part of the litigation team prosecuting actions against investment banks and
the leading credit rating agencies for their role in the structuring and rating of residential mortgage-
backed securities and their subsequent collapse.

Sara earned her Bachelor of Arts degree with honors from the University of Minnesota, where she
studied Sociology with an emphasis in Criminology and Law. As an undergraduate she interned with the
Hennepin County Attorney’s Office, where she advocated for victims of domestic violence and assisted in
sentencing negotiations in Juvenile Court. Sara received her Juris Doctor degree from the University of
San Diego School of Law, where she was the recipient of two academic scholarships. While in law school,
she interned with the Center for Public Interest Law and was a contributing author and assistant editor to
the California Regulatory Law Reporter. She also worked as a legal research assistant at the law school
and clerked for two San Diego law firms.


Education
B.A., University of Minnesota, 1999; J.D., University of San Diego School of Law, 2005



Svenna Prado | Of Counsel
Svenna Prado is Of Counsel in the Firm’s San Diego office, where she focuses on various aspects of
international securities and consumer litigation. She was part of the litigation teams that secured
settlements against German defendant IKB, as well as Deutsche Bank and Deutsche Bank/West LB for
their role in structuring residential mortgage-backed securities and their subsequent collapse. Before
joining the Firm, Prado was Head of the Legal Department for a leading international staffing agency in
Germany where she focused on all aspects of employment litigation and corporate governance. After she
moved to the United States, Prado worked with an internationally oriented German law firm as Counsel
to corporate clients establishing subsidiaries in the United States and Germany. As a law student, Prado
worked directly for several years for one of the appointed Trustees winding up Eastern German
operations under receivership in the aftermath of the German reunification. Utilizing her experience in
this area of law, Prado later helped many clients secure successful outcomes in U.S. Bankruptcy Court.


Education
J.D., University of Erlangen-Nuremberg, Germany, 1996; Qualification for Judicial Office, Upper
Regional Court Nuremberg, Germany, 1998; New York University, “U.S. Law and Methodologies,” 2001




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Stephanie Schroder | Of Counsel
Stephanie Schroder is Of Counsel in the Firm’s San Diego office and focuses her practice on advising
institutional investors, including public and multi-employer pension funds, on issues related to corporate
fraud in the United States and worldwide financial markets. Schroder has been with the Firm since its
formation in 2004, and has over 17 years of securities litigation experience.

Schroder has obtained millions of dollars on behalf of defrauded investors. Prominent cases include: In re
AT&T Corp. Sec. Litig. ($100 million recovery at trial); In re FirstEnergy Corp. Sec. Litig. ($89.5 million
recovery); Rasner v. Sturm (FirstWorld Communications); and In re Advanced Lighting Sec. Litig. Schroder also
specializes in derivative litigation for breaches of fiduciary duties by corporate officers and directors.
Significant litigation includes In re OM Grp. S’holder Litig. and In re Chiquita S’holder Litig. Schroder also
represented clients that suffered losses from the Madoff fraud in the Austin Capital and Meridian
Capital litigations, which were successfully resolved. In addition, Schroder is a frequent lecturer on
securities fraud, shareholder litigation, and options for institutional investors seeking to recover losses
caused by securities and accounting fraud.


Education
B.A., University of Kentucky, 1997; J.D., University of Kentucky College of Law, 2000



Kevin S. Sciarani | Of Counsel
Kevin Sciarani is Of Counsel to the Firm and is based in the San Diego office, where his practice focuses
on complex securities litigation. Sciarani earned Bachelor of Science and Bachelor of Arts degrees from
the University of California, San Diego. He graduated magna cum laude from the University of California,
Hastings College of the Law with a Juris Doctor degree, where he served as a Senior Articles Editor on
the Hastings Law Journal.

During law school, Sciarani interned for the U.S. Securities and Exchange Commission and the Antitrust
Section of the California Department of Justice. In his final semester, he served as an extern to the
Honorable Susan Illston of the United States District Court for the Northern District of California.
Sciarani also received recognition for his pro bono assistance to tenants living in foreclosed properties due
to the subprime mortgage crisis.


Education
B.S., B.A., University of California, San Diego, 2005; J.D., University of California, Hastings College of
the Law, 2014

Honors / Awards
J.D., Magna Cum Laude, Order of the Coif, University of California, Hastings College of the Law,
2014; CALI Excellence Award, Senior Articles Editor, Hastings Law Journal, University of California,
Hastings College of the Law




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Christopher P. Seefer | Of Counsel
Christopher Seefer is Of Counsel in the Firm’s San Francisco office. He concentrates his practice in
securities class action litigation, including cases against Verisign, UTStarcom, VeriFone, Nash Finch,
NextCard, Terayon, and America West. Seefer served as an Assistant Director and Deputy General
Counsel for the Financial Crisis Inquiry Commission, which reported to Congress in January 2011 its
conclusions as to the causes of the global financial crisis. Prior to joining the Firm, he was a Fraud
Investigator with the Office of Thrift Supervision, Department of the Treasury (1990-1999), and a field
examiner with the Office of Thrift Supervision (1986-1990).


Education
B.A., University of California Berkeley, 1984; M.B.A., University of California, Berkeley, 1990; J.D.,
Golden Gate University School of Law, 1998



Arthur L. Shingler III | Of Counsel
Arthur Shingler is Of Counsel in the Firm’s San Diego office. Shingler has successfully represented both
public and private sector clients in hundreds of complex, multi-party actions with billions of dollars in
dispute. Throughout his career, he has obtained outstanding results for those he has represented in cases
generally encompassing shareholder derivative and securities litigation, unfair business practices
litigation, publicity rights and advertising litigation, ERISA litigation, and other insurance, health care,
employment, and commercial disputes.

Representative matters in which Shingler served as lead litigation or settlement counsel include, among
others: In re Royal Dutch/Shell ERISA Litig. ($90 million settlement); In re Priceline.com Sec. Litig. ($80
million settlement); In re General Motors ERISA Litig. ($37.5 million settlement, in addition to significant
revision of retirement plan administration); Wood v. Ionatron, Inc. ($6.5 million settlement); In re Lattice
Semiconductor Corp. Derivative Litig. (corporate governance settlement, including substantial revision of
board policies and executive management); In re 360networks Class Action Sec. Litig. ($7 million settlement);
and Rothschild v. Tyco Int’l (US), Inc., 83 Cal. App. 4th 488 (2000) (shaped scope of California’s Unfair
Practices Act as related to limits of State’s False Claims Act).


Education
B.A., Point Loma Nazarene College, 1989; J.D., Boston University School of Law, 1995

Honors / Awards
B.A., Cum Laude, Point Loma Nazarene College, 1989




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Leonard B. Simon | Of Counsel
Leonard Simon is Of Counsel in the Firm’s San Diego office. His practice has been devoted to litigation
in the federal courts, including both the prosecution and the defense of major class actions and other
complex litigation in the securities and antitrust fields. Simon has also handled a substantial number of
complex appellate matters, arguing cases in the United States Supreme Court, several federal Courts of
Appeals, and several California appellate courts. He has also represented large, publicly traded
corporations. Simon served as plaintiffs’ co-lead counsel in In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec.
Litig., MDL No. 834 (D. Ariz.) (settled for $240 million), and In re NASDAQ Market-Makers Antitrust Litig.,
MDL No. 1023 (S.D.N.Y.) (settled for more than $1 billion). He was also in a leadership role in several of
the state court antitrust cases against Microsoft, and the state court antitrust cases challenging electric
prices in California. He was centrally involved in the prosecution of In re Washington Pub. Power Supply
Sys. Sec. Litig., MDL No. 551 (D. Ariz.), the largest securities class action ever litigated.

Simon is an Adjunct Professor of Law at Duke University, the University of San Diego, and the University
of Southern California Law Schools. He has lectured extensively on securities, antitrust, and complex
litigation in programs sponsored by the American Bar Association Section of Litigation, the Practicing
Law Institute, and ALI-ABA, and at the UCLA Law School, the University of San Diego Law School, and
the Stanford Business School. He is an Editor of California Federal Court Practice and has authored a law
review article on the PSLRA.


Education
B.A., Union College, 1970; J.D., Duke University School of Law, 1973

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2016-2020;
Super Lawyer, Super Lawyers Magazine, 2008-2016; J.D., Order of the Coif and with Distinction, Duke
University School of Law, 1973



Laura S. Stein | Of Counsel
Laura Stein is Of Counsel in the Firm’s Philadelphia office. Since 1995, she has practiced in the areas of
securities class action litigation, complex litigation, and legislative law. Stein has served as one of the
Firm’s and the nation’s top asset recovery experts with a focus on minimizing losses suffered by
shareholders due to corporate fraud and breaches of fiduciary duty. She also seeks to deter future
violations of federal and state securities laws by reinforcing the standards of good corporate governance.
Stein works with over 500 institutional investors across the nation and abroad, and her clients have served
as lead plaintiff in successful cases where billions of dollars were recovered for defrauded investors against
such companies as: AOL Time Warner, TYCO, Cardinal Health, AT&T, Hanover Compressor, 1st
Bancorp, Enron, Dynegy, Inc., Honeywell International, Bridgestone, LendingClub, Orbital ATK, and
Walmart, to name a few. Many of the cases led by Stein’s clients have accomplished groundbreaking
corporate governance achievements, including obtaining shareholder-nominated directors. She is a
frequent presenter and educator on securities fraud monitoring, litigation, and corporate governance.


Education
B.A., University of Pennsylvania, 1992; J.D., University of Pennsylvania Law School, 1995




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John J. Stoia, Jr. | Of Counsel
John Stoia is Of Counsel to the Firm and is based in the Firm’s San Diego office. He is one of the
founding partners and former managing partner of the Firm. He focuses his practice on insurance fraud,
consumer fraud, and securities fraud class actions. Stoia has been responsible for over $10 billion in
recoveries on behalf of victims of insurance fraud due to deceptive sales practices such as “vanishing
premiums” and “churning.” He has worked on dozens of nationwide complex securities class actions,
including In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec. Litig., which arose out of the collapse of Lincoln
Savings & Loan and Charles Keating’s empire. Stoia was a member of the plaintiffs’ trial team that
obtained verdicts against Keating and his co-defendants in excess of $3 billion and settlements of over
$240 million.

He also represented numerous large institutional investors who suffered hundreds of millions of dollars
in losses as a result of major financial scandals, including AOL Time Warner and WorldCom. Currently,
Stoia is lead counsel in numerous cases against online discount voucher companies for violations of both
federal and state laws including violation of state gift card statutes.


Education
B.S., University of Tulsa, 1983; J.D., University of Tulsa, 1986; LL.M., Georgetown University Law
Center, 1987

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2020;
Super Lawyer, Super Lawyers Magazine, 2007-2017; Litigator of the Month, The National Law Journal, July
2000; LL.M. Top of Class, Georgetown University Law Center




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Christopher J. Supple | Of Counsel
Chris Supple is Senior Counsel to Robbins Geller, having joined the Firm after spending the past decade
(2011-2021) as Deputy Executive Director and General Counsel at MassPRIM (the Massachusetts Pension
Reserves Investment Management Board). While at MassPRIM, Supple also served for the last half-
decade as Chair and Co-Chair of the Securities Litigation Committee of NAPPA (the National Association
of Public Pension Attorneys). Supple is very familiar with, and experienced in, the role that institutional
investors play in private securities litigation, having successfully directed MassPRIM’s securities litigation
activity in dozens of actions that recovered more than a billion dollars for investors,
including Schering-Plough ($473 million), Massey Energy ($265 million), and Fannie Mae ($170 million).

Supple’s 30-plus years of experience in law and investments also includes over five years as a federal
prosecutor, six years in senior leadership positions for two Massachusetts Governors, and over ten years
in private law practice where his clients included MassPRIM and also its sibling Health Care Security/State
Retiree Benefits Trust Fund. Supple began his career (after a federal court clerkship) as a litigating
attorney assigned to securities cases at the Boston law firm of Hale and Dorr (now called WilmerHale).
Supple has litigated in state and federal courts throughout the nation, and has successfully tried over 25
cases to jury verdict, tried dozens of cases to judges sitting without juries, argued hundreds of evidentiary
and non-evidentiary motions, and settled dozens of cases by negotiated agreement. Supple holds the
Investment Foundations™ Certificate awarded by the CFA (Chartered Financial Analyst) Institute, and for
nearly a decade was an adjunct law professor teaching a course in Federal Criminal Prosecution.


Education
B.A., The College of the Holy Cross, 1985; J.D., Duke University School of Law, 1988

Honors / Awards
J.D., with Honors, Duke University School of Law, 1988




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David C. Walton | Of Counsel
David Walton was a founding partner of the Firm. For over 25 years, he has prosecuted class actions and
private actions on behalf of defrauded investors, particularly in the area of accounting fraud. He has
investigated and participated in the litigation of highly complex accounting scandals within some of
America’s largest corporations, including Enron ($7.2 billion), HealthSouth ($671 million), WorldCom
($657 million), AOL Time Warner ($629 million), Countrywide ($500 million), and Dynegy ($474
million), as well as numerous companies implicated in stock option backdating.

Walton is a member of the Bar of California, a Certified Public Accountant (California 1992), a Certified
Fraud Examiner, and is fluent in Spanish. In 2003-2004, he served as a member of the California Board
of Accountancy, which is responsible for regulating the accounting profession in California.


Education
B.A., University of Utah, 1988; J.D., University of Southern California Law Center, 1993

Honors / Awards
Recommended Lawyer, The Legal 500, 2019; Super Lawyer, Super Lawyers Magazine, 2015-2016; California
Board of Accountancy, Member, 2003-2004; Southern California Law Review, Member, University of
Southern California Law Center; Hale Moot Court Honors Program, University of Southern California
Law Center




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Jonathan Zweig | Of Counsel
Jonathan Zweig is Of Counsel to the Firm and is based in the Manhattan office. Zweig’s practice focuses
primarily on complex securities litigation, corporate control cases, and breach of fiduciary duty actions on
behalf of investors.

Before joining Robbins Geller, Zweig served for over six years as an Assistant Attorney General with the
New York State Office of the Attorney General’s Investor Protection Bureau, where he prosecuted civil
securities fraud actions and tried two major cases on behalf of the State. In New York v. Exxon Mobil
Corporation, a high-profile securities fraud case concerning climate risk disclosures, Zweig examined
numerous witnesses and delivered the State’s closing argument at trial. In New York v. Laurence Allen et al.,
Zweig and his colleagues achieved a total victory at trial for defrauded investors in a private equity fund,
and established for the first time the retroactive application of the Martin Act’s expanded statute of
limitations. Zweig also conducted data-intensive investigations of Credit Suisse concerning its alternative
trading system and its wholesale market making business, resulting in joint settlements with the SEC
totaling $70 million from Credit Suisse. On two occasions, Zweig was awarded the Louis J. Lefkowitz
Award for Exceptional Service.

Zweig was previously a litigator at Davis Polk & Wardwell LLP, where he represented clients in securities
litigation, mass tort, and other matters. Zweig also clerked for Judge Jacques L. Wiener, Jr. of the U.S.
Court of Appeals for the Fifth Circuit, and Judge Sarah S. Vance of the U.S. District Court for the Eastern
District of Louisiana.


Education
B.A., Yale University, 2007; J.D., Harvard Law School, 2010

Honors / Awards
Louis J. Lefkowitz Award for Exceptional Service, New York State Office of the Attorney General, 2015,
2020; J.D., Magna Cum Laude, Harvard Law School, 2010; B.A., Summa Cum Laude, Yale University, 2007




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Bruce Gamble | Special Counsel
Bruce Gamble is Special Counsel to the Firm in the Firm’s Washington D.C. office and is a member of the
Firm’s institutional investor client services group. He serves as liaison with the Firm’s institutional
investor clients in the United States and abroad, advising them on securities litigation matters. Gamble
formerly served as Of Counsel to the Firm, providing a broad array of highly specialized legal and
consulting services to public retirement plans. Before working with Robbins Geller, Gamble was General
Counsel and Chief Compliance Officer for the District of Columbia Retirement Board, where he served as
chief legal advisor to the Board of Trustees and staff. Gamble’s experience also includes serving as Chief
Executive Officer of two national trade associations and several senior level staff positions on Capitol Hill.


Education
B.S., University of Louisville, 1979; J.D., Georgetown University Law Center, 1989

Honors / Awards
Executive Board Member, National Association of Public Pension Attorneys, 2000-2006; American Banker
selection as one of the most promising U.S. bank executives under 40 years of age, 1992



Tricia L. McCormick | Special Counsel
Tricia McCormick is Special Counsel to the Firm and focuses primarily on the prosecution of securities
class actions. McCormick has litigated numerous cases against public companies in the state and federal
courts which resulted in hundreds of millions of dollars in recoveries to investors. She is also a member of
a team that is in constant contact with clients who wish to become actively involved in the litigation of
securities fraud. In addition, McCormick is active in all phases of the Firm’s lead plaintiff motion practice.


Education
B.A., University of Michigan, 1995; J.D., University of San Diego School of Law, 1998

Honors / Awards
J.D., Cum Laude, University of San Diego School of Law, 1998




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R. Steven Aronica | Forensic Accountant
Steven Aronica is a Certified Public Accountant licensed in the States of New York and Georgia and is a
member of the American Institute of Certified Public Accountants, the Institute of Internal Auditors, and
the Association of Certified Fraud Examiners. Aronica has been instrumental in the prosecution of
numerous financial and accounting fraud civil litigation claims against companies that include Lucent
Technologies, Tyco, Oxford Health Plans, Computer Associates, Aetna, WorldCom, Vivendi, AOL Time
Warner, Ikon, Doral Financial, First BanCorp, Acclaim Entertainment, Pall Corporation, iStar Financial,
Hibernia Foods, NBTY, Tommy Hilfiger, Lockheed Martin, the Blackstone Group, and Motorola. In
addition, he assisted in the prosecution of numerous civil claims against the major United States public
accounting firms.

Aronica has been employed in the practice of financial accounting for more than 30 years, including
public accounting, where he was responsible for providing clients with a wide range of accounting and
auditing services; the investment bank Drexel Burnham Lambert, Inc., where he held positions with
accounting and financial reporting responsibilities; and at the SEC, where he held various positions in the
divisions of Corporation Finance and Enforcement and participated in the prosecution of both criminal
and civil fraud claims.


Education
B.B.A., University of Georgia, 1979



Andrew J. Rudolph | Forensic Accountant
Andrew Rudolph is the Director of the Firm’s Forensic Accounting Department, which provides in-house
forensic accounting expertise in connection with securities fraud litigation against national and foreign
companies. He has directed hundreds of financial statement fraud investigations, which were
instrumental in recovering billions of dollars for defrauded investors. Prominent cases include Qwest,
HealthSouth, WorldCom, Boeing, Honeywell, Vivendi, Aurora Foods, Informix, Platinum Software, AOL Time
Warner, and UnitedHealth.

Rudolph is a Certified Fraud Examiner and a Certified Public Accountant licensed to practice in
California. He is an active member of the American Institute of Certified Public Accountants, California’s
Society of Certified Public Accountants, and the Association of Certified Fraud Examiners. His 20 years of
public accounting, consulting, and forensic accounting experience includes financial fraud investigation,
auditor malpractice, auditing of public and private companies, business litigation consulting, due
diligence investigations, and taxation.


Education
B.A., Central Connecticut State University, 1985




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                                   Christopher Yurcek | Forensic Accountant
                                   Christopher Yurcek is the Assistant Director of the Firm’s Forensic Accounting Department, which
                                   provides in-house forensic accounting and litigation expertise in connection with major securities fraud
                                   litigation. He has directed the Firm’s forensic accounting efforts on numerous high-profile cases,
                                   including In re Enron Corp. Sec. Litig. and Jaffe v. Household Int’l, Inc., which obtained a record-breaking
                                   $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in
                                   a verdict for plaintiffs. Other prominent cases include HealthSouth, UnitedHealth, Vesta, Informix, Mattel,
                                   Coca-Cola, and Media Vision.

                                   Yurcek has over 20 years of accounting, auditing, and consulting experience in areas including financial
                                   statement audit, forensic accounting and fraud investigation, auditor malpractice, turn-around consulting,
                                   business litigation, and business valuation. He is a Certified Public Accountant licensed in California,
                                   holds a Certified in Financial Forensics (CFF) Credential from the American Institute of Certified Public
                                   Accountants, and is a member of the California Society of CPAs and the Association of Certified Fraud
                                   Examiners.


                                   Education
                                   B.A., University of California, Santa Barbara, 1985




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